          Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 1 of 72




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                        §
In re:                                                  §        Chapter 11
                                                        §
SERTA SIMMONS BEDDING, LLC,                             §        Case No. 23-90020 (DRJ)
et al.,                                                 §
                                                        §        (Jointly Administered)
                   Debtors.1                            §
                                                        §

                    SECOND AMENDED JOINT CHAPTER 11 PLAN
          OF SERTA SIMMONS BEDDING, LLC AND ITS AFFILIATED DEBTORS

    WEIL, GOTSHAL & MANGES LLP                                WEIL, GOTSHAL & MANGES LLP
    Gabriel A. Morgan (24125891)                              Ray C. Schrock (admitted pro hac vice)
    Stephanie N. Morrison (24126930)                          Alexander W. Welch (admitted pro hac vice)
    700 Louisiana Street, Suite 1700                          767 Fifth Avenue
    Houston, Texas 77002                                      New York, New York 10153
    Telephone: (713) 546-5000                                 Telephone: (212) 310-8000
    Facsimile: (713) 224-9511                                 Facsimile: (212) 310-8007


    Attorneys for the Debtors
    and Debtors in Possession

    Dated: May 23, 2023
           Houston, Texas




1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, are as follows: Dawn Intermediate, LLC (6123); Serta Simmons Bedding, LLC (1874); Serta
       International Holdco, LLC (6101); National Bedding Company L.L.C. (0695); SSB Manufacturing Company
       (5743); The Simmons Manufacturing Co., LLC (0960); Dreamwell, Ltd. (2419); SSB Hospitality, LLC (2016);
       SSB Logistics, LLC (6691); Simmons Bedding Company, LLC (2552); Tuft & Needle, LLC (6215); Tomorrow
       Sleep LLC (0678); SSB Retail, LLC (9245); and World of Sleep Outlets, LLC (0957). The Debtors’ corporate
       headquarters and service address for these chapter 11 cases is 2451 Industry Avenue, Doraville, Georgia 30360.
           Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 2 of 72

                                                               Table of Contents

                                                                                                                                                     Page

ARTICLE I. DEFINITIONS AND INTERPRETATION. ...................................................................... 1
  A. Definitions. .................................................................................................................................... 1
  B. Interpretation; Application of Definitions and Rules of Construction. .................................. 18
  C. Computation of Time ................................................................................................................... 19
  D. Reference to Monetary Figures. ................................................................................................. 19
  E. Controlling Document. ................................................................................................................ 19
  F. Consultation, Information, Notice, and Consent Rights. ......................................................... 19

ARTICLE II. ADMINISTRATIVE EXPENSE CLAIMS, PROFESSIONAL FEE CLAIMS,
            DIP CLAIMS, AND PRIORITY TAX CLAIMS............................................................. 19
     2.1.   Administrative Expense Claims. ...................................................................................... 19
     2.2.   Professional Fee Claims. ................................................................................................. 20
     2.3.   Priority Tax Claims. ......................................................................................................... 20
     2.4.   DIP Claims. ...................................................................................................................... 20
     2.5.   Restructuring Fees and Expenses. .................................................................................. 20
     2.6.   Professional Fee Escrow. ................................................................................................ 21

ARTICLE III.           CLASSIFICATION OF CLAIMS AND INTERESTS. ................................................... 21
     3.1.              Classification in General. ................................................................................................ 21
     3.2.              Formation of Debtor Groups for Convenience Only. ..................................................... 21
     3.3.              Summary of Classification. ............................................................................................. 22
     3.4.              Special Provision Governing Unimpaired Claims. ......................................................... 22
     3.5.              Elimination of Vacant Classes. ....................................................................................... 22
     3.6.              No Waiver. ........................................................................................................................ 22

ARTICLE IV.            TREATMENT OF CLAIMS AND INTERESTS. ........................................................... 23
     4.1.              Other Secured Claims (Class 1)....................................................................................... 23
     4.2.              Priority Non-Tax Claims (Class 2). ................................................................................. 23
     4.3.              FLFO Claims (Class 3). ................................................................................................... 23
     4.4.              FLSO Claims (Class 4). ................................................................................................... 24
     4.5.              Non-PTL Claims (Class 5)............................................................................................... 24
     4.6.              Ongoing General Unsecured Claims (Class 6A). ........................................................... 24
     4.7.              Other General Unsecured Claims (Class 6B). ................................................................ 25
     4.8.              Intercompany Claims (Class 7). ...................................................................................... 25
     4.9.              Intercompany Interests (Class 8). .................................................................................... 25
     4.10.             Other Intercompany Interests (Class 9). ......................................................................... 26
     4.11.             Intermediate Equity Interests (Class 10). ........................................................................ 26

ARTICLE V.             MEANS FOR IMPLEMENTATION. .............................................................................. 26
     5.1.              Compromise and Settlement of Claims, Interests, and Controversies. .......................... 26
     5.2.              Intercreditor Agreements. ................................................................................................ 28
     5.3.              Continued Corporate Existence; Effectuating Documents; Corporate Action;
                       Restructuring Transactions. ............................................................................................ 28
           5.4.        Intercompany Interests; Corporate Reorganization. ...................................................... 29
           5.5.        New Term Loan................................................................................................................ 29
           5.6.        Exit ABL Facility. ............................................................................................................ 30
           5.7.        New Intercreditor Agreement. ......................................................................................... 31
           5.8.        Section 1145 Exemption. ................................................................................................. 31
           5.9.        Cancellation of Existing Securities and Agreements. .................................................... 31
           5.10.       Cancellation of Liens. ...................................................................................................... 32



                                                                             i
          Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 3 of 72

                                                              Table of Contents
                                                                (continued)
                                                                                                                                                      Page


          5.11.      Officers and Boards of Directors..................................................................................... 32
          5.12.      Management Incentive Plan............................................................................................ 33
          5.13.      Authorization, Issuance, and Delivery of New Common Interests. ............................... 33
          5.14.      Pension Plans. .................................................................................................................. 34
          5.15.      Collective Bargaining Agreements. ................................................................................. 34
          5.16.      Nonconsensual Confirmation.......................................................................................... 34
          5.17.      Closing of the Chapter 11 Cases...................................................................................... 34
          5.18.      Notice of Effective Date. .................................................................................................. 34
          5.19.      Separate Plans. ................................................................................................................. 34
          5.20.      Class 6B Trust. ................................................................................................................. 35

ARTICLE VI.          DISTRIBUTIONS. ........................................................................................................... 38
     6.1.            Distributions Generally. ................................................................................................... 38
     6.2.            Distributions Subject to Intercreditor Agreements. ........................................................ 38
     6.3.            Distribution Record Date. ................................................................................................ 38
     6.4.            Date of Distributions. ....................................................................................................... 39
     6.5.            Disbursing Agent. ............................................................................................................ 39
     6.6.            Rights and Powers of Disbursing Agent. ........................................................................ 39
     6.7.            Expenses of Disbursing Agent......................................................................................... 40
     6.8.            No Postpetition Interest on Claims. ................................................................................. 40
     6.9.            Delivery of Distributions. ................................................................................................. 40
     6.10.           Distributions after Effective Date. ................................................................................... 40
     6.11.           Unclaimed Property. ........................................................................................................ 40
     6.12.           Time Bar to Cash Payments. ........................................................................................... 41
     6.13.           Manner of Payment under Plan. ..................................................................................... 41
     6.14.           Satisfaction of Claims. ..................................................................................................... 41
     6.15.           Fractional Stock. .............................................................................................................. 41
     6.16.           Minimum Cash Distributions. ......................................................................................... 41
     6.17.           Setoffs. .............................................................................................................................. 41
     6.18.           Allocation of Distributions between Principal and Interest. .......................................... 42
     6.19.           No Distribution in Excess of Amount of Allowed Claim. ............................................... 42
     6.20.           Withholding and Reporting Requirements. .................................................................... 42

ARTICLE VII. PROCEDURES FOR DISPUTED CLAIMS. ................................................................. 43
     7.1.   Disputed Claims Generally. ............................................................................................. 43
     7.2.   Objections to Claims. ....................................................................................................... 43
     7.3.   Estimation of Claims........................................................................................................ 43
     7.4.   Adjustment to Claims Register Without Objection. ........................................................ 44
     7.5.   Disallowance of Claims. .................................................................................................. 44
     7.6.   No Distributions Pending Allowance. ............................................................................. 44
     7.7.   Distributions after Allowance. ......................................................................................... 44
     7.8.   Claim Resolution Procedures Cumulative. ..................................................................... 44

ARTICLE VIII. EXECUTORY CONTRACTS AND UNEXPIRED LEASES. ..................................... 44
     8.1.   General Treatment. .......................................................................................................... 44
     8.2.   Determination of Cure Disputes and Deemed Consent. ................................................. 45
     8.3.   Payments Related to Assumption or Assignment of Contracts and Leases. .................. 46
     8.4.   Rejection Claims. ............................................................................................................. 46




                                                                            ii
          Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 4 of 72

                                                             Table of Contents
                                                               (continued)
                                                                                                                                                    Page


          8.5.       Survival of the Debtors’ Indemnification Obligations. .................................................. 46
          8.6.       Employee Arrangements. ................................................................................................. 47
          8.7.       Insurance Policies. ........................................................................................................... 47
          8.8.       Intellectual Property Licenses and Agreements.............................................................. 48
          8.9.       Assignment. ...................................................................................................................... 49
          8.10.      Modifications, Amendments, Supplements, Restatements, or Other
                     Agreements. ...................................................................................................................... 49
          8.11.      Reservation of Rights. ...................................................................................................... 49

ARTICLE IX. CONDITIONS PRECEDENT TO CONFIRMATION OF PLAN AND
            EFFECTIVE DATE. ......................................................................................................... 50
     9.1.   Conditions Precedent to the Effective Date. ................................................................... 50
     9.2.   Timing of Conditions Precedent. ..................................................................................... 51
     9.3.   Waiver of Conditions Precedent. ..................................................................................... 51
     9.4.   Effect of Failure of a Condition. ..................................................................................... 51

ARTICLE X.           EFFECT OF CONFIRMATION OF PLAN. .................................................................... 52
     10.1.           Vesting of Assets in the Reorganized Debtors................................................................. 52
     10.2.           Binding Effect. ................................................................................................................. 52
     10.3.           Discharge of Claims and Termination of Interests. ....................................................... 52
     10.4.           Term of Injunctions or Stays. .......................................................................................... 53
     10.5.           Injunction. ........................................................................................................................ 53
     10.6.           Releases. ........................................................................................................................... 54
     10.7.           Exculpation. ..................................................................................................................... 56
     10.8.           Retention of Causes of Action/Reservation of Rights. .................................................... 57
     10.9.           Ipso Facto and Similar Provisions Ineffective................................................................ 57
     10.10.          Solicitation of Plan. ......................................................................................................... 57
     10.11.          Corporate and Limited Liability Company Action. ......................................................... 57

ARTICLE XI. RETENTION OF JURISDICTION. ................................................................................. 58
     11.1. Retention of Jurisdiction. ................................................................................................ 58
     11.2. Courts of Competent Jurisdiction.................................................................................... 59

ARTICLE XII. MISCELLANEOUS PROVISIONS. ............................................................................... 60
     12.1. Payment of Statutory Fees. .............................................................................................. 60
     12.2. Substantial Consummation of the Plan. ......................................................................... 60
     12.3. Request for Expedited Determination of Taxes. ............................................................. 60
     12.4. Exemption from Certain Transfer Taxes. ....................................................................... 60
     12.5. Amendments. .................................................................................................................... 61
     12.6. Effectuating Documents and Further Transactions. ..................................................... 61
     12.7. Revocation or Withdrawal of the Plan. ........................................................................... 61
     12.8. Severability of Plan Provisions. ....................................................................................... 61
     12.9. Governing Law. ................................................................................................................ 62
     12.10. Time.           ................................................................................................................ 62
     12.11. Dates of Actions to Implement the Plan. ......................................................................... 62
     12.12. Immediate Binding Effect................................................................................................ 62
     12.13. Deemed Acts. ................................................................................................................ 62
     12.14. Successor and Assigns. .................................................................................................... 62




                                                                           iii
Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 5 of 72

                                                Table of Contents
                                                  (continued)
                                                                                                                                     Page


12.15.   Entire Agreement. ............................................................................................................ 62
12.16.   Exhibits to Plan. ............................................................................................................... 63
12.17.   Dissolution of Creditors’ Committee. .............................................................................. 63
12.18.   Notices.        ................................................................................................................ 63




                                                             iv
        Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 6 of 72



                 Each of Serta Simmons Bedding, LLC (“Serta Simmons Bedding”); Dawn Intermediate,
LLC (“Dawn Intermediate”); Serta International Holdco, LLC; National Bedding Company L.L.C.; SSB
Manufacturing Company; The Simmons Manufacturing Co., LLC; Dreamwell, Ltd.; SSB Hospitality, LLC;
SSB Logistics, LLC; Simmons Bedding Company, LLC; Tuft & Needle, LLC; Tomorrow Sleep LLC; SSB
Retail, LLC; and World of Sleep Outlets, LLC (each, a “Debtor” and, collectively, the “Debtors”) propose
the following joint chapter 11 plan of reorganization pursuant to section 1121(a) of the Bankruptcy Code.
Capitalized terms used herein shall have the meanings set forth in Article I.A. Holders of Claims and
Interests may refer to the Disclosure Statement for a discussion of the Debtors’ history, businesses, assets,
results of operations, historical financial information, and projections of future operations, as well as a
summary and description of the Plan, the settlements and transactions contemplated thereby, and certain
related matters. The Debtors are the proponents of the Plan within the meaning of section 1129 of the
Bankruptcy Code. The Plan shall apply as a separate Plan for each of the Debtors, and the classification of
Claims and Interests set forth herein shall apply separately to each of the Debtors.

           ALL HOLDERS OF CLAIMS AND INTERESTS ENTITLED TO VOTE ON THE PLAN
ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

ARTICLE I.          DEFINITIONS AND INTERPRETATION.

        A.      Definitions. The following terms shall have the respective meanings specified below:

        1.1      “2020 Transaction” means the issuance of the FLFO Term Loans and exchange of
outstanding first lien and second lien term loans for FLSO Term Loans that closed on June 22, 2020.

         1.2     “6A Trade Agreement” means a trade agreement providing for the continuation of goods
or services on the same or better terms as existed as most favorable terms provided to the Debtors in the six
(6) months prior to the Petition Date (the form of which is attached to the Disclosure Statement Approval
Order as Schedule 9).

         1.3     “ABL Intercreditor Agreement” means that certain ABL Intercreditor Agreement, dated
November 8, 2016 (as amended, restated, amended and restated, supplemented and otherwise modified from
time to time), by and among, inter alios, the PTL Agent, Prepetition ABL Agent, the Non-PTL Agent, and
acknowledged and agreed to by Dawn Intermediate, Serta Simmons Bedding, a Delaware limited liability
company, the other borrowers party thereto and each of the other obligors party thereto.

        1.4     “Administrative Expense Claim” means any Claim for a cost or expense of administration
incurred during the Chapter 11 Cases pursuant to sections 503(b) and 507(a)(2) of the Bankruptcy Code,
including, without limitation, (a) the actual and necessary costs and expenses incurred after the Petition
Date and through the Effective Date of preserving the Estates and operating the businesses of the Debtors
(such as wages, salaries or commissions for services and payments for good and other services and leased
premises) and (b) Professional Fee Claims.

        1.5     “Adversary Complaint” means the complaint filed by the Debtor and certain of the PTL
Lenders commencing an adversary proceeding against certain of the Non-PTL Lenders seeking a
declaratory judgment to resolve the claims arising from any pending or future litigation related to the 2020
Transaction.

        1.6     “Adversary Proceeding” means the proceeding commenced by the Adversary Complaint.

        1.7     “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.
        Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 7 of 72



         1.8      “Allowed” means, with reference to any Claim or Interest, (a) any Claim or Interest arising
on or before the Effective Date (i) as to which no objection to allowance, priority, or secured status, and no
request for estimation or other challenge, including, without limitation, pursuant to section 502(d) of the
Bankruptcy Code or otherwise, has been interposed prior to the Claim Objection Deadline, or (ii) as to
which any objection has been determined by a Final Order to the extent such objection is determined in
favor of the respective holder, (b) any Claim or Interest that is compromised, settled, or otherwise resolved
pursuant to the authority of the Debtors, Reorganized Debtors, or Class 6B Trust, as applicable, (c) any
Claim or Interest as to which the liability of the Debtors or Reorganized Debtors, as applicable, and the
amount thereof are determined by a Final Order of a court of competent jurisdiction other than the
Bankruptcy Court, or (d) any Claim or Interest expressly allowed hereunder; provided, however, that
notwithstanding the foregoing, (x) unless expressly waived by the Plan, the Allowed amount of Claims or
Interests shall be subject to and shall not exceed the limitations under or maximum amounts permitted by
the Bankruptcy Code, including sections 502 or 503 of the Bankruptcy Code, to the extent applicable,
(y) the Reorganized Debtors shall retain all claims and defenses with respect to Allowed Claims that are
Reinstated or otherwise Unimpaired pursuant to the Plan, and (z) the Class 6B Trust shall be transferred
and retain all Claims and defenses with respect to Other General Unsecured Claims except for the Excluded
Class 6B Claims or as otherwise provided in this Plan.

      1.9      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. § 101, et seq., as
amended from time to time, as applicable to the Chapter 11 Cases.

        1.10     “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
of Texas Houston Division having jurisdiction over the Chapter 11 Cases, and to the extent of any reference
made under section 157 of title 28 of the United States Code or the Bankruptcy Court is determined not to
have authority to enter a Final Order on an issue, the District Court having jurisdiction over the Chapter 11
Cases under section 151 of title 28 of the United States Code.

        1.11    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by
the United States Supreme Court under section 2075 of title 28 of the United States Code and any Local
Bankruptcy Rules of the Bankruptcy Court, in each case, as amended from time to time and applicable to
the Chapter 11 Cases.

       1.12      “Business Day” means any day other than a Saturday, a Sunday, or any other day on which
banking institutions in New York, New York are required or authorized to close by law or executive order.

        1.13     “Cash” means legal tender of the United States of America.

          1.14    “Causes of Action” means any action, claim, cross-claim, third-party claim, cause of
action, controversy, dispute, demand, right, lien, indemnity, contribution, guaranty, suit, obligation,
liability, loss, debt, fee or expense, damage, interest, judgment, cost, account, defense, remedy, offset,
power, privilege, proceeding, license and franchise of any kind or character whatsoever, known, unknown,
foreseen or unforeseen, existing or hereafter arising, contingent or non-contingent, matured or unmatured,
suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured,
assertable directly or derivatively (including any alter ego theories), whether arising before, on, or after the
Petition Date, in contract or in tort, in law or in equity or pursuant to any other theory of law (including,
without limitation, under any state or federal securities laws). Causes of Action also includes: (a) any right
of setoff, counterclaim or recoupment and any claim for breach of contract or for breach of duties imposed
by law or in equity; (b) the right to object to Claims or Interests; (c) any claim pursuant to section 362 or
chapter 5 of the Bankruptcy Code; (d) any claim or defense including fraud, mistake, duress and usury and
any other defenses set forth in section 558 of the Bankruptcy Code; and (e) any state law fraudulent transfer
claim.




                                                       2
        Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 8 of 72



       1.15   “Chapter 11 Cases” means the jointly administered cases under chapter 11 of the
Bankruptcy Code commenced by the Debtors in the Bankruptcy Court in which this Plan was filed.

       1.16     “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code, as against
any Debtor.

         1.17   “Claim Objection Deadline” means the deadline for objecting to filed Proofs of Claim or
scheduled claims, which shall be, unless otherwise extended pursuant to the Plan (a) the one hundred
eightieth (180th) day following the later of (i) the Effective Date and (ii) the date that a Proof of Claim is
filed or amended or a Claim is otherwise asserted or amended in writing by or on behalf of a holder of such
Claim; or (b) such later date as may be fixed by the Bankruptcy Court.

        1.18    “Class” means any group of Claims or Interests classified as set forth in Article III of the
Plan pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

        1.19    “Class 6B Cash Contribution” means $5,750,000 in Cash to be transferred by the Debtors
or Reorganized Debtors to the Class 6B Trust on the Effective Date and administered by the Class 6B
Trustee for purposes of (i) satisfying the obligations of the Class 6B Trust, including the Class 6B Trust
Expenses, and (ii) making distributions to holders of Allowed Other General Unsecured Claims in Class
6B, in accordance with Section 4.7.

         1.20     “Class 6B Cash Contribution Allocation” means the initial allocation of the Class 6B Cash
Contribution across the Debtors, determined by the Debtors in consultation with the Requisite Consenting
Creditors and the Creditors’ Committee, in the manner set out in the GUC Recovery Allocation Table;
provided, however, that this initial allocation may be reallocated by the Class 6B Trust, acting by and
through the Class 6B Trustee, with the consent of the Reorganized Debtors, in their reasonable business
judgment, and the reasonable consent of the Requisite Consenting Creditors (if such reallocation occurs
prior to the Effective Date) or upon further order of the Bankruptcy Court, to recalibrate for, among other
things, (i) the amount of Allowed Other General Unsecured Claims against each Debtor as determined in
accordance with the reconciliation and objection process provided for in this Plan, (ii) the amount and
purpose of Class 6B Trust Expenses, and (iii) any recoveries by the Class 6B Trust on account of Class 6B
Causes of Action.

        1.21    “Class 6B Causes of Action” means all avoidance actions, preferences or other causes of
action pursuant to chapter 5 of the Bankruptcy Code solely against holders of Other General Unsecured
Claims in Class 6B, except the Excluded Causes of Action.

         1.22   “Class 6B Tax Disclosures” means the memorandum setting out certain important tax
information for holders of Other General Unsecured Claims in Class 6B, substantially in the form included
in the Plan Supplement.

        1.23      “Class 6B Trust” means that certain trust to be established on the Effective Date, in
accordance with the Class 6B Trust Agreement and Section 5.20 of the Plan, to, as applicable, administer,
process, settle, resolve, liquidate, satisfy, and pay holders of Allowed Other General Unsecured Claims.

        1.24    “Class 6B Trust Agreement” means the agreement that establishes the Class 6B Trust and
governs the powers, duties and responsibilities of the Class 6B Trustee, by and among the Reorganized
Debtors and the Class 6B Trustee, substantially in the form included in the Plan Supplement and consistent
with Section 5.20 of the Plan, provided, that the Class 6B Trust Agreement shall be in form and substance
reasonably acceptable to the Creditors’ Committee, the Debtors, and the Requisite Consenting Creditors.




                                                      3
        Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 9 of 72



       1.25    “Class 6B Trust Assets” means: (i) the Class 6B Cash Contribution and (ii) the Class 6B
Causes of Action.

        1.26    “Class 6B Trust Beneficiaries” means holders of Allowed Other General Unsecured
Claims in Class 6B.

         1.27     “Class 6B Trust Expenses” means all reasonable and documented fees, expenses, and costs
incurred by the Class 6B Trust in connection with carrying out the duties and obligations of the Class 6B
Trust and otherwise in accordance with the Class 6B Trust Agreement, including all costs related to the
maintenance or distribution of the Class 6B Trust Assets, bonding, insurance, storage, as well as indemnity
reserves, all of the Class 6B Trustee’s fees and expenses (acting in the capacity as the Class 6B Trustee, or
as a professional representing the Class 6B Trust), including, without limitation, attorneys’ fees, and the
fees of other professionals and other Persons retained by the Class 6B Trustee and the Class 6B Trust, and
any taxes imposed on the Class 6B Trust or in respect of the Class 6B Trust Assets.

         1.28    “Class 6B Trust Indemnified Parties” means the Class 6B Trustee, and its consultants,
agents, attorneys, accountants, financial advisors, estates, employees, officers, directors, principals,
professionals, independent contractors, managers, members, partners and other representatives, each in
their respective capacity as such, and any of such Entity’s predecessors, successors and assigns.

         1.29     “Class 6B Trust Interests” means the non-certificated and non-transferable beneficial
interests in the Class 6B Trust granted to each Class 6B Trust Beneficiary, which shall entitle such holder
to their Pro Rata Share of net proceeds of Class 6B Trust Assets in accordance with the GUC Recovery
Allocation Table.

        1.30    “Class 6B Trustee” means UMB Bank, N.A., or any successor trustee appointed in
accordance with the Class 6B Trust Agreement, to serve as the trustee of the Class 6B Trust in accordance
with the Class 6B Trust Agreement for the purposes of, among other things, liquidating the Class 6B Trust
Assets following the Effective Date and effectuating distributions to Holders of Allowed Other General
Unsecured Claims.

        1.31   “Collective Bargaining Agreements” means the five (5) collective bargaining agreements
between SSB Manufacturing Company and each of (i) Teamsters (IBT) Local 986, (ii) USW Local 675,
(iii) USW Local Union 156-U-07 "Driver Unit”, (iv) USW Local 156, and (v) Hawaii Teamsters and Allied
Workers Local 996.

        1.32    “Commitment Letter” means that certain Commitment Letter dated as of May 15, 2023 by
the Exit ABL Facility Agent committing to provide the Exit ABL Commitment subject to the conditions
contained therein.

        1.33    “Company” means, collectively, the Debtors and their non-Debtor Affiliates.

       1.34    “Confirmation Date” means the date on which the Bankruptcy Court enters the
Confirmation Order.

       1.35     “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court to consider
confirmation of the Plan, as such hearing may be adjourned or continued from time to time.

       1.36     “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan
pursuant to section 1129 of the Bankruptcy Code, in form and substance (i) acceptable to the Requisite
Consenting Creditors and the Company, (ii) reasonably acceptable to the DIP Agent and Exit ABL Facility




                                                     4
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 10 of 72



Agent (as to this clause (ii), solely as related to or in connection with the DIP Facility, the Exit ABL Facility,
the Exit ABL Facility Agent, the Exit ABL Facility Lenders, the DIP Agent, and the DIP Lenders), and
(iii) reasonably acceptable to the Creditors’ Committee with respect to the Creditors’ Committee Global
Settlement, and otherwise subject to the applicable consent rights set forth in the Restructuring Support
Agreement.

        1.37    “Consenting Creditor Consent Rights” means any applicable consent, approval, and/or
consultation right of the Requisite Consenting Creditors as set forth in the Restructuring Support
Agreement.

       1.38    “Consenting Creditors” means the PTL Lenders that are party to the Restructuring Support
Agreement, together with their respective successors and permitted assigns and any subsequent lender that
becomes party to the Restructuring Support Agreement in accordance with the terms of the Restructuring
Support Agreement.

         1.39    “Consenting Equity Holder Fees and Expenses” means the reasonable and documented
fees, costs and expenses of Ropes & Gray LLP, as counsel to certain of the Consenting Equity Holders, in
connection with the negotiation, formulation, preparation, execution, delivery, implementation,
consummation and/or enforcement of the Restructuring Support Agreement, this Plan, and/or any of the
other Definitive Documents, and/or the transactions contemplated hereby or thereby, and/or any
amendments, waivers, consents, supplements or other modifications to any of the foregoing, in an amount
not to exceed $200,000.

         1.40     “Consenting Equity Holders” means Dawn Holdings, Inc., as the sole member, and holder
of interests in, Dawn Intermediate; and funds managed by Advent International Corporation, as holder of
interests in Dawn Holdings, Inc.

       1.41     “Consenting Parties” means, collectively, the Consenting Creditors and the Consenting
Equity Holders.

       1.42     “Creditors’ Committee” means the official committee of unsecured creditors of the
Debtors, appointed by the U.S. Trustee pursuant to section 1102 of the Bankruptcy Code on February 9,
2023 (Docket No. 274) and reconstituted on February 14, 2023 (Docket No. 321), the membership of which
may be further reconstituted from time to time.

        1.43    “Creditors’ Committee Global Settlement” means the settlement of all Claims, Interests,
and controversies among the Debtors, the Requisite Consenting Creditors, and the Creditors’ Committee
and the consideration given or received, as applicable, by each as set forth in the Plan and as summarized
in Section 5.1.

         1.44   “Cure” means the payment of Cash by the Debtors, or the distribution of other property (as
the parties may agree or the Bankruptcy Court may order), as necessary to (a) cure a monetary default by
the Debtors in accordance with the terms of an executory contract or unexpired lease of the Debtors and
(b) permit the Debtors to assume such executory contract or unexpired lease pursuant to section 365 of the
Bankruptcy Code.

       1.45     “Cure Dispute” means a pending objection relating to assumption or assumption and
assignment of an executory contract or unexpired lease pursuant to section 365 of the Bankruptcy Code.

       1.46    “Cure Notice” means a notice to parties to executory contracts or unexpired leases to be
assumed or assumed and assigned reflecting the Debtors’ intention to potentially assume or assume and




                                                        5
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 11 of 72



assign the contract or lease in connection with the Plan and, where applicable, setting forth the proposed
Cure amount (if any).

       1.47   “CV Trade Agreement” means a trade agreement executed by the Debtors pursuant to the
Vendor Order.

         1.48   “D&O Policy” means any insurance policy, including tail insurance policies, for directors’,
members’, trustees’, and officers’ liability maintained by the Debtors and in effect or purchased as of the
Petition Date.

        1.49    “Debtor or Debtors” has the meaning set forth in the introductory paragraph of the Plan.

       1.50     “Debtors in Possession” means the Debtors in their capacity as debtors in possession in
the Chapter 11 Cases pursuant to sections 1101, 1107(a) and 1108 of the Bankruptcy Code.

        1.51     “Definitive Documents” has the meaning set forth in the Restructuring Support
Agreement. Each Definitive Document shall be consistent with the Restructuring Support Agreement and,
in each case, subject to the Consenting Creditor Consent Rights.

        1.52    “DIP Agent” means Eclipse Business Capital, LLC, solely in its capacity as administrative
agent and collateral trustee under the DIP Credit Agreement, its successors, assigns, or any replacement
agent appointed pursuant to the terms of the DIP Credit Agreement.

         1.53     “DIP Claims” means all Claims held by the DIP Lenders or the DIP Agent on account of,
arising under, or relating to the DIP Credit Agreement, the DIP Facility, or the DIP Order, including Claims
for all principal amounts outstanding, and any and all fees, interest, expenses, indemnification obligations,
reimbursement obligations, and other amounts due under the DIP Loan Documents, which, for the
avoidance of doubt, shall include all “DIP Obligations” as such term is defined in the DIP Order.

        1.54     “DIP Commitment” means the commitment to provide the amounts contemplated under
the DIP Facility.

        1.55    “DIP Credit Agreement” means that certain Senior Secured Super-Priority Debtor-in-
Possession ABL Credit Agreement, dated as of January, 23, 2023, by and among Serta Simmons Bedding,
as top borrower, the other borrowers party thereto, the DIP Agent, and the DIP Lenders, as approved by the
DIP Order, as may be further amended, restated, amended and restated, supplemented or otherwise
modified from time to time in accordance with its terms which, for the avoidance of doubt, shall be in form
and substance reasonably acceptable to the Requisite Consenting Creditors.

       1.56     “DIP Facility” means an asset-based revolving credit facility with aggregate DIP
Commitment of $125,000,000, including a letter of credit sub-facility in an aggregate amount of up to
$10,000,000 to issue new letters of credit, as approved by the DIP Order.

         1.57    “DIP Lenders” means the lenders and, if applicable, the issuing lenders from time to time
party to the DIP Credit Agreements.

       1.58    “DIP Loan Documents” has the meaning set forth in the DIP Order. Each DIP Loan
Document shall be consistent with the Restructuring Support Agreement and, in each case, subject to the
Consenting Creditor Consent Rights.




                                                     6
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 12 of 72



         1.59   “DIP Order” means, as applicable, the Amended Final Order (I) Authorizing Debtors to
(A) Obtain Postpetition Financing and (B) Use Cash Collateral, (II) Granting (A) Liens and Providing
Superpriority Administrative Expense Status and (B) Adequate Protection to Certain Prepetition Lenders,
(III) Modifying Automatic Stay, and (IV) Granting Related Relief (Docket No. 406) or the Amended Interim
Order (I) Authorizing Debtors to (A) Obtain Postpetition Financing and (B) Use Cash Collateral,
(II) Granting (A) Liens and Providing Superpriority Administrative Expense Status and (B) Adequate
Protection to Certain Prepetition Lenders, (III) Modifying Automatic Stay, (IV) Scheduling A Final
Hearing and (V) Granting Related Relief (Docket No. 109), authorizing the Debtors to enter into the DIP
Credit Agreement and access the DIP Facility, as may be amended, supplemented or modified from time
to time.

        1.60   “Disallowed” means, with respect to any Claim or Interest, that such Claim or Interest has
been determined by a Final Order or specified in a provision of the Plan not to be Allowed.

         1.61    “Disbursing Agent” means (i) in the case of distributions to the Holders of Allowed Other
General Unsecured Claims, the Class 6B Trust or such other Entity retained by the Class 6B Trust to
administer such distributions in accordance with Article VI of this Plan, and (ii) in the case of all other
distributions to be made to holders of Allowed Claims other than the Other General Unsecured Claims in
Class 6B under the Plan, any Entity (including any applicable Debtor or Reorganized Debtor if it acts in
such capacity) in its capacity as a disbursing agent under Article VI of the Plan.

       1.62   “Disclosure Statement” means the disclosure statement for the Plan, as approved by the
Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code, consistent with the Restructuring
Support Agreement and subject to the Consenting Creditor Consent Rights.

        1.63   “Disclosure Statement Approval Order” means the Order (I) Approving Disclosure
Statement and Form and Manner of Notice of Disclosure Statement Hearing; (II) Establishing Solicitation
and Voting Procedures; (III) Establishing Notice and Objection Procedures for Confirmation of Proposed
Plan; (IV) Approving Notice Procedures for the Assumption or Rejection of Executory Contracts and
Unexpired Leases; and (V) Granting Related Relief (Docket No. 540).

         1.64    “Disputed” means with respect to a Claim, (a) any Claim, which Claim is disputed under
Section 7.1 of the Plan or as to which the Debtors or the Class 6B Trust, as applicable, have interposed and
not withdrawn an objection or request for estimation that has not been determined by a Final Order; (b) any
Claim, proof of which was required to be filed by order of the Bankruptcy Court but as to which a Proof of
Claim was not timely or properly filed by the applicable claims bar date; (c) any Claim that is listed in the
Schedules as unliquidated, contingent, or disputed, and as to which no request for payment or Proof of
Claim has been filed by the applicable claims bar date; or (d) any Claim that is otherwise disputed by any
of the Debtors, the Reorganized Debtors or the Class 6B Trust, as applicable, in accordance with applicable
law or contract, which dispute has not been withdrawn, resolved or overruled by a Final Order. To the
extent the Debtors or the Class 6B Trust dispute only the amount of a Claim, such Claim shall be deemed
Allowed in the amount the Debtors or the Class 6B Trust, as applicable, do not dispute, if any, and Disputed
as to the balance of such Claim.

        1.65   “Distribution Record Date” means (i) with respect to all Claims other than Other General
Unsecured Claims, the Effective Date, or such other time as agreed between the Debtors and the Requisite
Consenting Creditors, and (ii) with respect to Other General Unsecured Claims, the Effective Date, or such
other time as agreed between the Debtors, the Requisite Consenting Creditors, and the Creditors’
Committee.




                                                     7
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 13 of 72



         1.66    “Effective Date” means the date determined by the Debtors, in consultation with the
Requisite Consenting Creditors and the Creditors’ Committee, and on which all conditions to the
effectiveness of the Plan set forth in Article IX hereof have been satisfied or waived in accordance with the
terms of the Plan.

         1.67     “Employee Arrangements” means all employment or employee-related arrangements,
agreements, programs, and policies, and all compensation and benefits plans, policies, award letters, key
employee retention agreements, and programs of the Debtors applicable to their respective employees,
retirees, consultants, contractors, and non-employee directors, including all savings plans, retirement plans,
healthcare plans, disability plans, severance benefit plans, incentive plans (including equity and
equity-based plans), welfare benefits plans, and life and accidental death and dismemberment insurance
plans.

        1.68     “Entity” means an individual, corporation, partnership, limited liability partnership,
limited liability company, association, joint stock company, joint venture, estate, trust, unincorporated
organization, government unit (as defined in section 101(27) of the Bankruptcy Code) or any political
subdivision thereof, or other person (as defined in section 101(41) of the Bankruptcy Code) or other entity.

        1.69   “Equipment Lease” means the long-term lease between SSB Manufacturing Company, as
lessee, and SSB Equipment Company, Inc., as lessor, substantially in the form included in the Plan
Supplement.

        1.70    “Estate or Estates” means individually or collectively, the estate or estates of the Debtors
created under section 541 of the Bankruptcy Code.

        1.71   “Exchange Agreement” means that certain Open Market and Cashless Exchange
Agreement, dated as of June 22, 2020, by and among Dawn Intermediate, Serta Simmons Bedding LLC,
National Bedding Company, L.L.C., SSB Manufacturing Company and each of the institutions party thereto
as lenders.

        1.72     “Excluded Causes of Action” means any Claims, causes of action, avoidance actions,
preferences, or any other actions (i) relating to, or in connection with, the 2020 Transaction and/or the PTL
Credit Agreement or any related actions, agreements, and/or documents to any of the foregoing, (ii) the
Debtors’ claims and causes of action against the Minority Licensees, and (iii) such other causes of action
to be agreed upon by the Debtors, the Requisite Consenting Creditors, and the Creditors’ Committee or the
Class 6B Trustee, as applicable.

          1.73     “Excluded Class 6B Claims” means (i) any Other General Unsecured Claims in Class 6B
filed or asserted by the Minority Licensees and (ii) any Insured Litigation Claim solely to the extent required
under any applicable insurance policy or program; provided, that, the Claims set forth in (i) – (ii) may not
be Allowed without (a) the consent of the Creditors’ Committee or the Class 6B Trust, as applicable, or
(b) further order of the Bankruptcy Court; provided further, in the event the Excluded Class 6B Claims set
forth in (i) – (ii) have not been fully reconciled within 180 days of the Effective Date, then the Class 6B
Trust shall have the right to either object to, or seek estimation of, such unresolved Excluded Class 6B
Claims pursuant to Section 7.3 of the Plan.

         1.74    “Exculpated Parties” means each of the following in their capacity as such and, in each
case, to the maximum extent permitted by law: (i) the Debtors, (ii) Harvey Tepner and Joan Hilson, each in
their capacity as independent director of the Debtors, and (iii) the Creditors’ Committee and each of its
members, solely in their capacity as such.




                                                      8
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 14 of 72



        1.75   “Exit ABL Commitment” means the commitment to provide the amounts contemplated
under the Exit ABL Facility, consistent with the Restructuring Support Agreement and subject to the
Consenting Creditor Consent Rights.

          1.76     “Exit ABL Facility” means a $100,000,000 asset-based revolving credit facility, with a
letter of credit sub-facility in an aggregate amount of up to $30,000,000.00 to be provided by the Exit ABL
Facility Lenders to the Reorganized Debtors upon the Effective Date.

        1.77    “Exit ABL Facility Agent” means Wells Fargo Bank, National Association or another
agent reasonably acceptable to the Requisite Consenting Creditors, in its capacity as administrative agent
under the Exit ABL Facility Credit Agreement.

         1.78     “Exit ABL Facility Credit Agreement” means that certain credit or loan agreement, in form
and substance acceptable to the Exit ABL Facility Agent and Exit ABL Facility Lenders, pursuant to which
the Exit ABL Facility shall be provided, to be dated as of the Effective Date, by and among inter alios the
Reorganized Debtors, as borrower and/or guarantor (as applicable), certain other subsidiaries as guarantors
thereto, the Exit ABL Facility Agent and each Exit ABL Facility Lender, consistent with the Commitment
Letter and the Restructuring Support Agreement and subject to the Consenting Creditor Consent Rights.

         1.79    “Exit ABL Facility Lenders” means the lenders from time to time party to the Exit ABL
Facility Credit Agreement or any other lenders reasonably acceptable to the Requisite Consenting Creditors.

         1.80   “Exit ABL Facility Loans” means the revolving loans to be issued under the Exit ABL
Facility.

         1.81     “Final Order” means as applicable, an order or judgment of the Bankruptcy Court, or other
court of competent jurisdiction with respect to the relevant subject matter, which has not been reversed,
stayed, modified, or amended, including any order subject to appeal but for which no stay of such order has
been entered, and as to which the time to appeal, seek certiorari, or move for a new trial, reargument, or
rehearing has expired and as to which no appeal, petition for certiorari, or other proceeding for a new trial,
reargument, or rehearing has been timely taken, or as to which any appeal that has been taken or any petition
for certiorari that has been or may be filed has been withdrawn with prejudice, resolved by the highest court
to which the order or judgment was appealed or from which certiorari could be sought, or any request for
new trial, reargument, or rehearing has been denied, resulted in no stay pending appeal or modification of
such order, or has otherwise been dismissed with prejudice; provided, that no order or judgment shall fail
to be a “Final Order” solely because of the possibility that a motion under rules 59 or 60 of the Federal
Rules of Civil Procedure or any analogous Bankruptcy Rule (or any analogous rules applicable in another
court of competent jurisdiction) or sections 502(j) or 1144 of the Bankruptcy Code has been or may be filed
with respect to such order or judgment.

         1.82   “First Lien Intercreditor Agreement” means that certain First Lien Intercreditor
Agreement, dated June 22, 2020, by and among, inter alios, the PTL Agent, the Non-PTL Agent, and
acknowledged and agreed to by Dawn Intermediate, Serta Simmons Bedding, the other borrowers party
thereto and each of the other obligors party thereto.

         1.83    “FLFO Claim” means any Claim arising from, derived from, or in connection to first lien
first out term loans held under the PTL Credit Agreement, including any accrued and unpaid interest
(whether accruing pre- or postpetition), fees, and other amounts arising and payable with respect thereto,
and all Claims or Causes of Action relating thereto.




                                                      9
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 15 of 72



        1.84   “FLFO Term Loans” means the new “first lien first out” term loan in the aggregate
principal amount of $200 million under the PTL Credit Agreement.

         1.85  “FLSO Claim” means any Claim arising from, derived from, or in connection to first lien
second out term loans under the PTL Credit Agreement, including any accrued and unpaid interest, fees,
and other amounts arising and payable with respect thereto, and all Claims or Causes of Action relating
thereto.

      1.86      “FLSO Term Loans” means the “first lien second out” term loans under the PTL Credit
Agreement.

        1.87    “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

        1.88    “GUC Recovery Allocation Table” means the table attached hereto as Exhibit A.

       1.89    “Impaired” means, with respect to a Claim, Interest, or Class of Claims or Interests,
“impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

        1.90    “Indemnification Obligation” means any existing or future obligation of any Debtor to
indemnify (i) current directors, officers, members, managers, agents or employees of any of the Debtors
who served in such capacity, with respect to or based upon such service or any act or omission taken or not
taken in any of such capacities, or for or on behalf of any Debtor, whether pursuant to agreement, the
Debtors’ respective memoranda, articles or certificates of incorporation, corporate charters, bylaws,
operating agreements, limited liability company agreements, or similar corporate or organizational
documents or other applicable contract or law in effect as of the Effective Date or (ii) the PTL Lenders and
the PTL Agent under the PTL Credit Agreement.

        1.91    “Intercompany Claim” means any Claim against a Debtor held by another Debtor.

        1.92     “Intercompany Interest” means an Interest in a Debtor held by another Debtor, other than
an Interest in Dawn Intermediate or Serta Simmons Bedding.

        1.93   “Intercreditor Agreements” means, collectively, the First Lien Intercreditor Agreement
and the ABL Intercreditor Agreement.

         1.94    “Insured Litigation Claims” means insured personal injury and employment practice
litigation claims or such other insured claims constituting Other General Unsecured Claims in Class 6B.

         1.95    “Interests” means any equity in a Debtor as defined in section 101(16) of the Bankruptcy
Code, including all ordinary shares, units, common stock, preferred stock, membership interest, partnership
interest, or other instruments evidencing an ownership interest, or equity security (as defined in section
101(16) of the Bankruptcy Code) in any of the Debtors, whether or not transferable, and any option, warrant
or right, contractual or otherwise, including, without limitation, equity-based employee incentives, grants,
stock options, stock appreciation rights, restricted stock, restricted stock units, performance shares/units,
incentive awards, or other instruments issued to employees of the Debtors, to acquire any such interests in
a Debtor that existed immediately before the Effective Date (in each case whether or not arising under or
in connection with any employment agreement; provided, that the foregoing shall not apply to any
entitlement to participate in or receive any Interests of the Reorganized Debtors).

         1.96   “Intermediate Equity Interests” means any outstanding Interests in Dawn Intermediate
that existed immediately prior to the Effective Date.




                                                     10
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 16 of 72



        1.97    “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

       1.98   “Local Bankruptcy Rules” means the Bankruptcy Local Rules for the United States
Bankruptcy Court for the Southern District of Texas.

         1.99   “Management Incentive Plan” means a post-emergence equity-based management
incentive plan under which eight percent (8%) of the New Common Interests outstanding on a fully diluted
basis issued on the Effective Date shall be set aside and may be issued to members of the Reorganized
Debtors’ management on the terms described in Section 5.12 of the Plan.

         1.100 “Minority Licensees” has the meaning set forth in the Minority Licensees’ Motion for
Relief from the Automatic Stay to Allow Arbitration to Proceed (Docket No. 405).

        1.101   “New Board” means the board of directors or managers of Reorganized Parent.

        1.102 “New Common Interests” means the new common equity of Reorganized Parent to be
issued (a) on the Effective Date or (b) as otherwise permitted pursuant to the Plan and the New Corporate
Governance Documents.

         1.103 “New Corporate Governance Documents” means the certificate of incorporation,
certificate of formation, bylaws, limited liability company agreements, shareholder agreement (if any),
operating agreement or other similar organizational or formation documents, as applicable, of the
Reorganized Debtors, in each case, consistent with the Restructuring Support Agreement and subject to the
Consenting Creditor Consent Rights.

         1.104 “New Intercreditor Agreement” means that certain intercreditor agreement, to be entered
into on the Effective Date, in form and substance acceptable to the Exit ABL Facility Agent and Exit ABL
Facility Lenders, by and between the New Term Loan Agent and the Exit ABL Facility Agent, consistent
with the Restructuring Support Agreement and subject to the Consenting Creditor Consent Rights.

       1.105 “New Term Loan” means new first lien term loans in an aggregate principal amount of
$315,000,000.00 (including original issue discount, if any) pursuant to the New Term Loan Credit Facility
Agreement.

        1.106 “New Term Loan Agent” means an Entity in its capacity as administrative agent under the
New Term Loan Credit Facility Agreement the identity of which shall be reasonably acceptable to the
Requisite Consenting Creditors.

        1.107 “New Term Loan Credit Facility Agreement” means that certain credit or loan agreement
pursuant to which the New Term Loan shall be provided, to be dated as of the Effective Date, by and among
inter alios the Reorganized Debtors, as borrowers and/or guarantors (as applicable), certain other
subsidiaries as guarantors thereto, the New Term Loan Agent and the New Term Loan Lenders, consistent
with the Restructuring Support Agreement and subject to the Consenting Creditor Consent Rights.

        1.108   “New Term Loan Lenders” means the lenders to the New Term Loan.

       1.109 “Non-PTL Agent” means UBS AG, Stamford Branch, solely in its capacities as
administrative agent and collateral agent under the Non-PTL Term Loan Agreement.




                                                   11
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 17 of 72



        1.110 “Non-PTL Claims” means any Claim arising from or in connection to principal obligations
under the Non-PTL Term Loan Agreement, including all accrued and unpaid interest, fees, and other
amounts payable pursuant to, and all claims or Causes of Action arising under or in connection with.

      1.111     “Non-PTL Lenders” means the lenders from time to time party to the Non-PTL Term Loan
Agreement.

        1.112 “Non-PTL Term Loan Agreement” means that certain First Lien Term Loan Agreement,
dated as of November 8, 2016 (as amended by that certain Amendment No. 1 to First Lien Term Loan
Agreement, dated as of June 22, 2020 and as may be further amended, restated, amended and restated,
supplemented or otherwise modified from time to time), by and among Dawn Intermediate, as holdings,
Serta Simmons Bedding, National Bedding Company L.L.C., an Illinois limited liability company, and SSB
Manufacturing Company, a Delaware corporation, as borrowers; the Non-PTL Lenders and the Non-PTL
Agent.

        1.113 “Ongoing General Unsecured Claims” means certain designated Unsecured Claims that
are not Other General Unsecured Claims or Intercompany Claims, which are fixed, liquidated, and
undisputed payment obligations to a third-party provider of goods or services to the Company that facilitates
the Company’s operations in the ordinary course of business and will continue to do so after the Effective
Date that are neither secured by collateral or entitled to priority under the Bankruptcy Code or any Final
Order of the Bankruptcy Court.

         1.114 “Other General Unsecured Claim” means any Unsecured Claim against the Debtors that
is not an Ongoing General Unsecured Claim, Intercompany Claim, or Non-PTL Claim.

         1.115 “Other Intercompany Interests” means Serta Simmons Bedding Equity Interests and any
other Intercompany Interests identified as such in the Restructuring Transactions Exhibit filed with the Plan
Supplement.

        1.116 “Other Secured Claim” means a Secured Claim, other than an Administrative Expense
Claim, a Priority Tax Claim, a FLFO Claim, or a FLSO Claim. For the avoidance of doubt, Non-PTL
Claims are not Other Secured Claims.

        1.117 “Pension Plans” means, collectively, the Steelworkers Pension Trust, Teamsters National
401(k) Savings Plan, and Western Conference of Teamsters Pension Trust.

        1.118 “Person” means an individual, corporation, partnership, joint venture, association, joint
stock company, limited liability company, limited liability partnership, trust, estate, unincorporated
organization, governmental unit (as defined in section 101(27) of the Bankruptcy Code), or other Entity.

      1.119 “Petition Date” means, with respect to a Debtor, the date on which such Debtor
commenced its Chapter 11 Case.

        1.120 “Plan” means this joint chapter 11 plan, including all appendices, exhibits, schedules, and
supplements hereto (including, without limitation, any appendices, schedules, and supplements to the Plan
contained in the Plan Supplement), as the same may be amended, supplemented, or modified from time to
time in accordance with the provisions of the Bankruptcy Code and the terms hereof, consistent with the
Restructuring Support Agreement and subject to the Consenting Creditor Consent Rights and any other
applicable consent rights set forth in the Restructuring Support Agreement.




                                                     12
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 18 of 72



         1.121 “Plan Supplement” means a supplemental appendix to the Plan containing certain
documents and forms of documents, schedules, and exhibits relevant to the implementation of the Plan, as
may be amended, modified, or supplemented from time to time in accordance with the terms hereof and the
Bankruptcy Code and Bankruptcy Rules, which shall include, but not be limited to: (a) the New Corporate
Governance Documents; (b) the New Term Loan Credit Facility Agreement; (c) the New Intercreditor
Agreement; (d) the Exit ABL Facility Agreement; (e) to the extent known, information required to be
disclosed in accordance with section 1129(a)(5) of the Bankruptcy Code; (f) the Restructuring Transactions
Exhibit; (g) the Schedule of Retained Causes of Action, (h) the Schedule of Rejected Contracts, (i) the
Schedule of Assumed Contracts, (j) the Tax Matters Agreement, (k) the Class 6B Trust Agreement,
(l) Equipment Lease, (m) Class 6B Tax Disclosures, and (n) any Management Incentive Plan allocation and
related documents, if applicable, solely to the extent agreed by the Company and the Requisite Consenting
Creditors by the Plan Supplement Date; provided, that the foregoing shall be consistent with the
Restructuring Support Agreement and subject to the Consenting Creditor Consent Rights and any other
applicable consent rights set forth in the Restructuring Support Agreement; provided further, that through
the Effective Date, the Debtors shall have the right to amend the Plan Supplement and any schedules,
exhibits, or amendments thereto, in accordance with the terms of the Plan and the Restructuring Support
Agreement, in each case, consistent with the Restructuring Support Agreement and subject to the
Consenting Creditor Consent Rights.

       1.122 “Plan Supplement Date” means the Business Day that is at least 10 days before the Voting
Deadline or such other later date determined by the Debtors (in consultation with the Consenting Creditors).

       1.123 “Prepetition ABL Agent” means UBS AG, Stamford Branch, in its capacities as
administrative agent and collateral agent under the Prepetition ABL Agreement.

        1.124 “Prepetition ABL Agreement” means that certain ABL Credit Agreement, dated as of
November 8, 2016 (as amended by that certain Amendment No. 1 to ABL Credit Agreement, dated as of
June 30, 2020 and as may be further amended, restated, amended and restated, supplemented or otherwise
modified from time to time), by and among Dawn Intermediate, as holdings, Serta Simmons Bedding,
National Bedding Company L.L.C., an Illinois limited liability company, and SSB Manufacturing
Company, a Delaware corporation, as borrowers; the Prepetition ABL Lenders and the Prepetition ABL
Agent.

         1.125 “Prepetition ABL Lenders” means the several banks and other financial institutions from
time to time party to the Prepetition ABL Agreement.

        1.126 “Prepetition Adversary” means that certain action commenced by AG Centre Street
Partnership L.P., AG Credit Solutions Non-ECI Master Fund, L.P., AG Super Fund Master, L.P., AG SF
Master (L), L.P., et al. in the Supreme Court of the State of New York, County of New York, Index No.
654181/2022.

         1.127 “Prepetition Adversary Actions” means collectively, the Prepetition Adversary and the
Prepetition LCM Adversary.

       1.128 “Prepetition LCM Adversary” means that certain action commenced by LCM XXII LTD.,
LCM XXIII LTD., et al. in the United States District Court for the Southern District of New York, Civil
Action No. 1:21-cv-03987.

        1.129   “Prerequisite Condition” shall have the meaning ascribed to such term in Section 9.2 of
the Plan.




                                                    13
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 19 of 72



        1.130 “Priority Non-Tax Claim” means any Claim other than an Administrative Expense Claim
or a Priority Tax Claim, entitled to priority in payment as specified in section 507(a) of the Bankruptcy
Code.

       1.131 “Priority Tax Claim” means any Secured Claim or unsecured Claim of a Governmental
Unit of the kind entitled to priority in payment as specified in sections 502(i) and 507(a)(8) of the
Bankruptcy Code.

        1.132 “Professional” means an Entity (i) employed pursuant to a Bankruptcy Court order in
accordance with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services
rendered before or on the Effective Date pursuant to sections 327, 328, 329, 330, 331, or 363 of the
Bankruptcy Code; or (ii) awarded compensation and reimbursement by the Bankruptcy Court pursuant to
section 503(b)(4) of the Bankruptcy Code that are not Restructuring Fees and Expenses.

        1.133 “Professional Fee Claims” means all Claims for fees and expenses (including transaction
and success fees) incurred by a Professional on or after the Petition Date to the extent such fees and expenses
have not been paid pursuant to an order of the Bankruptcy Court.

        1.134 “Professional Fee Escrow” means an escrow account established and funded pursuant to
Section 2.6 of the Plan.

         1.135 “Pro Rata Share” means the proportion that an Allowed Claim or Interest in a particular
Class bears to the aggregate amount of Allowed Claims or Interest in that Class, or the proportion that
Allowed Claims or Interests in a particular Class bear to the aggregate amount of Allowed Claims and
Disputed Claims or Allowed Interests and Disputed Interests in a particular Class and other Classes entitled
to share in the same recovery as such Class under the Plan.

         1.136 “PTL Agent” means UBS AG, Stamford Branch, solely in its capacities as administrative
agent and collateral agent under the PTL Credit Agreement and Wilmington Savings Society, FSB solely
in its capacities as successor administrative agent and collateral agent under the PTL Credit Agreement.

         1.137 “PTL Credit Agreement” means that certain Super-Priority Term Loan Agreement, dated
as of June 22, 2020 (as amended by that certain Amendment No. 1 to Super-Priority Term Loan Agreement,
dated as of October 19, 2020 and by that certain Amendment No. 2 to Super-Priority Term Loan Agreement,
dated as of November 12, 2020, and as may be further amended, restated, amended and restated,
supplemented or otherwise modified from time to time), by and among Dawn Intermediate, as holdings,
Serta Simmons Bedding, National Bedding Company L.L.C., an Illinois limited liability company, and SSB
Manufacturing Company, a Delaware corporation, as borrowers; the PTL Lenders, and the PTL Agent.

       1.138 “PTL Group” means that certain ad hoc group of PTL Lenders represented by the PTL
Group Advisors.

        1.139 “PTL Group Counsel” means Gibson, Dunn & Crutcher LLP, as legal advisors to the PTL
Group, and one local counsel to the PTL Group in each relevant jurisdiction, solely to the extent each local
counsel has been approved in advance by the Company Parties.

         1.140 “PTL Group Advisors” means, collectively, (i) the PTL Group Counsel, (ii) Centerview
Partners LLC, (iii) one local counsel to the PTL Group in each relevant jurisdiction, and (iv) any other
professionals, advisors, consultants, testifying witnesses, and/or experts retained by the PTL Group solely
to the extent approved in advance by the Company Parties.




                                                      14
        Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 20 of 72



         1.141 “PTL Lenders” means the several banks and other financial institutions from time to time
party to the PTL Credit Agreement holding PTL Obligations.

        1.142    “PTL Obligations” means the Obligations, as defined in the PTL Credit Agreement.

       1.143     “Proof of Claim” means a proof of Claim filed against any of the Debtors in the Chapter
11 Cases.

        1.144    “Reinstate, Reinstated, or Reinstatement” means leaving a Claim Unimpaired under the
Plan.

        1.145 “Related Parties” means with respect to a Person, that Person’s predecessors, successors,
assigns, subsidiaries, Affiliates, managed accounts or funds, current and former officers, directors,
principals, shareholders, members, partners, managers, employees, agents, advisory board members,
financial advisors, attorneys, accountants, investment bankers, consultants, representatives, management
companies, fund advisors and other professionals, investment advisors, sub-advisors, collateral managers,
and such Persons respective heirs, executors, estates, and nominees, in each case in their capacity as such.

         1.146 “Released Parties” means, collectively: (a) the Debtors; (b) the Reorganized Debtors;
(c) the PTL Agent; (d) the Consenting Creditors; (e) the DIP Agent; (f) the DIP Lenders; (g) the Consenting
Equity Holders; (h) the Creditors’ Committee and each of its members, solely in their capacity as such; and
(i) with respect to each of the foregoing Persons in clauses (a) through (h), all current and former Related
Parties. Notwithstanding the foregoing, any Person that opts out of the releases set forth in Section 10.6(b)
of the Plan shall not be deemed a Released Party thereunder.

         1.147 “Releasing Parties” means collectively, and in each case solely in their capacity as such,
(a) the Debtors; (b) the Reorganized Debtors; (c) the PTL Agent; (d) the Consenting Creditors; (e) the DIP
Agent; (f) the DIP Lenders; (g) the Consenting Equity Holders; (h) the Creditors’ Committee and each of
its members, solely in their capacity as such; and (i) with respect to each of the foregoing Persons in clauses
(a) through (h), all Related Parties; (j) the holders of all Claims or Interests that vote to accept the Plan;
(k) the holders of all Claims or Interests whose vote to accept or reject the Plan is solicited but that do not
vote either to accept or to reject the Plan and do not opt out of granting the releases set forth herein; (l) the
holders of all Claims or Interests that vote, or are deemed, to reject the Plan or that are presumed to accept
the Plan but do not opt out of granting the releases set forth herein; provided, that any holder of an Ongoing
General Unsecured Claim that subsequently is deemed to be a holder of an Other General Unsecured Claim,
but opts into the releases set forth in the Plan shall be a Releasing Party; (m) the holders of all Claims and
Interests that were given notice of the opportunity to opt out of granting the releases set forth herein but did
not opt out; and (n) any other Released Party, even if such Released Party purports to opt out of the releases
set forth herein.

        1.148 “Reorganized Debtors” means a Debtor, or any successor or assign thereto, by merger,
consolidation, reorganization, or otherwise, in the form of a corporation, limited liability company,
partnership, or other form, as the case may be, on and after the Effective Date, including Reorganized
Parent.

        1.149 “Reorganized Parent” means, from and after the Effective Date, the Entity or Entities
serving as the parent or parents of the Reorganized Debtors, identified in and consistent with the
Restructuring Transactions Exhibit and as reorganized pursuant to the Plan.




                                                       15
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 21 of 72



        1.150 “Requisite Consenting Creditors” means, as of the date of determination, Consenting
Creditors holding at least a majority in aggregate principal amount outstanding under the PTL Credit
Agreement held by all of the Consenting Creditors.

        1.151 “Restructuring Fees and Expenses” means (i) the Consenting Equity Holder Fees and
Expenses; and (ii) all reasonable and documented fees, costs and expenses of each of the PTL Group
Advisors and the PTL Agent, in each case, (i) in connection with the negotiation, formulation, preparation,
execution, delivery, implementation, consummation and/or enforcement of the Restructuring Support
Agreement, this Plan, and/or any of the other Definitive Documents, and/or the transactions contemplated
hereby or thereby, and/or any amendments, waivers, consents, supplements or other modifications to any
of the foregoing and, to the extent applicable, (ii)(A) consistent with any engagement letters or fee
reimbursement letters entered into between the Company, on the one hand, and the applicable PTL Group
Advisors, on the other hand (as supplemented and/or modified by this Agreement), or (B) as provided in
the DIP Order and/or the Confirmation Order.

        1.152 “Restructuring Support Agreement” means that certain Restructuring Support Agreement,
dated as of January 23, 2023, by and among the Debtors, the Consenting Creditors, and the Consenting
Equity Holders, including any exhibits attached thereto (as may be amended, supplemented or modified
from time to time in accordance with the terms thereof).

         1.153 “Restructuring Transactions” means one or more transactions premised on a debt-for-
equity exchange to occur on the Plan Effective Date or as soon as reasonably practicable thereafter, that
may be necessary or appropriate to effect any transaction described in, approved by, contemplated by, or
necessary to effectuate the Plan, in each case, subject to the applicable Consenting Creditor Consent Rights,
including: (i) the execution and delivery of any appropriate agreements or other documents of merger,
amalgamation, consolidation, restructuring, conversion, disposition, transfer, formation, organization,
dissolution, or liquidation containing terms that are consistent with the terms of the Plan, and that satisfy
the requirements of applicable law and any other terms to which the applicable Persons may agree,
including the documents comprising the Plan Supplement; (ii) the execution and delivery of appropriate
instruments of transfer, assignment, assumption, or delegation of any asset, property, right, liability, debt,
or obligation on terms consistent with the terms of the Plan and having other terms for which the applicable
Persons agree; (iii) the filing of appropriate certificates or articles of incorporation, reincorporation, merger,
amalgamation, consolidation, conversion, or dissolution pursuant to applicable state law; (iv) such other
transactions that are required to effectuate the Restructuring Transactions Exhibit in the most tax efficient
manner for the Debtors and Reorganized Debtors, including any mergers, consolidations, restructurings,
conversions, dispositions, transfers, formations, organizations, dissolutions, or liquidations; (v) the
execution, delivery, and filing, if applicable, of the Definitive Documents; (vi) the issuance of securities,
all of which shall be authorized and approved in all respects, in each case, without further action being
required under applicable law, regulation, order or rule; (vii) pursuing, litigating, adjudicating, diligently
prosecuting, resolving, and taking all other necessary actions with respect to the Adversary Proceeding and
the Prepetition Adversary Actions consistent with the Plan and this Agreement; and (viii) all other actions
that the applicable Persons determine to be necessary or appropriate, including making filings or recordings
that may be required by applicable law.

         1.154 “Restructuring Transactions Exhibit” means a memorandum setting forth the transactions
that are required to effectuate the Restructuring Transactions contemplated by the Plan and included in the
Plan Supplement, consistent with the Restructuring Support Agreement and subject to the Consenting
Creditor Consent Rights, and solely with respect to the Redemption Transaction (as defined in the
Restructuring Support Agreement), acceptable to the Consenting Equity Holders.




                                                       16
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 22 of 72



      1.155 “Serta Simmons Bedding Equity Interests” means any outstanding Interests in Serta
Simmons Bedding that existed immediately prior to the Effective Date.

        1.156 “Schedule of Assumed Contracts” means the schedule of executory contracts and
unexpired leases to be assumed by the Debtors pursuant to the Plan, as the same may be amended, modified,
or supplemented from time to time, consistent with the Restructuring Support Agreement and subject to the
Consenting Creditor Consent Rights.

         1.157 “Schedule of Rejected Contracts” means the schedule of executory contracts and
unexpired leases to be rejected by the Debtors pursuant to the Plan, if any, as the same may be amended,
modified, or supplemented from time to time, consistent with the Restructuring Support Agreement and
subject to the Consenting Creditor Consent Rights.

        1.158 “Schedule of Retained Causes of Action” means a schedule of Causes of Action to be
retained by the Reorganized Debtors a set forth in the Plan Supplement, consistent with the Restructuring
Support Agreement and subject to the Consenting Creditor Consent Rights.

       1.159 “Schedules” means any schedules of assets and liabilities, schedules of executory contracts
and unexpired leases, and statements of financial affairs filed by the Debtors pursuant to section 521 of the
Bankruptcy code.

          1.160 “Secured Claim” means a Claim (a) secured by a Lien on collateral to the extent of the
value of such collateral as (i) set forth in the Plan, (ii) agreed to by the holder of such Claim and the Debtors,
or (iii) determined by a Final Order in accordance with section 506(a) of the Bankruptcy Code exceeds the
value of the Claim, or (b) secured by the amount of any right of setoff of the holder thereof in accordance
with section 553 of the Bankruptcy Code. For the avoidance of doubt, the Non-PTL Claims are not Secured
Claims.

       1.161 “Security” means any Security, as such term is defined in section 101(49) of the
Bankruptcy Code.

        1.162 “SIR” means self-insured retention, retained limit, deductible, or similar provision in any
applicable insurance policy.

        1.163 “Solicitation Materials” means materials used in connection with the solicitation of votes
on the Plan, including the Disclosure Statement, the Disclosure Statement Approval Order, and any
procedures established by the Bankruptcy Court with respect to solicitation of votes on the Plan, consistent
with the Restructuring Support Agreement and, in each case, subject to the Consenting Creditor Consent
Rights.

       1.164 “Steelworkers Pension Trust” means the pension trust, in which eligible employees in the
Debtors’ Monroe, Ohio, and Moreno Valley, California plants participate.

        1.165    “Subsequent Condition” shall have the meaning ascribed to such term in Section 9.2 of
the Plan.

        1.166    “Tax Code” means the Internal Revenue Code of 1986, as amended from time to time.

        1.167 “Tax Matters Agreement” means the agreement between Dawn Holdings, Inc., Serta
Simmons Bedding, LLC, SSB Manufacturing Company, Serta, Inc., and SSH Canada Holding Co.,
substantially in the form included in the Plan Supplement.




                                                       17
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 23 of 72



       1.168 “Teamsters National 401(k) Savings Plan” means the savings plan in which eligible
employees in Hawaii participate.

         1.169 “Trading Order” means the order entered by the Bankruptcy Court, related to, among other
things, certain transfers and rights to purchase or sell Interests in the Debtors.

        1.170    “U.S. Trustee” means the United States Trustee for Region 7.

       1.171 “Unimpaired” means, with respect to a Claim, Interest, or Class of Claims or Interests, not
“impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

         1.172 “Unsecured Claim” means all Claims that are not a Secured Claim, Other Secured Claims,
Priority Tax Claim, Priority Non-Tax Claim, Professional Fee Claim, DIP Claim, or an Administrative
Expense Claim. For the avoidance of doubt, deficiency claims in respect of the FLSO Claims are not
Unsecured Claims.

        1.173 “Vendor Order” means, as applicable, the Final Order (I) Authorizing Debtors to                Pay
(A) Critical Vendor Claims, (B) Lien Claims, (C) 503(b)(9) Claims, and (D) Certain Royalties;                and
(II) Granting Related Relief (Docket No. 369) or the Interim Order (I) Authorizing Debtors to                Pay
(A) Critical Vendor Claims, (B) Lien Claims, (C) 503(b)(9) Claims, and (D) Certain Royalties;                and
(II) Granting Related Relief (Docket No. 106).

       1.174 “Voting Deadline” means the date and time as may be set by the Bankruptcy Court
pursuant to the Solicitation Materials.

         1.175 “Western Conference of Teamsters Pension Trust” means the pension trust in which
eligible employees in the Debtors’ Moreno Valley, California truck drivers participate.

        1.176 “Workers’ Compensation Programs” has the meaning as set forth in the Final Order
(I) Authorizing Debtors to (A) Continue Insurance Programs and Surety Bond Program, (B) Pay All
Obligations with Respect Thereto, and (C) Modify Automatic Stay to Permit Employees to Proceed with
Workers’ Compensation Claims; and (II) Granting Related Relief (Docket No. 93), including such
Workers’ Compensation Programs identified on Exhibit A annexed thereto.

        B.       Interpretation; Application of Definitions and Rules of Construction.

                   Unless otherwise specified, all section or exhibit references in the Plan are to the respective
section in, or exhibit to, the Plan, as the same may be amended, waived, or modified from time to time.
The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar import refer to the Plan as
a whole and not to any particular section, subsection, or clause contained therein and have the same meaning
as “in the Plan,” “of the Plan,” “to the Plan,” and “under the Plan,” respectively. The words “includes” and
“including” are not limiting. The headings in the Plan are for convenience of reference only and shall not
limit or otherwise affect the provisions hereof. For purposes herein: (1) in the appropriate context, each
term, whether stated in the singular or plural, shall include both the singular and plural, and pronouns stated
in the masculine, feminine, or neuter gender shall include the masculine, feminine, and the neuter gender;
(2) any reference herein to a contract, lease, instrument, release, indenture, or other agreement or document
being in a particular form or on particular terms and conditions means that the referenced document shall
be substantially in that form or substantially on those terms and conditions; (3) unless otherwise specified,
all references herein to “Sections” are references to Sections hereof or hereto; (4) the rules of construction
set forth in section 102 of the Bankruptcy Code shall apply; and (5) any term used in capitalized form herein




                                                       18
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 24 of 72



that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have
the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.

        C.       Computation of Time

                 Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a transaction
may occur pursuant to the Plan shall occur on a day that is not a Business Day, then such transaction shall
instead occur on the next Business Day.

        D.       Reference to Monetary Figures.

                All references in the Plan to monetary figures shall refer to the legal tender of the United
States of America, unless otherwise expressly provided.

        E.       Controlling Document.

                 In the event of an inconsistency between the Plan and the Plan Supplement, the terms of
the relevant document in the Plan Supplement shall control (unless stated otherwise in such Plan
Supplement document). In the event of an inconsistency between the Plan and any other instrument or
document created or executed pursuant to the Plan, or between the Plan and the Disclosure Statement, the
Plan shall control. The provisions of the Plan and of the Confirmation Order shall be construed in a manner
consistent with each other so as to effect the purposes of each; provided, that, if there is determined to be
any inconsistency between any Plan provision and any provision of the Confirmation Order that cannot be
so reconciled, then, solely to the extent of such inconsistency, the provisions of the Confirmation Order
shall govern and any such provision of the Confirmation Order shall be deemed a modification of the Plan.

        F.       Consultation, Information, Notice, and Consent Rights.

                  Notwithstanding anything herein to the contrary, any and all consultation, information,
notice, and consent rights of the parties to the Restructuring Support Agreement set forth in the
Restructuring Support Agreement (without enhancement or expansion thereof), including any Consenting
Creditor Consent Rights, with respect to the form and substance of the Plan, all exhibits to the Plan, the
Plan Supplement, the Disclosure Statement, and all other Definitive Documents, including any
amendments, restatements, supplements, or other modifications to such agreements and documents, and
any consents, waivers, or other deviations under or from any such documents, shall be incorporated herein
by this reference (including to the applicable definitions in Article I.A hereof) and fully enforceable as if
stated in full herein. In case of a conflict between the consent rights of the Consenting Creditors or other
applicable parties that are set forth in the Restructuring Support Agreement with those parties’ consent
rights that are set forth in the Plan or the Plan Supplement, unless otherwise set forth in this Plan, the consent
rights in the Restructuring Support Agreement shall control. Any and all consent rights of the Requisite
Consenting Creditors referenced in the Plan or the Restructuring Support Agreement, to the extent given,
not given, or otherwise withheld, may be communicated by email transmission by counsel.

ARTICLE II.   ADMINISTRATIVE EXPENSE CLAIMS, PROFESSIONAL FEE CLAIMS,
DIP CLAIMS, AND PRIORITY TAX CLAIMS.

                        2.1.       Administrative Expense Claims.

                 Except to the extent that a holder of an Allowed Administrative Expense Claim agrees to
different treatment, each holder of an Allowed Administrative Expense Claim (other than a Professional




                                                       19
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 25 of 72



Fee Claim) shall receive, in full and final satisfaction of such Claim, Cash in an amount equal to such
Allowed Administrative Expense Claim on the Effective Date or as soon as practicable thereafter or such
other treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy Code; provided,
however, Allowed Administrative Expense Claims representing liabilities incurred in the ordinary course
of business by the Debtors, as Debtors in Possession, shall be paid by the Debtors or the Reorganized
Debtors, as applicable, in the ordinary course of business, consistent with past practice and in accordance
with the terms and subject to the conditions of any orders, course of dealing or agreements governing,
instruments evidencing, or other documents relating to such transactions.

                       2.2.       Professional Fee Claims.

                (a)       All Professionals seeking approval by the Bankruptcy Court of Professional Fee
     Claims shall (i) file, on or before the date that is forty-five (45) days after the Effective Date (unless
     extended by the Reorganized Debtors), their respective applications for final allowances of
     compensation for services rendered and reimbursement of expenses incurred and (ii) be paid in full,
     in Cash, in such amounts as are Allowed by the Bankruptcy Court or authorized to be paid in
     accordance with the order(s) relating to or allowing any such Professional Fee Claims.

                (b)     The Reorganized Debtors are authorized to pay compensation for services
     rendered or reimbursement of expenses incurred after the Effective Date in the ordinary course and
     without the need for Bankruptcy Court approval.

                       2.3.       Priority Tax Claims.

                 Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less favorable
treatment, each holder of an Allowed Priority Tax Claim shall receive, in full and final satisfaction,
settlement, release and discharge of, and in exchange for, such Allowed Priority Tax Claim, at the sole
option of the Debtor or the Reorganized Debtors, as applicable, in consultation with the Requisite
Consenting Creditors, Cash in an amount equal to such Allowed Priority Tax Claim on, or as soon thereafter
as is reasonably practicable, the later of (a) the Effective Date, to the extent such Claim is an Allowed
Priority Tax Claim on the Effective Date, (b) the first Business Day after the date that is thirty (30) calendar
days after the date such Priority Tax Claim becomes an Allowed Priority Tax Claim, and (c) the date such
Allowed Priority Tax Claim is due and payable in the ordinary course; provided that, the Debtors and the
Reorganized Debtors, as applicable, reserve the right to prepay all or a portion of any such amounts at any
time under this option without penalty or premium.

                       2.4.       DIP Claims.

                 Subject to the DIP Order, on the Effective Date, each DIP Claim will be indefeasibly paid
in full in Cash upon the Effective Date, and all letters of credit issued under the DIP Credit Agreement shall
be cash collateralized in accordance with the terms of the DIP Credit Agreement, unless otherwise agreed
to by the Debtors, DIP Agent, and DIP Lenders.

                       2.5.       Restructuring Fees and Expenses.

                The Restructuring Fees and Expenses incurred, or estimated to be incurred, up to and
including the Effective Date (or, with respect to necessary post-Effective Date activities, after the Effective
Date, including, without limitation, in connection with or related to the Adversary Proceeding, the
Prepetition Adversary Actions, and/or any other claims, proceedings, actions, or causes of action in
connection with or related to the PTL Credit Agreement, the Exchange Agreement, the Intercreditor
Agreements, and/or the 2020 Transaction), shall be paid in full in Cash on the Effective Date or as soon as




                                                      20
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 26 of 72



reasonably practicable thereafter (to the extent not previously paid or satisfied during the course of the
Chapter 11 Cases) in accordance with, and subject to, the terms of the Restructuring Support Agreement,
without any requirement to file a fee application with the Bankruptcy Court or without any requirement for
Bankruptcy Court review or approval. All Restructuring Fees and Expenses to be paid on the Effective
Date shall be estimated prior to and as of the Effective Date and such estimates shall be delivered to the
Debtors at least two (2) Business Days before the anticipated Effective Date; provided, however, that such
estimates shall not be considered an admission or limitation with respect to such Restructuring Fees and
Expenses. On the Effective Date, or as soon as practicable thereafter, final invoices for all Restructuring
Fees and Expenses incurred prior to and as of the Effective Date shall be submitted to the Debtors.

                      2.6.      Professional Fee Escrow.

                 As soon as reasonably practicable after the Confirmation Date and no later than the
Effective Date, the Debtors shall establish and fund the Professional Fee Escrow with Cash equal to the
Professional Fee Claims, and no Liens, Claims, or interests shall encumber the Professional Fee Escrow in
any way (whether on account of the New Reorganized Debt, or otherwise). The Professional Fee Escrow
(including funds held in the Professional Fee Escrow) (i) shall not be and shall not be deemed property of
the Debtors or the Reorganized Debtors and (ii) shall be held in trust for the Professionals; provided that
funds remaining in the Professional Fee Escrow after all Allowed Professional Fee Claims have been
irrevocably paid in full shall revert to the Reorganized Debtors. Allowed Professional Fee Claims shall be
paid in Cash to such Professionals from funds held in the Professional Fee Escrow when such Claims are
Allowed by an order of the Bankruptcy Court; provided that the Debtors’ obligations with respect to
Professional Fee Claims shall not be limited nor deemed to be limited in any way to the balance of funds
held in the Professional Fee Escrow.

                 If the amount of funds in the Professional Fee Escrow is insufficient to fund payment in
full of all Allowed Professional Fee Claims and any other Allowed amounts owed to Professionals, the
deficiency shall be promptly funded to the Professional Fee Escrow from the Debtors’ Estates without any
further action or order of the Bankruptcy Court.

ARTICLE III.        CLASSIFICATION OF CLAIMS AND INTERESTS.

                      3.1.      Classification in General.

                  A Claim or Interest is placed in a particular Class for all purposes, including voting,
confirmation, and distribution under the Plan and under sections 1122 and 1123(a)(1) of the Bankruptcy
Code; provided, that a Claim or Interest is placed in a particular Class for the purpose of receiving
distributions pursuant to the Plan only to the extent that such Claim or Interest is an Allowed Claim or
Allowed Interest in that Class and such Claim or Interest has not been satisfied, released, or otherwise
settled prior to the Effective Date.

                      3.2.      Formation of Debtor Groups for Convenience Only.

                 The Plan groups the Debtors together solely for the purpose of describing treatment under
the Plan, confirmation of the Plan, and making distributions in respect of Claims against and Interests in
the Debtors under the Plan. Such groupings shall not affect any Debtor’s status as a separate legal Entity,
change the organizational structure of the Debtors’ business enterprise, constitute a change of control of
any Debtor for any purpose, cause a merger or consolidation of any legal Entities, or cause the transfer of
any assets; and, except as otherwise provided by or permitted under the Plan, all Debtors shall continue to
exist as separate legal Entities after the Effective Date.




                                                    21
         Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 27 of 72



                       3.3.      Summary of Classification.

                 The following table designates the Classes of Claims against and Interests in each of the
Debtors and specifies which of those Classes are (a) Impaired or Unimpaired by the Plan, (b) entitled to
vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code, and (c) presumed
to accept or deemed to reject the Plan. In accordance with section 1123(a)(1) of the Bankruptcy Code,
Administrative Expense Claims, and Priority Tax Claims have not been classified. The classification of
Claims and Interests set forth herein shall apply separately to each Debtor.

   Class              Designation                    Treatment                   Entitled to Vote
     1      Other Secured Claims                     Unimpaired              No (Presumed to Accept)
     2      Priority Non-Tax Claims                  Unimpaired              No (Presumed to Accept)
     3      FLFO Claims                               Impaired                         Yes
     4      FLSO Claims                               Impaired                         Yes
     5      Non-PTL Claims                            Impaired                         Yes
    6A      Ongoing General Unsecured                 Impaired                         Yes
            Claims
    6B      Other General Unsecured                   Impaired                          Yes
            Claims
     7      Intercompany Claims                 Unimpaired/Impaired      No (Presumed to Accept/Deemed
                                                                                   to Reject)
     8      Intercompany Interests              Unimpaired/Impaired      No (Presumed to Accept/Deemed
                                                                                   to Reject)
    9       Other Intercompany Interests              Impaired               No (Deemed to Reject)
    10      Intermediate Equity Interests             Impaired               No (Deemed to Reject)

                       3.4.      Special Provision Governing Unimpaired Claims.

                  Except as otherwise provided in the Plan, nothing under the Plan shall affect the rights of
the Debtors or the Reorganized Debtors, as applicable, in respect of any Unimpaired Claims, including all
rights in respect of legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired
Claims.

                       3.5.      Elimination of Vacant Classes.

                 Any Class of Claims against or Interests in a Debtor that, as of the commencement of the
Confirmation Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount
greater than zero for voting purposes shall be considered vacant, deemed eliminated from the Plan of such
Debtor for purposes of voting to accept or reject such Debtor’s Plan, and disregarded for purposes of
determining whether such Debtor’s Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect
to that Class.

                       3.6.      No Waiver.

                 Nothing contained in the Plan shall be construed to waive a Debtor’s or other Person’s right
to object on any basis to any Disputed Claim.




                                                     22
     Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 28 of 72



ARTICLE IV.         TREATMENT OF CLAIMS AND INTERESTS.

                     4.1.      Other Secured Claims (Class 1).

              (a)     Classification: Class 1 consists of the Other Secured Claims. To the extent that
   Other Secured Claims are secured by different collateral or different interests in the same collateral,
   such Claims shall be treated as separate subclasses of Class 1 for purposes of voting to accept or reject
   the Plan and receiving distributions under the Plan.

              (b)       Treatment: The legal, equitable, and contractual rights of the holders of Other
   Secured Claims are unaltered by the Plan. Except to the extent that a holder of an Allowed Other
   Secured Claim agrees to less favorable treatment, in full and final satisfaction of such Allowed Other
   Secured Claim, at the option of the Debtors or the Reorganized Debtors, in consultation with the
   Requisite Consenting Creditors, (i) each such holder shall receive payment in Cash in an amount equal
   to such Claim, (ii) such holder’s Allowed Other Secured Claim shall be Reinstated, or (iii) such holder
   shall receive such other treatment so as to render such holder’s Allowed Other Secured Claim
   Unimpaired pursuant to section 1124 of the Bankruptcy Code.

               (c)     Impairment and Voting: Class 1 is Unimpaired, and the holders of Other Secured
   Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
   Bankruptcy Code. Therefore, holders of Other Secured Claims are not entitled to vote to accept or
   reject the Plan, and the votes of such holders will not be solicited with respect to such Other Secured
   Claims.

                     4.2.      Priority Non-Tax Claims (Class 2).

              (a)      Classification: Class 2 consists of Priority Non-Tax Claims.

               (b)      Treatment: The legal, equitable, and contractual rights of the holders of Other
   Secured Claims are unaltered by the Plan. Except to the extent that a holder of an Allowed Priority
   Non-Tax Claim agrees to a less favorable treatment, in full and final satisfaction of such Allowed
   Priority Non-Tax Claim, at the option of the Debtors or the Reorganized Debtors, in consultation with
   the Requisite Consenting Creditors, (i) each such holder shall receive payment in Cash in an amount
   equal to such Claim, (ii) such holder’s Allowed Priority Non-Tax Claim shall be Reinstated, or
   (iii) such holder shall receive such other treatment so as to render such holder’s Allowed Priority Non-
   Tax Claim Unimpaired pursuant to section 1124 of the Bankruptcy Code.

               (c)     Impairment and Voting: Class 2 is Unimpaired, and the holders of Priority Non-
   Tax Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
   Bankruptcy Code. Therefore, holders of Priority Non-Tax Claims are not entitled to vote to accept or
   reject the Plan, and the votes of such holders will not be solicited with respect to Priority Non-Tax
   Claims.

                     4.3.      FLFO Claims (Class 3).

              (a)      Classification: Class 3 consists of FLFO Claims.

             (b)     Allowance: The FLFO Claims are Allowed pursuant to section 506(a) of the
   Bankruptcy Code in the aggregate amount of no less than $197,658,283.32. Holders of FLFO Claims
   and the PTL Agent shall not be required to file proofs of Claim on account of their FLFO Claims.




                                                   23
  Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 29 of 72



             (c)     Treatment: Except to the extent that a holder of an Allowed FLFO Claim agrees
to a less favorable treatment of such Claim, each such holder shall receive, in full and final satisfaction
of such Claim and in accordance with Section 5.5 of the Plan, on the Effective Date or as soon as
reasonably practicable thereafter, such holder’s Pro Rata share of New Term Loans equal in amount
to the aggregate amount of their Allowed FLFO Claims.

           (d)       Impairment and Voting: Class 3 is Impaired, and the holders of FLFO Claims in
Class 3 are entitled to vote to accept or reject the Plan.

                  4.4.       FLSO Claims (Class 4).

           (a)      Classification: Class 4 consists of FLSO Claims.

          (b)     Allowance: The FLSO Claims are Allowed pursuant to section 506(a) of the
Bankruptcy Code in the aggregate amount of no less than $832,012,999. Holders of FLSO Claims
and the PTL Agent shall not be required to file proofs of Claim on account of their FLSO Claims.

             (c)     Treatment: Except to the extent that a holder of an Allowed FLSO Claim agrees
to a less favorable treatment of such Claim, each such holder shall receive, in full and final satisfaction
of such Claim and in accordance with Section 5.5 of the Plan, on the Effective Date, or as soon as
reasonably practicable thereafter, such holder’s Pro Rata Share of (i) one hundred percent (100%) of
the New Common Interests issued on the Effective Date, less any New Common Interests distributed
to holders of Class 5 Non-PTL Claims under the Plan and subject to dilution by the New Common
Interests distributed pursuant to the Management Incentive Plan, and (ii) the aggregate amount of New
Term Loans less amounts distributed on account of Class 3. Receipt of such consideration shall be
effected as described in the Restructuring Transactions Exhibit.

           (d)       Impairment and Voting: Class 4 is Impaired, and the holders of FLSO Claims in
Class 4 are entitled to vote to accept or reject the Plan.

                  4.5.       Non-PTL Claims (Class 5).

           (a)      Classification: Class 5 consists of Non-PTL Claims.

            (b)     Treatment: On the Effective Date, all Non-PTL Claims will be cancelled, released,
and extinguished and will be of no further force and effect. Each holder of such Allowed Non-PTL
Claims will receive, with a carve out from the collateral (or the value of such collateral) securing the
FLSO Claims, its Pro Rata Share of 1% of New Common Interests issued on the Effective Date,
subject to dilution by any New Common Interests distributed pursuant to the Management Incentive
Plan.

            (c)      Impairment and Voting: Class 5 is Impaired, and the holders of Non-PTL Claims
in Class 5 are entitled to vote to accept or reject the Plan.

                  4.6.       Ongoing General Unsecured Claims (Class 6A).

           (a)      Classification: Class 6A consists of Ongoing General Unsecured Claims.

          (b)    Treatment: Except to the extent that a holder of an Allowed Ongoing General
Unsecured Claim agrees to less favorable treatment, if a holder of an Allowed Ongoing General
Unsecured Claim executes a 6A Trade Agreement or a CV Trade Agreement (provided that such CV




                                                 24
  Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 30 of 72



Trade Agreement is in effect as of the Effective Date), each holder of an Allowed Ongoing General
Unsecured Claim shall receive, with a carve out from the collateral (or the value of such collateral)
securing the FLSO Claims, full payment in the Allowed amount of such Ongoing General Unsecured
Claim no later than the date that is 60 days from the later of the Effective Date and the execution of
the 6A Trade Agreement, notwithstanding any distribution schedule agreed to in a 6A Trade
Agreement or CV Trade Agreement. For the avoidance of doubt, any counterparty to an executory
contract or unexpired lease assumed pursuant to Article VIII of the Plan shall not be required to
execute a 6A Trade Agreement.

          (c)    Impairment and Voting. Class 6A is Impaired, and the holders of Ongoing General
Unsecured Claims are entitled to vote to accept or reject the Plan.

                  4.7.       Other General Unsecured Claims (Class 6B).

           (a)      Classification: Class 6B consists of Other General Unsecured Claims.

            (b)      Treatment: Except to the extent that a holder of an Allowed Other General
Unsecured Claim agrees to less favorable treatment, each holder of an Allowed Other General
Unsecured Claim shall receive, in full and final satisfaction of such Claim, with a carve out from the
collateral (or the value of such collateral) securing the FLSO Claims, its Pro Rata Share of the Class
6B Trust Interests, as set forth in the GUC Recovery Allocation Table.

          (c)     Impairment and Voting: Class 6B is Impaired, and the holders of Other General
Unsecured Claims in Class 6B are entitled to vote to accept or reject the Plan.

                  4.8.       Intercompany Claims (Class 7).

           (a)      Classification: Class 7 consists of Intercompany Claims.

           (b)     Treatment: Except as provided for in Section 5.2 of this Plan, on the Effective
Date, or as soon as practicable thereafter, all Intercompany Claims shall be adjusted, Reinstated, or
discharged (each without any distribution) to the extent reasonably determined to be appropriate by
the Debtors or Reorganized Debtors and the Requisite Consenting Creditors, as applicable.

            (c)      Impairment and Voting: Holders of Class 7 Claims are either (i) Unimpaired and
such holders are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code, or (ii) Impaired and such holders are conclusively deemed to have rejected the Plan
pursuant to section 1126(g) of the Bankruptcy Code. Therefore, holders of Intercompany Claims are
not entitled to vote to accept or reject the Plan, and the votes of such holders will not be solicited with
respect to such Intercompany Claims.

                  4.9.       Intercompany Interests (Class 8).

           (a)      Classification: Class 8 consists of Intercompany Interests.

            (b)      Treatment: Except as provided for in Section 5.2 of this Plan, on the Effective
Date, and without the need for any further corporate or limited liability company action or approval
of any board of directors, management, or shareholders of any Debtor or Reorganized Debtor, as
applicable, all Intercompany Interests shall be unaffected by the Plan and continue in place following
the Effective Date, solely for the administrative convenience of maintaining the existing corporate
structure of the Debtors.




                                                 25
     Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 31 of 72



               (c)     Impairment and Voting: Class 8 are either (i) Unimpaired and such holders are
   conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code
   or (ii) Impaired, and such holders are conclusively presumed to have rejected the Plan pursuant to
   section 1126(g) of the Bankruptcy Code. Therefore, holders of Intercompany Interests are not entitled
   to vote to accept or reject the Plan, and the votes of such holders will not be solicited with respect to
   such Intercompany Interests.

                     4.10.      Other Intercompany Interests (Class 9).

              (a)      Classification: Class 9 consists of Other Intercompany Interests.

              (b)     Treatment: On the Effective Date, Other Intercompany Interests shall receive the
   treatment afforded in the Restructuring Transactions Exhibit.

              (c)      Impairment and Voting: Other Intercompany Interests are Impaired. In
   accordance with section 1126(g) of the Bankruptcy Code, holders of Other Intercompany Interests are
   conclusively deemed to reject this Plan and are not entitled to vote to accept or reject this Plan, and
   the votes of such holders will not be solicited with respect to Other Intercompany Interests.

                     4.11.      Intermediate Equity Interests (Class 10).

              (a)      Classification: Class 10 consists of Intermediate Equity Interests.

              (b)     Treatment: On the Effective Date, Intermediate Equity Interests shall receive the
   treatment afforded in the Restructuring Transactions Exhibit.

               (c)      Impairment and Voting: Intermediate Equity Interests are Impaired, subject solely
   to the Restructuring Transactions Exhibit. In accordance with section 1126(g) of the Bankruptcy
   Code, holders of Intermediate Equity Interests are conclusively deemed to reject this Plan and are not
   entitled to vote to accept or reject this Plan, and the votes of such holders will not be solicited with
   respect to Intermediate Equity Interests.

ARTICLE V.          MEANS FOR IMPLEMENTATION.

                     5.1.       Compromise and Settlement of Claims, Interests, and Controversies.

                (a)    Pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule
   9019, and in consideration for the classification, distribution, releases, and other benefits provided
   under the Plan, upon the Effective Date, the provisions of the Plan, including the settlement of all
   Claims, Interests, and controversies among the Debtor and the Consenting Parties given in
   consideration of the value provided to the Estates by the Consenting Parties, the terms of which are
   set out in the Restructuring Support Agreement and incorporated by reference herein, shall constitute
   an integrated and global good faith compromise and settlement of all Claims, Interests, and
   controversies relating to the contractual, legal, and subordination rights that a creditor or an Interest
   holder may have with respect to any Allowed Claim or Allowed Interest or any distribution to be made
   on account of such Allowed Claim or Allowed Interest, including pursuant to the transactions set forth
   in the Restructuring Transactions Exhibit. Entry of the Confirmation Order shall constitute the
   Bankruptcy Court’s integrated and global approval of the compromise or settlement of all such
   Allowed Claims, Allowed Interests, and controversies, as well as a finding by the Bankruptcy Court
   that such compromise, settlement, and transactions are in the best interests of the Debtors, their Estates,
   and holders of Allowed Claims, Allowed Interests, and is fair, equitable, and is within the range of




                                                    26
  Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 32 of 72



reasonableness. Subject to the provisions of this Plan governing distributions, all distributions made
to holders of Allowed Claims and Allowed Interests in any Class are intended to be and shall be final.

            (b)      Creditors’ Committee Global Settlement. The treatment provided for hereunder to
Allowed Ongoing General Unsecured Claims and Allowed Other General Unsecured Claims under
the Plan, together with the other terms and conditions set forth in the Plan and the Confirmation Order,
incorporates and reflects a proposed integrated compromise and settlement by and among the Debtors,
the Creditors’ Committee, and the Requisite Consenting Creditors, pursuant to the Creditors’
Committee Global Settlement, including all disputes raised or asserted by the Creditors’ Committee
including, but not limited to those set forth in the letter dated April 4, 2023. The Creditors’ Committee
Global Settlement reflects a proposed compromise and settlement pursuant to Bankruptcy Rule 9019
and section 1123 of the Bankruptcy Code of the Ongoing General Unsecured Claims and Other
General Unsecured Claims. The following constitutes the integrated provisions and conditions of the
Creditors’ Committee Global Settlement:

                   (i)   Holders of Ongoing General Unsecured Claims and Other General
           Unsecured Claims shall receive the treatment set forth in Section 4.6(b) and 4.7(b),
           respectively.

                     (ii)    The Creditors’ Committee shall (a) withdraw any objection to any motion,
           application or filing of the Debtors or the PTL Group where such motion, application or
           filing is not inconsistent with Creditors’ Committee Global Settlement, (b) not make or file
           any objection contrary to or against the relief sought by the Debtors or the PTL Group in
           relation to the Plan where such relief is not inconsistent with the Creditors’ Committee
           Global Settlement, (c) support the Plan, and (d) withdraw all document production requests
           and deposition notices and limit all participation in any depositions to only observance.

                    (iii)   The Class 6B Trust shall have the authority to reconcile all Other General
           Unsecured Claims other than the Excluded Class 6B Claims, provided that, the Debtors,
           the Requisite Consenting Creditors, and the Creditors’ Committee shall, by the Effective
           Date or as soon as reasonably practicable thereafter, agree on a written protocol acceptable
           to each to address the reconciliation of the Excluded Class 6B Claims. The Debtors and
           the Reorganized Debtors, as applicable, shall retain exclusive authority to reconcile and
           settle the Excluded Class 6B Claims in accordance with the terms of this Plan, but, for the
           avoidance of doubt, all distributions under this Plan on account of Allowed Excluded Class
           6B Claims shall be made by the Class 6B Trust.

                    (iv)    In accordance with Section 8.7 of this Plan, the Debtors and their Estates
           shall only be liable on, and the Class 6B Trust shall only be responsible for distributions
           to, Allowed Insured Litigation Claims up to the amount of any applicable SIR, and the
           distributions provided for pursuant to Section 4.7 of the Plan on account of such SIR shall
           satisfy any requirement for such amounts to be paid under the applicable insurance policies
           and any amount of the Allowed Insured Litigation Claims in excess of an such self-insured
           retention or similar deductible shall be satisfied by the insurer pursuant to the applicable
           insurance policy.

                    (v)     Upon the Effective Date, the Debtors shall transfer, or cause to be
           transferred, the Class 6B Trust Assets to the Class 6B Trust.

                   (vi)    The Reorganized Debtors shall provide the Class 6B Trust reasonable
           consultation and access to the Debtors’ books and records, including access to insurance




                                                27
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 33 of 72



                policies related to the Insured Litigation Claims, to enable reconciliation of the Other
                General Unsecured Claims and the pursuit of Class 6B Causes of Action, as set forth in the
                Class 6B Trust Agreement.

                        (vii)    The Challenge Deadline, as defined in the DIP Order and as previously
                extended for the Creditors’ Committee, shall be further extended, solely for the Creditors’
                Committee, until the earlier of (a) confirmation of the Plan, and (b) the withdrawal of the
                Plan or the filing of an amended Plan that is inconsistent with the terms of the Creditors’
                Committee Global Settlement (the date upon which the earlier of (a) or (b)
                occurs, “Extended Challenge Deadline”). Prior to the Extended Challenge Deadline, the
                Creditors’ Committee shall not pursue a Challenge, as defined in the DIP Order; provided,
                however, if the Extended Challenge Deadline occurs before the Confirmation Date solely
                (x) pursuant to (b) above and (y) the Creditors’ Committee is not in breach of the terms of
                the Creditors’ Committee Global Settlement, the Creditors’ Committee Challenge
                Deadline shall be tolled for an additional two (2) business days, during which time the
                Creditors’ Committee may initiate a Challenge solely pursuant to, and consistent with,
                paragraph 43 of the DIP Order.

                        (viii) The Requisite Consenting Creditors shall waive any potential Other
                General Unsecured Claims solely to the extent such potential Other General Unsecured
                Claims would be Claims in Class 6B, including without limitation claims relating to the
                2020 Transaction or the PTL Credit Agreement, in all cases, solely as such Claims relate
                to Class 6B and not in any other capacity.

                         (ix)    The Creditors’ Committee agrees to become a Releasing Party.

                       5.2.      Intercreditor Agreements.

                Except as expressly provided in the Plan, all rights, entitlements, and distributions shall be
subject to the Intercreditor Agreements, the priorities and payment waterfalls of which shall be
incorporated, preserved, and enforced by the Plan, the Debtors, the Consenting Creditors, and, as applicable,
the Reorganized Debtors, pursuant to section 510 of the Bankruptcy Code.

                      5.3.     Continued Corporate Existence; Effectuating Documents; Corporate
              Action; Restructuring Transactions.

                 (a)    Except as otherwise provided in the Plan, the Debtors shall continue to exist after
     the Effective Date as Reorganized Debtors in accordance with the applicable laws of the respective
     jurisdictions in which they are incorporated or organized and pursuant to the New Corporate
     Governance Documents or other applicable corporate governance documents.

                 (b)      Notwithstanding anything herein to the contrary, on or about the Effective Date,
     or as soon as reasonably practicable thereafter, the Debtors or the Reorganized Debtors, as applicable,
     shall take all actions set forth in and contemplated by the Restructuring Transactions Exhibit, and enter
     into any transaction and may take all actions as may be necessary or appropriate to effectuate the
     transactions described in, approved by, contemplated by, or necessary or appropriate to effectuate the
     Plan, including the Restructuring Transactions.

                 (c)     Upon the Effective Date, subject to the Consenting Creditor Consent Rights, all
     actions contemplated by the Plan shall be deemed authorized and approved in all respects, including
     (i) the assumption of executory contracts and unexpired leases as provided herein, (ii) the selection of




                                                     28
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 34 of 72



     the managers, directors, or officers for the Reorganized Debtors, (iii) the distribution of the New
     Common Interests, (iv) the entry into or execution of the Exit ABL Facility Credit Agreement and the
     New Term Loan Credit Facility Agreement, in each case, including definitive documentation related
     thereto, (v) any necessary action with respect to the Management Incentive Plan in accordance with
     Section 5.12 hereof, and (vi) all other actions contemplated by the Plan (whether to occur before, on,
     or after the Effective Date), in each case in accordance with and subject to the terms hereof.

                  (d)     The Confirmation Order shall and shall be deemed to, pursuant to sections 363,
     1123, and 1142 of the Bankruptcy Code, authorize and direct parties, as applicable, among other
     things, all actions as may be necessary or appropriate to effect any transaction described in, approved
     by, contemplated by, or necessary to effectuate the Plan, including the Restructuring Transactions and
     implement the Creditors’ Committee Global Settlement.

                 (e)      Each officer, member of the board of directors, or manager of the Debtors is (and
     each officer, member of the board of directors, or manager of the Reorganized Debtors shall be)
     authorized and directed to issue, execute, deliver, file, or record such contracts, securities, instruments,
     releases, indentures, and other agreements or documents and take such actions as may be necessary or
     appropriate to effectuate, implement, and further evidence the terms and conditions of the Plan and
     the securities issued pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, all
     of which shall be authorized and approved in all respects, in each case, without the need for any
     approvals, authorization, consents, or any further action required under applicable law, regulation,
     order, or rule (including, without limitation, any action by the stockholders or directors or managers
     of the Debtors or the Reorganized Debtors) except for those expressly required pursuant to the Plan.

                (f)      All matters provided for in the Plan involving the corporate or limited liability
     company structure of the Debtors or the Reorganized Debtors, and any corporate or limited liability
     company action required by the Debtors or the Reorganized Debtors in connection with the Plan shall
     be deemed to have occurred and shall be in effect, without any requirement of further action by the
     security holders, directors, managers, or officers of the Debtors or the Reorganized Debtors or by any
     other stakeholder, and with like effect as though such action had been taken unanimously by the
     stockholders, directors, managers, or officers, as applicable, of the Debtors or Reorganized Debtors.

                       5.4.       Intercompany Interests; Corporate Reorganization.

                 To the extent Reinstated under the Plan, on the Effective Date, the Intercompany Interests
(a) shall be Reinstated for the ultimate benefit of the holders of Claims that receive New Common Interests
under the Plan, and shall receive no recovery or distribution, and (b) without the need for any further
corporate action or approval of any board of directors, board of managers, managers, management, or
stockholders of any Debtor or Reorganized Debtor, as applicable, the certificates and all other documents
representing the Intercompany Interests shall be deemed to be in full force and effect.

                       5.5.       New Term Loan.

                  (a)     On the Effective Date, in accordance with, and subject to, the terms and conditions
     of the New Term Loan Credit Facility Agreement, the Debtors will enter into the New Term Loan
     Credit Facility Agreement. All Liens and security interests granted pursuant to the New Term Loan
     Credit Facility Agreement shall be (i) valid, binding, perfected, and enforceable Liens and security
     interests in the personal and real property described in and subject to such document, with the priorities
     established in respect thereof under applicable non-bankruptcy law and as provided for in the New
     Intercreditor Agreement, and (ii) not subject to avoidance, recharacterization, or subordination under
     any applicable law, the Plan or the Confirmation Order.




                                                      29
  Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 35 of 72



           (b)      On or before (as applicable) the Effective Date, the Debtors shall be authorized to
execute, deliver, and enter into and perform under the New Term Loan Credit Facility Agreement
without further (a) notice to or order or other approval of the Bankruptcy Court, (b) act or omission
under applicable law, regulation, order, or rule, (c) vote, consent, authorization, or approval of any
Person, or (d) action by the holders of Claims or Interests. The New Term Loan Credit Facility
Agreement shall constitute legal, valid, binding and authorized joint and several obligations of the
applicable Reorganized Debtors, enforceable in accordance with its terms and such obligations shall
not be enjoined or subject to discharge, impairment, release, avoidance, recharacterization, or
subordination under applicable law, the Plan or the Confirmation Order. The New Term Loan Facility
Agreement (and other definitive documentation related thereto) are reasonable and are being entered
into in good faith.

            (c)     The Reorganized Debtors and the Persons granted Liens and security interests
under the New Term Loan are authorized to make all filings and recordings and to obtain all
governmental approvals and consents necessary to establish and perfect such Liens and security
interests under the provisions of the applicable state, provincial, federal, or other law (whether
domestic or foreign) that would be applicable in the absence of the Plan and the Confirmation Order
(it being understood that perfection shall occur automatically by virtue of the entry of the Confirmation
Order without the need for any filings or recordings) and will thereafter cooperate to make all other
filings and recordings that otherwise would be necessary under applicable law to give notice of such
Liens and security interests to third parties.

                  5.6.      Exit ABL Facility.

            (a)      On the Effective Date, the Reorganized Debtors shall be authorized to execute,
deliver, and enter into the Exit ABL Facility Agreement without further (a) notice to or order or other
approval of the Bankruptcy Court, (b) act or omission under applicable law, regulation, order, or rule,
(c) vote, consent, authorization, or approval of any Person, or (d) action by the holders of Claims or
Interests. The Exit ABL Facility Agreement shall constitute legal, valid, binding and authorized joint
and several obligations of the applicable Reorganized Debtors, enforceable in accordance with its
terms and such obligations shall not be enjoined or subject to discharge, impairment, release,
avoidance, recharacterization, or subordination under applicable law, the Plan or the Confirmation
Order. The financial accommodations to be extended pursuant to the Exit ABL Facility Agreement
(and other definitive documentation related thereto) are reasonable and are being extended, and shall
be deemed to have been extended, in good faith and for legitimate business purposes.

            (b)      On the Effective Date, subject in all respects to the terms of the Commitment
Letter, (a) all letters of credit issued under the DIP Credit Agreement, shall be either (i) cash
collateralized, or (ii) with the consent of the DIP Agent and DIP Lenders, deemed issued under the
Exit ABL Facility Agreement in accordance with the terms and conditions of the Exit ABL Facility
Agreement, and (b) all Liens and security interests granted pursuant to the Exit ABL Facility
Agreement shall be (i) valid, binding, perfected, and enforceable Liens and security interests in the
personal and real property described in and subject to such document, with the priorities established
in respect thereof under applicable non-bankruptcy law and as provided for in the New Intercreditor
Agreement and (ii) not subject to avoidance, recharacterization, or subordination under any applicable
law, the Plan, or the Confirmation Order.

           (c)     The Reorganized Debtors and the Persons granted Liens and security interests
under the Exit ABL Facility are authorized to make all filings and recordings and to obtain all
governmental approvals and consents necessary to establish and perfect such Liens and security
interests under the provisions of the applicable state, provincial, federal, or other law (whether




                                                 30
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 36 of 72



     domestic or foreign) that would be applicable in the absence of the Plan and the Confirmation Order
     (it being understood that perfection shall occur automatically by virtue of the entry of the Confirmation
     Order without the need for any filings or recordings) and will thereafter cooperate to make all other
     filings and recordings that otherwise would be necessary under applicable law to give notice of such
     Liens and security interests to third parties.

                       5.7.      New Intercreditor Agreement.

                On the Effective Date, the New Term Loan Agent and the Exit ABL Facility Agent shall
enter into the New Intercreditor Agreement. Each lender under the New Term Loan Credit Facility
Agreement and the Exit ABL Facility Credit Agreement shall be deemed to have directed the New Term
Loan Agent or the Exit ABL Facility Agent, as applicable, to execute the New Intercreditor Agreement and
shall be bound to the terms of the New Intercreditor Agreement from and after the Effective Date as if it
were a signatory thereto.

                       5.8.      Section 1145 Exemption.

                 (a)     The offer, issuance, and distribution of the New Common Interests hereunder shall
     be exempt, pursuant to section 1145 of the Bankruptcy Code, without further act or action by any
     Entity, from registration under (i) the Securities Act of 1933, as amended, and all rules and regulations
     promulgated thereunder and (ii) any state or local law requiring registration for the offer, issuance, or
     distribution of Securities.

                 (b)     The New Common Interests may be resold without registration under the
     Securities Act or other federal securities laws pursuant to the exemption provided by section 4(a)(1)
     of the Securities Act, subject to: (i) the provisions of section 1145(b)(1) of the Bankruptcy Code
     relating to the definition of an underwriter in section 2(a)(11) of the Securities Act of 1933; (ii)
     compliance with any rules and regulations of the Securities and Exchange Commission, if any,
     applicable at the time of any future transfer of such securities or instruments; and (iii) applicable
     regulatory approval.

                       5.9.      Cancellation of Existing Securities and Agreements.

                   Except for the purpose of evidencing a right to a distribution under the Plan and except as
otherwise set forth in the Plan, including with respect to executory contracts or unexpired leases that shall
be assumed by the Reorganized Debtors, on the Effective Date, all agreements, instruments, notes,
certificates, mortgages, security documents, and any other instruments or documents evidencing any Claim
or Interest (other than Intercompany Interests that are not modified by the Plan) and any rights of any holder
in respect thereof shall be deemed cancelled, discharged, and of no force or effect and the obligations of
the Debtors thereunder shall be deemed fully satisfied, released, and discharged. Notwithstanding such
cancellation and discharge, (a) the PTL Credit Agreement and Intercreditor Agreements shall continue in
effect solely (i) to the extent necessary to allow the holders of Allowed FLFO Claims and Allowed FLSO
Claims to receive distributions under the Plan, (ii) to the extent necessary to allow the Debtors, Reorganized
Debtors, and/or PTL Agent to make post-Effective Date distributions or take such other action pursuant to
the Plan on account of Allowed FLFO Claims and Allowed FLSO Claims and to otherwise exercise their
rights and discharge their obligations relating to the interests of the holders of such Claims, and (iii) to
appear in the Chapter 11 Cases; and (b) the Non-PTL Term Loan Agreement shall continue in effect (i) to
the extent necessary to allow the holders of Allowed Non-PTL Claims to receive distributions under the
Plan, (ii) to the extent necessary to allow the Debtors, Reorganized Debtors, and/or Non-PTL Agent to
make post-Effective Date distributions or take such other action pursuant to the Plan on account of Allowed
Non-PTL Claims and to otherwise exercise their rights and discharge their obligations relating to the




                                                     31
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 37 of 72



interests of the holders of such Claims, and (iii) to appear in the Chapter 11 Cases, provided, however, that
nothing in the foregoing shall affect the discharge of Claims pursuant to the Bankruptcy Code, the
Confirmation Order, or the Plan or result in any liability or expense to the Reorganized Debtors or the Class
6B Trust. Notwithstanding the foregoing, any provision in any document, instrument, lease, or other
agreement that causes or effectuates, or purports to cause or effectuate, a default, termination, waiver, or
other forfeiture of, or by, the Debtors or their interests, as a result of the cancellations, terminations,
satisfaction, releases, or discharges provided for in this section shall be deemed null and void and shall be
of no force and effect, and the Debtors shall be entitled to continue to use (in accordance with the remaining
provisions of such document, instrument, lease, or other agreement) any land, facilities, improvements, or
equipment financed with the proceeds of the PTL Credit Agreement and/or the Non-PTL Term Loan
Agreement, as applicable. Nothing contained herein shall be deemed to cancel, terminate, release, or
discharge the obligation of the Debtors or any of their counterparties under any executory contract or lease
to the extent such executory contract or lease has been assumed by the Debtors pursuant to a Final Order
of the Bankruptcy Court or hereunder.

                       5.10.     Cancellation of Liens.

                 (a)      Except as otherwise specifically provided herein, including pursuant to Section
     5.5(a) of the Plan, all notes, instruments, certificates evidencing debt of the Debtors and Intermediate
     Equity Interests will be cancelled and obligations of the Debtors thereunder will be discharged and of
     no further force or effect, except for the purpose of allowing the applicable agents and trustees to
     receive distributions from the Debtors under the Plan and to make any further distributions to the
     applicable holders on account of their Claims and Interests.

                 (b)      Upon the full payment or other satisfaction of an Allowed Other Secured Claim,
     or promptly thereafter, the holder of such Allowed Other Secured Claim shall deliver to the Debtors
     or the Reorganized Debtors, as applicable, any collateral or other property of a Debtor held by such
     holder, together with any termination statements, instruments of satisfaction, or releases of all security
     interests with respect to its Allowed Other Secured Claim that may be reasonably required to terminate
     any related financing statements, mortgages, mechanics’ or other statutory Liens, or lis pendens, or
     similar interests or documents.

                 (c)     After the Effective Date, the distributions to holders on account of Allowed FLFO
     Claims and Allowed FLSO Claims, and the payment of the Restructuring Fees and Expenses
     (including, without limitation, attorneys’ and financial advisors’ reasonable and documented fees and
     expenses), the Debtors or the Reorganized Debtors, at their expense, may, in their sole discretion, take
     any action necessary to terminate, cancel, extinguish, and/or evidence the release of any and all
     mortgages, deeds of trust, Liens, pledges, and other security interests with respect to the FLFO Claims
     and FLSO Claims, including, without limitation, the preparation and filing, in form, substance, and
     content acceptable to the Requisite Consenting Creditors, as applicable, of any and all documents
     necessary to terminate, satisfy, or release any mortgages, deeds of trust, Liens, pledges, and other
     security interests held by the PTL Agent and/or PTL Lenders, including, without limitation, UCC-3
     termination statements.

                       5.11.     Officers and Boards of Directors.

                 (a)    On or after the Effective Date, subject to the Consenting Creditor Consent Rights,
     the members of the New Board shall be appointed to serve pursuant to the terms of the applicable New
     Corporate Governance Documents. The current chief executive officer of Serta Simmons Bedding
     shall serve as a member of the New Board. The composition of each board of directors or managers
     of a Reorganized Debtor, as applicable, and, to the extent applicable, the officers of each Reorganized




                                                     32
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 38 of 72



     Debtor, shall be disclosed prior to the Confirmation Hearing in accordance with section 1129(a)(5) of
     the Bankruptcy Code.

                (b)     The selection of the initial members of the board of directors or managers of the
     Reorganized Debtors, as applicable, shall be provided for and subject to the New Corporate
     Governance Documents, subject to the express provisions of the Plan and the Consenting Creditor
     Consent Rights. The initial New Board will be comprised of (i) the current chief executive officer of
     Serta Simmons Bedding, and (ii) additional members the number and identity of whom will be
     selected by the Requisite Consenting Creditors in consultation with the Company.

                 (c)      The officers of the respective Debtors immediately before the Effective Date, as
     applicable, shall serve as the initial officers of each of the respective Reorganized Debtors on and after
     the Effective Date and in accordance with any employment agreement with the Reorganized Debtors
     and applicable non-bankruptcy law. After the Effective Date, the selection of officers of the
     Reorganized Debtors shall be as provided by their respective organizational documents.

                  (d)     Except to the extent that a member of the board of directors or a manager, as
     applicable, of a Debtor continues to serve as a director or manager of such Debtor on and after the
     Effective Date, the members of the board of directors or managers of each Debtor prior to the Effective
     Date, in their capacities as such, shall have no continuing obligations to the Reorganized Debtors on
     or after the Effective Date and each such director or manager will be deemed to have resigned or shall
     otherwise cease to be a director or manager of the applicable Debtor on the Effective Date.
     Commencing on the Effective Date, each of the directors and managers of each of the Reorganized
     Debtors shall be elected and serve pursuant to the terms of the applicable organizational documents of
     such Reorganized Debtor and may be replaced or removed in accordance with such organizational
     documents.

                       5.12.     Management Incentive Plan.

                 No later than 120 days following the Effective Date, the New Board, subject to its fiduciary
duties, shall adopt the Management Incentive Plan. The New Board shall determine allocations under the
Management Incentive Plan, up to, in the aggregate, 8% of the New Common Interests set aside pursuant
to the Management Incentive Plan, distributed on a fully diluted basis (including shares issuable under any
employee incentive plan).

                       5.13.     Authorization, Issuance, and Delivery of New Common Interests.

                  On the Effective Date, Reorganized Parent is authorized to issue or cause to be issued and
shall issue the New Common Interests for distribution in accordance with the terms of the Plan without the
need for any further board, stockholder or other corporate action. All of the New Common Interests issuable
under the Plan, when so issued, shall be duly authorized and validly issued. Reorganized Parent shall issue
or reserve for issuance a sufficient number of common equity issuances to effectuate all issuances of New
Common Interests contemplated by the Plan, including the Management Incentive Plan. Each holder of
New Common Interests shall be deemed, without further notice or action, to have agreed to be bound by
the New Corporate Governance Documents, as the same may be amended form time to time following the
Effective Date in accordance with their terms. The New Corporate Governance Documents shall be binding
on all Entities receiving New Common Interests (and their respective successors and assigns), whether
received pursuant to the Plan or otherwise and regardless of whether such Entity executes or delivers a
signature page to any New Corporate Governance Document.




                                                     33
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 39 of 72



                       5.14.      Pension Plans.

                From and after the Effective Date, the Pension Plans shall be Reinstated and continued in
accordance with their terms and, to the extent applicable, shall be deemed assumed by the applicable
Reorganized Debtors pursuant to section 365 of the Bankruptcy Code and Article VIII of the Plan. Entry
of the Confirmation Order will constitute the Bankruptcy Court’s approval of the Reorganized Debtors’
assumption of each of the Pension Plans. The obligations under the Pension Plans will continue in the same
manner and according to the same terms and practices applicable to the Debtors, as existed prior to the
Effective Date.

                       5.15.      Collective Bargaining Agreements.

                 The Collective Bargaining Agreements shall be deemed to be, and shall be treated as if
they were, executory contracts that are to be assumed under Article VIII of the Plan. Each of the Collective
Bargaining Agreements with the respective unions shall remain in full force and effect on and after the
Effective Date, subject to the respective terms thereof. Notwithstanding any other provisions of the Plan,
including the Cure amount listed in the Schedule of Assumed Contracts in relation to the Collective
Bargaining Agreements, Cure obligations, if any, related to the assumption of Collective Bargaining
Agreements shall be satisfied in full by payment, in the ordinary course, of all undisputed obligations arising
under the Collective Bargaining Agreements, including but not limited to grievances, grievance and other
settlements, and arbitration awards, unless otherwise agreed between the Debtors or the Reorganized
Debtors, as applicable, and the applicable counterparty to the Collective Bargaining Agreement. Any
Proofs of Claim or administrative claims filed or to be filed by any labor union, or any of its members, for
amounts due under a Collective Bargaining Agreement are deemed to be satisfied by the assumption of the
Collective Bargaining Agreements as set forth herein and shall be deemed administered, adjudicated, and
if applicable, paid under such Collective Bargaining Agreement. For the avoidance of doubt, the Debtors’
or the Reorganized Debtors’, as applicable, rights, defenses, claims and counterclaims with respect to any
such obligations are expressly preserved.

                       5.16.      Nonconsensual Confirmation.

                The Debtors intend to undertake to have the Bankruptcy Court confirm the Plan under
section 1129(b) of the Bankruptcy Code as to any Classes that reject or are deemed to reject the Plan.

                       5.17.      Closing of the Chapter 11 Cases.

                After an Estate has been fully administered, the Reorganized Debtors, in consultation with
the Class 6B Trust, shall promptly seek authority from the Bankruptcy Court to close the applicable Chapter
11 Case in accordance with the Bankruptcy Code and Bankruptcy Rules.

                       5.18.      Notice of Effective Date.

                As soon as practicable, but not later than three (3) Business Days following the Effective
Date, the Debtors shall file a notice of the occurrence of the Effective Date with the Bankruptcy Court.

                       5.19.      Separate Plans.

                  Notwithstanding the combination of separate plans of reorganization for the Debtors set
forth in the Plan for purposes of economy and efficiency, the Plan constitutes a separate chapter 11 plan for
each Debtor. Accordingly, if the Bankruptcy Court does not confirm the Plan with respect to one or more




                                                      34
      Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 40 of 72



Debtors, it may still confirm the Plan with respect to any other Debtor that satisfies the confirmation
requirements of section 1129 of the Bankruptcy Code.

                      5.20.      Class 6B Trust.

                (a)      Creation and Governance of the Class 6B Trust. On or before the Effective Date,
    the Debtors shall irrevocably transfer all of their rights, title, and interest in and to the Class 6B Trust
    Assets to the Class 6B Trust, which Class 6B Trust Assets, or interests in the Class 6B Trust Assets,
    shall vest or shall be deemed to vest in the Class 6B Trust as of the Effective Date, and the Debtors
    and the Class 6B Trustee shall execute the Class 6B Trust Agreement and shall take all steps necessary
    to establish the Class 6B Trust in accordance with the Plan and the beneficial interests therein. In the
    event of any conflict between the terms of the Plan and the terms of the Class 6B Trust Agreement,
    the terms of the Plan shall govern. The Class 6B Trust Assets shall automatically vest in the Class 6B
    Trust as provided herein, without further action by any Person, free and clear of all Claims and Liens,
    and such transfer shall be exempt from any stamp, real estate transfer, mortgage reporting, sales, use,
    or other similar tax. The Class 6B Trust, acting by and through the Class 6B Trustee, shall be the
    exclusive administrator of the Class 6B Trust Assets for purposes of 31 U.S.C. § 3713(b) and 26
    U.S.C. § 6012(b)(3), as well as a representative of the Estate of each of the Debtors appointed pursuant
    to section 1123(b)(3)(B) of the Bankruptcy Code, solely for purposes of carrying out the Class 6B
    Trustee’s duties under the Class 6B Trust Agreement. The Class 6B Trust shall be governed by the
    Class 6B Trust Agreement and administered by the Class 6B Trustee. The powers, rights, and
    responsibilities of the Class 6B Trust and the Class 6B Trustee shall be specified in the Class 6B Trust
    Agreement and shall include the authority and responsibility to, among other things, take the actions
    set forth in this Section 5.20. The Class 6B Trust shall hold and distribute the Class 6B Trust Assets
    to all holders of Allowed Other General Unsecured Claims in accordance with the provisions of the
    Plan and the Class 6B Trust Agreement. Other rights and duties of the Class 6B Trust and the Class
    6B Trustee shall be as set forth in the Class 6B Trust Agreement. After the Effective Date, the Debtors
    and the Reorganized Debtors shall have no interest in the Class 6B Trust Assets except as set forth in
    the Class 6B Trust Agreement.

                  (b)     Class 6B Trust Agreement. The Class 6B Trust Agreement, substantially in the
    form included in the Plan Supplement, will provide for, among other things: (i) the transfer of the
    Class 6B Trust Assets to the Class 6B Trust; (ii) the payment of Class 6B Trust Expenses;
    (iii) litigation of any Class 6B Trust Causes of Action, which may include the prosecution, settlement,
    abandonment or dismissal of any such Causes of Action; (iv) distributions to holders of Allowed Other
    General Unsecured Claims as provided herein and in the Class 6B Trust Agreement; (v) maintaining
    and administering a disputed claims reserve, if applicable; and (vi) the Class 6B Trust’s reasonable
    access to the Debtors’ books and records, including access to insurance policies related to the Insured
    Litigation Claims, and reasonable access to current employees or professionals of the Debtors or
    Reorganized Debtors, as applicable, with knowledge regarding the Class 6B Causes of Action or Other
    General Unsecured Claims. The Class 6B Trust Agreement will also include reasonable and
    customary provisions that allow for the limitation of liability and indemnification of the Class 6B
    Trustee and the Class 6B Indemnified Parties by the Class 6B Trust. Any such indemnification shall
    be the sole responsibility of the Class 6B Trust and payable solely from the Class 6B Trust Assets.
    The Class 6B Trustee shall be responsible for all decisions and duties with respect to the Class 6B
    Trust and the Class 6B Trust Assets, except as otherwise provided in the Class 6B Trust Agreement.

              (c)     Identification of Class 6A Ongoing General Unsecured Claims and Class 6B Other
    General Unsecured Claims. The Debtors and/or Reorganized Debtors, as applicable, the Requisite
    Consenting Creditors, and the Creditors’ Committee shall work cooperatively to create a list of all
    Scheduled and filed Unsecured Claims which list shall identify whether the Debtors consider such




                                                     35
  Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 41 of 72



claims to constitute Ongoing General Unsecured Claims or Other General Unsecured Claims. The
Debtors or the Reorganized Debtors, as applicable, shall provide the Creditors’ Committee or Class
6B Trust, as applicable, updates to such list as reasonable, but in no event later than 180 days following
the Effective Date.

            (d)     Preservation of Privilege. The Debtors and the Class 6B Trust shall enter into a
common interest agreement whereby the Debtors and Reorganized Debtors will be able to share
documents, information or communications (whether written or oral) reasonably relating to the Class
6B Trust Assets. The Class 6B Trust shall seek to preserve and protect all applicable privileges
attaching to any such documents, information, or communications. The Class 6B Trust’s receipt of
such documents, information or communications shall not constitute a waiver of any privilege. All
privileges shall remain in the control of the Debtors or the Reorganized Debtors, as applicable, and
the Debtors or the Reorganized Debtors, as applicable, retain the sole right to waive their own
privileges.

            (e)      Class 6B Trust Causes of Action. The Class 6B Trust shall have the exclusive right
in respect of all Class 6B Trust Causes of Action to institute, file, prosecute, enforce, settle,
compromise, release, abandon, or withdraw any and all Class 6B Trust Causes of Action without any
further order of the Bankruptcy Court or consent of any other party, except as otherwise provided
herein or in the Class 6B Trust Agreement. From and after the Effective Date, the Class 6B Trustee,
in accordance with section 1123(b)(3) of the Bankruptcy Code, and on behalf of the Class 6B Trust,
shall serve as a representative of the Estates, solely for purposes of carrying out the Class 6B Trustee’s
duties under the Class 6B Trust Agreement. All costs and expenses of investigating, pursuing,
prosecuting and/or compromising Class 6B Trust Causes of Action shall be satisfied from the proceeds
of the Class 6B Trust Causes of Action before any proceeds remaining after the satisfaction of such
costs and expenses are paid to Class 6B Trust Beneficiaries as provided in this Plan. To the extent of
any costs or expenses advanced by the Class 6B Trust or Class 6B Trustee prior to receipt of any
proceeds of Class 6B Trust Causes of Action, the Cash Class 6B Trust Assets shall be replenished as
and when proceeds of Class 6B Trust Causes of Action are received. For the avoidance of doubt, the
Class 6B Trustee may expend such portion of the Class 6B Trust Assets as the Class 6B Trustee deems
necessary to investigate, pursue, prosecute and/or compromise Class 6B Trust Causes of Action.

           (f)     Class 6B Trust Fees and Expenses. From and after the Effective Date, the Class
6B Trustee, on behalf of the Class 6B Trust, shall, in the ordinary course of business and without the
necessity of any approval by the Bankruptcy Court, pay the Class 6B Trust Expenses from the Class
6B Trust Assets, except as otherwise provided in the Class 6B Trust Agreement. The Reorganized
Debtors, or any of their Affiliates (or anyone acting on their behalf) shall not be responsible for any
Class 6B Trust Expenses.

            (g)      Tax Treatment. In furtherance of this Section 5.20 of the Plan, (i) the Class 6B
Trust shall be structured to qualify as a “liquidating trust” within the meaning of Treasury Regulation
section 301.7701-4(d) and in compliance with Rev. Proc. 94-45, 1994-2 C.B. 684, and, thus, as a
“grantor trust” within the meaning of sections 671 through 679 of the Tax Code to the holders of Other
General Unsecured Claims, consistent with the terms of the Plan, and accordingly, all assets held by
the Class 6B Trust are intended to be treated for U.S. federal income tax purposes as distributed by
the Debtors or the Reorganized Debtors, as applicable, to the holders of Allowed Other General
Unsecured Claims (other than any portion allocable to a “disputed ownership fund” or other separate
entity as described below), and then contributed by such holders to the Class 6B Trust in exchange for
their applicable Class 6B Trust Interests; (ii) the sole purpose of the Class 6B Trust shall be the
liquidation and distribution of the Class 6B Trust Assets in accordance with Treasury Regulation
section 301.7701-4(d), including the resolution of Other General Unsecured Claims in accordance




                                                 36
  Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 42 of 72



with this Plan, with no objective to continue or engage in the conduct of a trade or business; (iii) all
parties (including the Debtors, holders of Other General Unsecured Claims, and the Class 6B Trustee)
shall report consistently with such treatment (including the deemed receipt of the underlying assets,
subject to applicable liabilities and obligations, by the holders of Other General Unsecured Claims, as
applicable, followed by the deemed contribution of such assets to the Class 6B Trust); (iv) all parties
shall report consistently with the valuation of the Class 6B Trust Assets transferred to the Class 6B
Trust as determined by the Class 6B Trustee (or its designee); (v) the Class 6B Trustee shall be
responsible for filing returns for the Class 6B Trust as a grantor trust pursuant to Treasury Regulation
section 1.671-4(a); and (vi) the Class 6B Trustee shall annually send to each holder of an interest in
the Class 6B Trust a separate statement regarding the receipts and expenditures of the trust as relevant
for U.S. federal income tax purposes. Subject to definitive guidance from the IRS or a court of
competent jurisdiction to the contrary (including the receipt by the Class 6B Trustee of a private letter
ruling if the Class 6B Trustee so requests one, or the receipt of an adverse determination by the IRS
upon audit if not contested by the Class 6B Trustee), the Class 6B Trustee may (x) determine, in the
Class 6B Trustee’s sole discretion, the best way to report for tax purposes with respect to any Disputed
Other General Unsecured Claims, including filing a tax election to treat any assets allocable to
Disputed Other General Unsecured Claims as a “disputed ownership fund” governed by Treasury
Regulation section 1.468B-9 (and make any appropriate elections) or electing to report as a separate
trust or sub-trust or other entity, (y) file such tax returns (including but not limited to the filing of a
separate federal tax return for the “disputed ownership fund” or other separate entity) and pay such
taxes as may be required consistent with such treatment and (z) to the extent permitted by applicable
law, report consistently with the foregoing for state and local income tax purposes. If a “disputed
ownership fund” election is made, all parties (including the Debtors, holders of Other General
Unsecured Claims, and the Class 6B Trustee) shall report for United States federal, state, and local
income tax purposes consistently with the foregoing. Any taxes (including with respect to earned
interest, if any) imposed on the Class 6B Trust as a result of this treatment (including as a result of any
deemed transfer of the assets out of a disputed ownership fund or other separate entity upon resolution
of any Claim) shall be paid by the Class 6B Trustee out of Class 6B Trust Assets (and reductions shall
be made to amounts disbursed from the trust to account for the need to pay such taxes or any other
costs or expenses). For the avoidance of doubt, the Class 6B Trustee shall be permitted to sell any
assets of a disputed ownership fund or other separate entity to the extent necessary to satisfy such tax
liability (including any tax liability arising in connection with such sale). The Class 6B Trustee may
request an expedited determination of taxes of the Class 6B Trust, including any disputed ownership
fund or other separate entity, under section 505(b) of the Bankruptcy Code for all tax returns filed for,
or on behalf of, the Class 6B Trust for all taxable periods through the dissolution of the Class 6B Trust.

            (h)      Non-Transferability of Class 6B Trust Interests. The Class 6B Trust Interests, and
any right to receive a distribution from the Class 6B Trust, shall not be evidenced by any certificate,
security, receipt, or any other form or manner whatsoever, except as maintained on the books and
records of the Class 6B Trust by the Class 6B Trustee. Any and all Class 6B Trust Interests shall be
non-transferable other than if transferred by will, intestate succession, or otherwise by operation of
law. In addition, any and all Class 6B Trust Interests will not constitute “securities” and will not be
registered pursuant to the Securities Act or any applicable state or local securities law. However, if it
should be determined that any such interests constitute “securities,” the exemption provisions of
Section 1145 of the Bankruptcy Code will be satisfied and the offer, issuance, and distribution under
the Plan of the Class 6B Trust Interests will be exempt from registration under the Securities Act, all
rules and regulations promulgated thereunder, and all applicable state and local securities laws and
regulations.

            (i)     Dissolution of the Class 6B Trust. The Class 6B Trustee and the Class 6B Trust
shall be discharged or dissolved, as the case may be, at such time as (i) the Class 6B Trustee determines



                                                 37
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 43 of 72



     that the pursuit of additional Class 6B Trust Causes of Action is not likely to yield sufficient additional
     proceeds to justify further pursuit of such claims and (ii) all distributions required to be made by the
     Class 6B Trustee under the Plan have been made; provided that in no event shall the Class 6B Trust
     be dissolved later than five (5) years from the Effective Date unless the Bankruptcy Court, upon
     motion made within the six (6) month period before such fifth anniversary (and, in the event of further
     extension, by order of the Bankruptcy Court, upon motion made within six (6) months before the end
     of the preceding extension), determines that a fixed period extension (not to exceed three (3) years,
     together with any prior extensions, without a favorable letter ruling from the Internal Revenue Service
     or an opinion of counsel satisfactory to the Class 6B Trustee that any further extension would not
     adversely affect the status of the Class 6B Trust as a liquidating trust for U.S. federal income tax
     purposes) is necessary to facilitate or complete the recovery on, liquidation and distribution of, the
     Class 6B Trust Assets. Upon dissolution of the Class 6B Trust any remaining Class 6B Trust Assets
     shall be distributed to holders of Allowed Other General Unsecured Claims in accordance with the
     Plan and the Class 6B Trust Agreement, as appropriate, or, in the event all Allowed Other General
     Unsecured Claims and obligations of the Class 6B Trust are paid in full, the Class 6B Trustee shall
     have the right to cause the Class 6B Trust to abandon or otherwise dispose of such property, including,
     but not limited to, by way of donation to a non-profit 501(c)(3) organization that the Class 6B Trustee
     may select in its discretion.

                (j)      Single Satisfaction of Allowed Other General Unsecured Claims. Notwithstanding
     anything to the contrary herein, in no event shall holders of Allowed Other General Unsecured Claims
     recover more than the full amount of their Allowed Other General Unsecured Claims from the Class
     6B Trust.

ARTICLE VI.          DISTRIBUTIONS.

                       6.1.       Distributions Generally.

                The Disbursing Agents shall make all applicable distributions under the Plan to the
appropriate holders of Allowed Claims in accordance with the terms of the Plan.

                       6.2.       Distributions Subject to Intercreditor Agreements.

                 Except as expressly provided in Section 4.5 of this Plan, distributions under the Plan to
holders of FLFO Claims, FLSO Claims, and Non-PTL Claims shall be made subject to and in accordance
with the Intercreditor Agreements.

                       6.3.       Distribution Record Date.

                 As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Interests as maintained by the Debtors or their respective agents, shall
be deemed closed, and there shall be no further changes in the record holders of any of the Claims or
Interests. The Debtors, the Reorganized Debtors or the Class 6B Trust shall have no obligation to recognize
any transfer of the Claims or Interests occurring on or after the Distribution Record Date. In addition, with
respect to payment of any Cure amounts or disputes over any Cure amounts, neither the Debtors, Class 6B
Trust nor the applicable Disbursing Agent shall have any obligation to recognize or deal with any party
other than the non-Debtor party to the applicable executory contract or unexpired lease as of the Distribution
Record Date, even if such non-Debtor party has sold, assigned, or otherwise transferred its Claim for a Cure
amount.




                                                      38
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 44 of 72



                       6.4.       Date of Distributions.

                 Except as otherwise provided in this Plan (including payments made in the ordinary course
of the Debtors’ business) or as paid pursuant to a prior Bankruptcy Court order, on the Effective Date or, if
a Claim or Interest is not Allowed on the Effective Date, on the date that such Claim or Interest becomes
Allowed, or, in each case, as soon as reasonably practicable thereafter, or as otherwise determined in
accordance with the Plan and Confirmation Order, including, without limitation, the treatment provisions
of Article IV of the Plan, each holder of an Allowed Claim shall receive the full amount of the distributions
that the Plan provides for Allowed Claims in the applicable class provided in the Plan.

                       6.5.       Disbursing Agent.

                  All distributions under the Plan shall be made by the applicable Reorganized Debtor, the
Class 6B Trust, or applicable Disbursing Agent, on or after the Effective Date or as otherwise provided
herein. A Disbursing Agent shall not be required to give any bond or surety or other security for the
performance of its duties, and all reasonable fees and expenses incurred by such Disbursing Agent directly
related to distributions hereunder shall be reimbursed by the Reorganized Debtors or the Class 6B Trust, as
applicable.

                       6.6.       Rights and Powers of Disbursing Agent.

                 (a)     From and after the Effective Date, each Disbursing Agent, solely in its capacity as
     Disbursing Agent, shall be exculpated by all Entities, including, without limitation, holders of Claims
     against and Interests in the Debtors and other parties in interest, from any and all Claims, Causes of
     Action, and other assertions of liability arising out of the discharge of the powers and duties conferred
     upon such Disbursing Agent by the Plan or any order of the Bankruptcy Court entered pursuant to or
     in furtherance of the Plan, or applicable law, except for actions or omissions to act arising out of the
     gross negligence or willful misconduct, fraud, malpractice, criminal conduct, or ultra vires acts of
     such Disbursing Agent. No holder of a Claim or Interest or other party in interest shall have or pursue
     any Claim or Cause of Action vested in a Disbursing Agent by order of the Bankruptcy Court, pursuant
     to the Plan, or as deemed by such Disbursing Agent to be necessary and proper to implement the
     provisions hereof.

                 (b)      Powers of Disbursing Agent. Each Disbursing Agent shall be empowered to:
     (i) effect all actions and execute all agreements, instruments, and other documents necessary to
     perform its duties under the Plan; (ii) make all applicable distributions or payments provided for under
     the Plan; (iii) employ professionals to represent it with respect to its responsibilities; and (iv) exercise
     such other powers (A) as may be vested in such Disbursing Agent by order of the Bankruptcy Court
     (including any Final Order issued after the Effective Date) or pursuant to the Plan or (B) as deemed
     by such Disbursing Agent to be necessary and proper to implement the provisions of the Plan.

                (c)       Expenses Incurred on or After the Effective Date. Except as otherwise ordered by
     the Bankruptcy Court and subject to the written agreement of the Reorganized Debtors or the Class
     6B Trust, as applicable, the amount of any reasonable fees and expenses incurred by a Disbursing
     Agent on or after the Effective Date (including taxes) and any reasonable compensation and expense
     reimbursement Claims (including for reasonable attorneys’ and other professional fees and expenses)
     made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtors or the Class 6B Trust
     as applicable, in the ordinary course of business.




                                                      39
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 45 of 72



                       6.7.       Expenses of Disbursing Agent.

                Except as otherwise ordered by the Bankruptcy Court, any reasonable and documented fees
and expenses incurred by a Disbursing Agent acting in such capacity (including reasonable and documented
attorneys’ fees and expenses) on or after the Effective Date shall be paid in Cash by the Reorganized
Debtors or the Class 6B Trust, as applicable, in the ordinary course of business.

                       6.8.       No Postpetition Interest on Claims.

                Except as otherwise specifically provided for in the Plan (including, without limitation,
with respect to FLFO Claims), the Confirmation Order, or another order of the Bankruptcy Court, or
required by applicable bankruptcy law, postpetition interest shall not accrue or be paid on any Claims, and
no holder of a Claim shall be entitled to interest accruing on such Claim on or after the Petition Date.

                       6.9.       Delivery of Distributions.

                Subject to Bankruptcy Rule 9010, all distributions to any holder of an Allowed Claim shall
be made to a Disbursing Agent, who shall transmit such distribution to the applicable holders of Allowed
Claims. In the event that any distribution to any holder is returned as undeliverable, no further distributions
shall be made to such holder unless and until such Disbursing Agent is notified in writing of such holder’s
then-current address, at which time all currently-due, missed distributions shall be made to such holder as
soon as reasonably practicable thereafter without interest. Nothing herein shall require any Disbursing
Agent to attempt to locate holders of undeliverable distributions and, if located, assist such holders in
complying with Section 6.20 of the Plan.

                       6.10.      Distributions after Effective Date.

               Distributions made after the Effective Date to holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be deemed to have
been made on the Effective Date.

                       6.11.      Unclaimed Property.

                 (a)      One year from the Effective Date, all distributions payable on account of such
     Claim, other than Other General Unsecured Claims, shall be deemed unclaimed property under section
     347(b) of the Bankruptcy Code and shall revert to the Reorganized Debtors or their successors or
     assigns, and all claims of any other person (including the holder of a Claim in the same Class) to such
     distribution shall be discharged and forever barred. The Reorganized Debtors and the Disbursing
     Agent shall have no obligation to attempt to locate any holder of an Allowed Claim other than by
     reviewing the Debtors’ books and records and the Bankruptcy Court’s filings.

                (b)     Ninety (90) days after the date of first issuance of any distribution to a holder of
     an Allowed Other General Unsecured Claim, such distribution shall be deemed unclaimed property
     under section 347(b) of the Bankruptcy Code and shall revert to the Class 6B Trust, and all claims of
     such holder of such Allowed Other General Unsecured Claim to such distribution shall be discharged
     and forever barred. The Class 6B Trust and any Disbursing Agent shall have no obligation to attempt
     to locate any holder of an Allowed Other General Unsecured Claim other than by reviewing the
     Debtors’ books and records and the Bankruptcy Court’s filings.




                                                      40
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 46 of 72



                      6.12.      Time Bar to Cash Payments.

                 Checks issued by a Disbursing Agent in respect of Allowed Claims shall be null and void
if not negotiated within ninety (90) days after the date of first issuance thereof. Thereafter, the amount
represented by such voided check shall irrevocably revert to the Reorganized Debtors or the Class 6B Trust
as applicable, and any Claim in respect of such voided check shall be discharged and forever barred,
notwithstanding any federal or state escheat laws to the contrary. Requests for re-issuance of any check
shall be made to the applicable Disbursing Agent by the holder of the Allowed Claim to whom such check
was originally issued, prior to the expiration of the ninety (90) day period.

                      6.13.      Manner of Payment under Plan.

               Except as otherwise specifically provided in the Plan (i) at the option of the Debtors or the
Reorganized Debtors, as applicable, any Cash payment to be made hereunder by the Debtors or Reorganized
Debtors may be made by a check or wire transfer or as otherwise required or provided in applicable
agreements or customary practices of the Debtors, and (ii) at the option of the Class 6B Trust, any Cash
payment to be made hereunder by the Class 6B Trust, may be made by a check or wire transfer.

                      6.14.      Satisfaction of Claims.

                Except as otherwise specifically provided in the Plan, any distributions and deliveries to
be made on account of Allowed Claims under the Plan shall be in complete and final satisfaction, settlement,
and discharge of and exchange for such Allowed Claims.

                      6.15.      Fractional Stock.

                  No fractional New Common Interests shall be distributed. If any distributions of New
Common Interests pursuant to the Plan would result in the issuance of a fractional share of New Common
Interests, then the number of shares of New Common Interests to be issued in respect of such distribution
will be calculated to one decimal place and rounded up or down to the closest whole share (with a half share
or greater rounded up and less than a half share rounded down). The total number of shares of New
Common Interests to be distributed in connection with the Plan shall be adjusted as necessary to account
for the rounding provided for in this Section 6.15. No consideration shall be provided in lieu of fractional
shares that are rounded down. Neither the Reorganized Debtors nor the Disbursing Agent shall have any
obligation to make a distribution that is less than one (1) share of New Common Interests.

                      6.16.      Minimum Cash Distributions.

                A Disbursing Agent shall not be required to make any distribution of Cash less than one
hundred dollars ($100) to any holder of an Allowed Claim; provided, however, that if any distribution is
not made pursuant to this Section 6.16, such distribution shall be added to any subsequent distribution to
be made on behalf of the holder’s Allowed Claim.

                      6.17.      Setoffs.

                 The Debtors, the Reorganized Debtors and the Class 6B Trust, as applicable, may, but shall
not be required to, set off or recoup against any Claim, and any distribution to be made on account of such
Claim, any and all claims, rights, and Causes of Action of any nature whatsoever that the Debtors, the
Reorganized Debtors or Class 6B Trust may have against the holder of such Claim pursuant to the Plan, the
Bankruptcy Code or applicable nonbankruptcy law; provided, however, that neither the failure to do so nor
the allowance of any Claim hereunder shall constitute a waiver or release by a Debtor, a Reorganized




                                                     41
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 47 of 72



Debtor, or the Class 6B Trust, or its successor of any claims, rights, or Causes of Action that a Debtor,
Reorganized Debtor or Class 6B Trust, or its successor or assign may possess against the holder of such
Claim.

                       6.18.     Allocation of Distributions between Principal and Interest.

                  Except as otherwise required by law (as reasonably determined by the Reorganized Debtors
or Class 6B Trust, as applicable), distributions with respect to an Allowed Claim shall be allocated first to
the principal portion of such Allowed Claim (as determined for United States federal income tax purposes)
and, thereafter, to the remaining portion of such Allowed Claim, if any.

                       6.19.     No Distribution in Excess of Amount of Allowed Claim.

                Notwithstanding anything in the Plan to the contrary, no holder of an Allowed Claim shall
receive, on account of such Allowed Claim, distributions in excess of the Allowed amount of such Claim.

                       6.20.     Withholding and Reporting Requirements.

                  (a)     Withholding Rights. In connection with the Plan, any party issuing any instrument
     or making any distribution described in the Plan or payment in connection therewith shall comply with
     all applicable withholding and reporting requirements imposed by any federal, state, or local taxing
     authority, and all distributions pursuant to the Plan and all related agreements shall be subject to any
     such withholding or reporting requirements. In the case of a non-Cash issuance or distribution that is
     subject to withholding, the distributing party may withhold an appropriate portion of such distributed
     property and either (i) sell such withheld property to generate Cash necessary to pay over the
     withholding tax (or reimburse the distributing party for any advance payment of the withholding tax),
     or (ii) pay the withholding tax using its own funds and retain such withheld property. Any amounts
     withheld pursuant to the preceding sentence shall be deemed to have been distributed to and received
     by the applicable recipient for all purposes of the Plan. Notwithstanding the foregoing, each holder of
     an Allowed Claim or any other Entity that receives a distribution pursuant to the Plan shall have
     responsibility for any taxes imposed by any governmental unit, including, without limitation, income,
     withholding, and other taxes, on account of such distribution. Any party issuing any instrument or
     making any distribution pursuant to the Plan has the right, but not the obligation, to not make a
     distribution until such holder has made arrangements satisfactory to such issuing or disbursing party
     for payment of any such tax obligations.

                 (b)      Forms. Any party entitled to receive any property as an issuance or distribution
     under the Plan shall, upon request, deliver to the applicable Disbursing Agent or such other Entity
     designated by the Reorganized Debtors (which Entity shall subsequently deliver to the applicable
     Disbursing Agent any applicable Internal Revenue Service (“IRS”) Form W-8 or Form W-9 received)
     or the Class 6B Trust, as applicable, an appropriate IRS Form W-9 or (if the payee is a foreign Entity)
     an appropriate IRS Form W-8 and any other forms or documents reasonably requested by any
     Reorganized Debtor or the Class 6B Trust, as applicable, to reduce or eliminate any withholding
     required by any federal, state, or local taxing authority. If such request is made by the Reorganized
     Debtors, the Disbursing Agent, the Class 6B Trust or such other Entity designated by the Reorganized
     Debtors, the Class 6B Trust or a Disbursing Agent and such party fails to comply before the date that
     is 180 days after the request is made, the amount of such distribution shall irrevocably revert to the
     applicable Reorganized Debtor or the Class 6B Trust, as applicable, and any Claim in respect of such
     distribution shall be discharged and forever barred from assertion against such Reorganized Debtor or
     the Class 6B Trust, as applicable, or their respective property.




                                                     42
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 48 of 72



ARTICLE VII.        PROCEDURES FOR DISPUTED CLAIMS.

                       7.1.      Disputed Claims Generally.

                 Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases
before the Effective Date (including the Confirmation Order), no Claim shall become an Allowed Claim
unless and until such Claim is deemed Allowed pursuant to the Plan or Final Order, including the
Confirmation Order (when it becomes a Final Order) Allowing such Claim. Except insofar as a Claim is
Allowed under the Plan or was Allowed prior to the Effective Date, the Debtors, Reorganized Debtors, or
Class 6B Trust, as applicable, shall have and retain any and all rights and defenses such Debtor has with
respect to any Disputed Claim, including the Causes of Action retained or transferred pursuant to Section
10.8. Any objections to Claims shall be served and filed on or before the later of: (a) the Claim Objection
Deadline; and (b) such later date as may be fixed by the Bankruptcy Court. All Disputed Claims not
objected to by the end of such period shall be deemed Allowed unless such period is extended upon approval
of the Bankruptcy Court.

                       7.2.      Objections to Claims.

                  Except insofar as a Claim is Allowed under the Plan, the Debtors, Reorganized Debtors, or
Class 6B Trust, as applicable, shall be entitled to object to Claims. Except as otherwise expressly provided
in the Plan and notwithstanding any requirements that may be imposed pursuant to Bankruptcy Rule 9019,
after the Effective Date, the Reorganized Debtors or Class 6B Trust, as applicable shall have the authority
(a) to file, withdraw, or litigate to judgment objections to Claims; (b) to settle or compromise any Disputed
Claim without any further notice to or action, order, or approval by the Bankruptcy Court; and (c) to
administer and adjust the Debtors’ claims register to reflect any such settlements or compromises without
any further notice to or action, order, or approval by the Bankruptcy Court. In the event any Excluded Class
6B Claims has not been fully reconciled within one-hundred and eighty (180) days of the Effective Date,
the Class 6B Trust shall have the right to (i) seek an extension of the Claim Objection Deadline with respect
to such Excluded Class 6B Claim; and (ii) either object pursuant to Section 7.2 of the Plan, or seek
estimation of pursuant to Section 7.3 of the Plan, such unresolved Excluded Class 6B Claims.

                       7.3.      Estimation of Claims.

                 The Debtors, Reorganized Debtors, or Class 6B Trust, as applicable, may at any time
request that the Bankruptcy Court estimate any contingent, unliquidated, or Disputed Claim pursuant to
section 502(c) of the Bankruptcy Code regardless of whether the Debtors previously objected to such Claim
or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court will retain
jurisdiction to estimate any Claim at any time during litigation concerning any objection to any Claim,
including, without limitation, during the pendency of any appeal relating to any such objection. In the event
that the Bankruptcy Court estimates any contingent, unliquidated or Disputed Claim, the amount so
estimated shall constitute either the Allowed amount of such Claim or a maximum limitation on such Claim,
as determined by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the
amount of such Claim, the Debtors, Reorganized Debtors, or Class 6B Trust, as applicable, may pursue
supplementary proceedings to object to the allowance of such Claim. Notwithstanding section 502(j) of
the Bankruptcy Code, in no event shall any holder of a Claim that has been estimated pursuant to section
502(c) of the Bankruptcy Code or otherwise be entitled to seek reconsideration of such estimation unless
such holder has filed a motion requesting the right to seek such reconsideration on or before twenty-one
(21) days after the date on which such Claim is estimated.




                                                     43
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 49 of 72



                       7.4.       Adjustment to Claims Register Without Objection.

                 Any duplicate Claim or Interest or any Claim or Interest that has been paid or satisfied, or
any Claim that has been amended or superseded, may be adjusted or expunged on the claims register by the
Debtors, Reorganized Debtors, or Class 6B Trust, as applicable, upon stipulation between the parties in
interest without a Claims objection having to be filed and without any further notice or action, order, or
approval of the Bankruptcy Court.

                       7.5.       Disallowance of Claims.

                Any Claims held by Entities from which property is recoverable under sections 542, 543,
550, or 553 of the Bankruptcy Code or that is a transferee of a transfer avoidable under sections 522(f),
522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, shall be deemed Disallowed pursuant
to section 502(d) of the Bankruptcy Code, and holders of such Claims may not receive any distributions on
account of such Claims until such time as such Causes of Action against that Entity have been settled or a
Bankruptcy Court order with respect thereto has been entered and all sums due, if any, to the Debtors by
that Entity have been turned over or paid to the Debtors, Reorganized Debtors, or Class 6B Trust, as
applicable.

                       7.6.       No Distributions Pending Allowance.

                  If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or
distribution provided under the Plan shall be made on account of such Claim unless and until (and only to
the extent that) such Claim becomes an Allowed Claim.

                       7.7.       Distributions after Allowance.

                  To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions
(if any) shall be made to the holder of such Allowed Claim in accordance with the provisions of the Plan,
including the treatment provisions provided in Article IV of the Plan.

                       7.8.       Claim Resolution Procedures Cumulative.

                All of the Claims, objection, estimation, and resolution procedures in the Plan are intended
to be cumulative and not exclusive of one another. Claims may be estimated and subsequently settled,
compromised, withdrawn, or resolved in accordance with the Plan without further notice or Bankruptcy
Court approval.

ARTICLE VIII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

                       8.1.       General Treatment.

                 As of and subject to the occurrence of the Effective Date and the payment of any applicable
Cure amount, and subject to Section 8.6 of the Plan, consistent with the Restructuring Support Agreement
and subject to the Consenting Creditor Consent Rights and any other applicable consent rights set forth in
the Restructuring Support Agreement, all executory contracts and unexpired leases to which any of the
Debtors are parties, and which have not expired by their own terms on or prior to the Confirmation Date
shall be deemed assumed except for any executory contract or unexpired lease that (a) with the reasonable
consent of the Requisite Consenting Creditors, previously has been assumed, assumed or assigned, or
rejected pursuant to a Final Order of the Bankruptcy Court, (b) with the reasonable consent of the Requisite
Consenting Creditors, is the subject of a separate (i) assumption motion filed by the Debtors, or (ii) rejection




                                                      44
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 50 of 72



motion filed by the Debtors under section 365 of the Bankruptcy Code before the Confirmation Date,
(c) with the reasonable consent of the Requisite Consenting Creditors, is specifically designated as a
contract or lease to be rejected on the Schedule of Rejected Contracts, or (d) is the subject of a pending
Cure Dispute. Subject to the occurrence of the Effective Date, entry of the Confirmation Order by the
Bankruptcy Court shall constitute approval of the assumptions or rejections provided for in the Plan
pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Each executory contract and unexpired lease
assumed or assumed and assigned pursuant to the Plan shall vest in and be fully enforceable by the
applicable Reorganized Debtor or assignee in accordance with its terms, except as modified by the provision
of the Plan, any order of the Bankruptcy Court authorizing and providing for its assumption or assumption
and assignment, or applicable law.

                 To the maximum extent permitted by law, to the extent any provision in any executory
contract or unexpired lease assumed pursuant to the Plan restricts or prevents, or purports to restrict or
prevent, or is breached or deemed breached by, the assumption of such executory contract or unexpired
lease (including any “change of control” provision), then such provision shall be deemed modified such
that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate
such executory contract or unexpired lease or to exercise any other default-related rights with respect
thereto.

                       8.2.       Determination of Cure Disputes and Deemed Consent.

                 (a)    Subject to the Consenting Creditor Consent Rights, the Debtors shall file, as part
     of the Plan Supplement, the Schedule of Rejected Contracts and the Schedule of Assumed Contracts.

                (b)      The Debtors shall serve an initial Cure Notice on parties to executory contracts and
     unexpired leases to be assumed or assumed and assigned no later than April 14, 2023. If a counterparty
     to any executory contract or unexpired lease that the Debtors or Reorganized Debtors, as applicable,
     intend to assume or assume and assign is not listed on such a notice, the proposed Cure amount for
     such executory contract or unexpired lease shall be deemed to be Zero Dollars ($0).

                 (c)     If there is a Cure Dispute pertaining to assumption or assumption and assignment
     of an executory contract or unexpired lease, such dispute shall be heard by the Bankruptcy Court prior
     to such assumption or assumption and assignment, as applicable, being effective, provided, however,
     on the Effective Date or as soon as reasonably practicable thereafter, or on such other terms as the
     parties to such executory contract or unexpired lease may otherwise agree, the Debtors or the
     Reorganized Debtors, as applicable (with the reasonable consent of the Requisite Consenting
     Creditors), may settle any dispute regarding the Cure amount or the nature thereof without any further
     notice to any party or any action, order, or approval of the Bankruptcy Court.

                 (d)       Any counterparty to an executory contract or unexpired lease that fails to object
     timely to the notice of the proposed assumption or assumption and assignment, as applicable, of such
     executory contract or unexpired lease or the relevant Cure amount within fifteen (15) days of the
     service of the applicable Cure Notice, (i) shall be deemed to have assented to (A) such Cure amount
     and the nature thereof, (B) assumption or assumption and assignment, as applicable, of the applicable
     executory contract or unexpired lease notwithstanding any provision thereof that purports to
     (1) prohibit, restrict, or condition the transfer or assignment of such contract or lease, or (2) terminate
     or permit the termination of a contract or lease as a result of any direct or indirect transfer or assignment
     of the rights of the Debtors under such contract or lease or a change, if any, in the ownership or control
     to the extent contemplated by the Plan, and shall forever be barred and enjoined from asserting such
     objection against the Debtors or terminating or modifying such contract or lease on account of
     transactions contemplated by the Plan, and (ii) shall be forever barred, estopped, and enjoined from




                                                       45
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 51 of 72



     challenging the validity of such assumption or assumption and assignment, as applicable, or the
     Allowed amount of such Cure amount thereafter.

                         8.3.      Payments Related to Assumption or Assignment of Contracts and
               Leases.

                  Subject to resolution of any Cure Dispute, all Cure amounts shall be satisfied promptly, or
otherwise as soon as practicable, by the Debtors or Reorganized Debtors, as the case may be, upon
assumption or assumption and assignment, as applicable, of the underlying contracts and unexpired leases.
Assumption or assumption and assignment, as applicable, of any executory contract or unexpired lease
pursuant to the Plan, or otherwise, shall result in the full release and satisfaction of any Claims or defaults,
subject to satisfaction of the Cure amount, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other bankruptcy-related
defaults, arising under any assumed executory contract or unexpired lease at any time before the effective
date of the assumption or assumption and assignment, as applicable. Any Proofs of Claim filed with respect
to an executory contract or unexpired lease that has been assumed shall be deemed disallowed and
expunged, without further notice to or action, order or approval of the Bankruptcy Court or any other Entity,
upon the deemed assumption of such contract or unexpired lease.

                         8.4.      Rejection Claims.

                   In the event that the rejection of an executory contract or unexpired lease by any of the
Debtors results in damages to the other party or parties to such contract or lease, a Claim for such damages
shall be forever barred and shall not be enforceable against the Debtors or the Reorganized Debtors or their
respective properties or interests in property as agents, successors, or assigns, unless a Proof of Claim is
filed with the Bankruptcy Court and served upon counsel for the Debtors and the Reorganized Debtors no
later than thirty (30) days after the later of (i) the Effective Date or (ii) the effective date of rejection of such
executory contract or unexpired lease. Any such Claims, to the extent Allowed, shall be classified in Class
6B (Other General Unsecured Claims).

                         8.5.      Survival of the Debtors’ Indemnification Obligations.

                 (a)      Notwithstanding anything in the Plan (including Section 10.3 of the Plan), any
     Indemnification Obligation to indemnify current officers, directors, members, managers, agents, or
     employees with respect to all present and future actions, suits, and proceedings against the Debtors or
     such officers, directors, members, managers, agents, or employees based upon any act or omission for
     or on behalf of the Debtors shall (a) remain in full force and effect, (b) not be discharged, impaired, or
     otherwise affected in any way, including by the Plan, the Plan Supplement, or the Confirmation Order,
     (c) not be limited, reduced or terminated after the Effective Date, and (d) survive unimpaired and
     unaffected irrespective of whether such Indemnification Obligation is owed for an act or event
     occurring before, on or after the Petition Date, provided, that the Reorganized Debtors shall not
     indemnify officers, directors, members, or managers, as applicable, of the Debtors for any claims or
     Causes of Action that are not indemnified by such Indemnification Obligation. All such obligations
     shall be deemed and treated as executory contracts to be assumed by the Debtors under the Plan and
     shall continue as obligations of the Reorganized Debtors. Any claim based on the Debtors’ obligations
     under the Plan shall not be a Disputed Claim or subject to any objection, in either case, by reason of
     section 502(e)(1)(B) of the Bankruptcy Code. Any obligation to indemnify former officers, directors,
     members, managers, agents, or employees with respect to all present and future actions, suits, and
     proceedings against the Debtors or such officers, directors, members, managers, agents, or employees
     based upon any act or omission for or on behalf of the Debtors shall be discharged and all such




                                                         46
  Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 52 of 72



obligations shall be deemed and treated as executory contracts to be rejected by the Debtors under the
Plan.

           (b)      Following the Effective Date, holders of FLFO Claims in Class 3 and holders of
FLSO Claims in Class 4 as of the Effective Date shall be indemnified by the Reorganized Debtors
with respect to all present and future actions, suits, and proceedings against such holders of FLFO
Claims in Class 3 and holders of FLSO Claims in Class 4 or their respective Related Parties in
connection with or related to the Adversary Proceeding, the Prepetition Adversary Actions, and/or any
other claims, proceedings, actions, or causes of action in connection with or related to the PTL Credit
Agreement, the Exchange Agreement, the Intercreditor Agreements, and/or the 2020 Transaction on
the same terms and limitations as afforded under the PTL Credit Agreement and New Term Loan
Credit Facility.

                  8.6.      Employee Arrangements.

           (a)      Notwithstanding anything to the contrary herein, on the Effective Date, Employee
Arrangements in effect as of the Petition Date shall be deemed to be, and shall be treated as if they
were, executory contracts that are to be assumed under the Plan; provided that if an Employee
Arrangement (other than key employee retention agreements) provides in part for a payment,
premium, or other award upon the occurrence of a change of control, change in control, or other similar
event, then such Employee Arrangement shall only be assumed to the extent that the restructuring,
including consummation of the Plan, shall not be treated as a change of control, change in control, or
other similar event under such Employee Arrangement.

            (b)     Any Interest (or right to obtain or receive any Interest) granted to a current or
former employee, officer, director or contractor under an Employee Arrangement or otherwise, shall
be deemed cancelled on the Effective Date. For the avoidance of doubt, if an Employee Arrangement
provides in part for an award or potential award of Interests or consideration based on the value of
Interests that have not vested as of the Petition Date, such Employee Arrangement shall be assumed
in all respects other than the provisions of such agreement relating to Interest awards. For the
avoidance of doubt, any provision that guarantees or provides for an employee’s right to participate in
the Management Incentive Plan of the Reorganized Debtors shall not be cancelled.

            (c)      As of the Effective Date, the Debtors and the Reorganized Debtors shall continue
to honor their obligations under all applicable Workers’ Compensation Programs and in accordance
with all applicable workers’ compensation Laws in states in which the Reorganized Debtors operate.
Any Claims arising under Workers’ Compensation Programs shall be deemed withdrawn once
satisfied without any further notice to or action, order, or approval of the Bankruptcy Court; provided
that nothing in this Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized Debtors’
defenses, Causes of Action, or other rights under applicable Law, including non-bankruptcy Law, with
respect to any such Workers’ Compensation Programs; provided, further, that nothing herein shall be
deemed to impose any obligations on the Debtors in addition to what is provided for under applicable
state Law.

                  8.7.      Insurance Policies/Claims Payable By Third Parties.

            (a)      All insurance policies to which any Debtor is a party as of the Effective Date,
including any D&O Policy, shall be deemed to be and treated as executory contracts and shall be
assumed by the applicable Debtors or the Reorganized Debtors and shall continue in full force and
effect thereafter in accordance with their respective terms, and all such insurance policies shall vest in




                                                 47
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 53 of 72



     the Reorganized Debtors. Coverage for defense and indemnity under the D&O Policy shall remain
     available to all individuals within the definition of “Insured” in any D&O Policy.

                 (b)      In addition, after the Effective Date, all officers, directors, agents, or employees
     who served in such capacity at any time before the Effective Date shall be entitled to the full benefits
     of any D&O Policy (including any “tail” policy) for the full term of such policy regardless of whether
     such officers, directors, agents, and/or employees remain in such positions after the Effective Date, in
     each case, to the extent set forth in such policies.

                 (c)       In addition, after the Effective Date, the Reorganized Debtors shall not terminate
     or otherwise reduce the coverage under any D&O Policy (including any “tail policy”) in effect as of
     the Petition Date, and any current and former directors, officers, members, managers, agents or
     employees of any of the Debtors who served in such capacity at any time prior to the Effective Date
     shall be entitled to the full benefits of any such D&O Policy for the full term of such policy regardless
     of whether such members, managers, directors, and/or officers remain in such positions after the
     Effective Date to the extent set forth in such policies.

                 (d)      No distributions under the Plan shall be made on account of an Allowed Claim that
     is payable pursuant to one of the Debtors’ insurance policies until the Holder of such Allowed Claim
     has exhausted all remedies with respect to such insurance policy. To the extent that one or more of
     the Debtors’ insurers agrees to satisfy in full or in part a Claim (if and to the extent adjudicated by a
     court of competent jurisdiction), then immediately upon such insurers’ agreement, the applicable
     portion of such Claim may be expunged without a Claim objection having to be filed and without any
     further notice to or action, order, or approval of the Bankruptcy Court. If an applicable insurance
     policy has a SIR, the Holder of an Insured Litigation Claim shall have an Allowed Other General
     Unsecured Claim against the applicable Debtor’s Estate solely up to the amount of the SIR that may
     be established upon the liquidation of the Insured Litigation Claim, and such Holder’s recovery from
     the Class 6B Trust shall be solely in the form of its distribution on account of such Allowed Other
     General Unsecured Claim in Class 6B under the Plan. Such SIR shall be considered satisfied pursuant
     to the Plan through allowance of the Other General Unsecured Claim solely in the amount of the
     applicable SIR, if any; provided, however that nothing herein obligates the Debtors, the Reorganized
     Debtors, or the Class 6B Trust to otherwise satisfy any SIR under any insurance policy. Any recovery
     on account of the Insured Litigation Claim in excess of the SIR established upon the liquidation of the
     Claim shall be recovered solely from the Debtors’ insurance coverage, if any, and only to the extent
     of available insurance coverage and any proceeds thereof. Nothing in this Plan shall be construed to
     limit, extinguish, or diminish the insurance coverage that may exist or shall be construed as a finding
     that liquidated any Claim payable pursuant to an insurance policy. Nothing herein relieves any Entity
     from the requirement to timely file a Proof of Claim by the applicable claims bar date.

                       8.8.       Intellectual Property Licenses and Agreements.

                  All intellectual property contracts, licenses, royalties, or other similar agreements to which
the Debtors have any rights or obligations in effect as of the date of the Confirmation Order shall be deemed
and treated as executory contracts pursuant to the Plan and shall be assumed by the respective Debtors and
Reorganized Debtors and shall continue in full force and effect unless any such intellectual property
contract, license, royalty, or other similar agreement otherwise is specifically rejected pursuant to a separate
order of the Bankruptcy Court or is the subject of a separate rejection motion filed by the Debtors (with the
reasonable consent of the Requisite Consenting Creditors) in accordance with the Plan. Unless otherwise
noted hereunder, all other intellectual property contracts, licenses, royalties, or other similar agreements
shall vest in the Reorganized Debtors and the Reorganized Debtors may take all actions as may be necessary
or appropriate to ensure such vesting as contemplated herein.




                                                      48
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 54 of 72



                       8.9.      Assignment.

                  To the extent provided under the Bankruptcy Code or other applicable law, any executory
contract or unexpired lease transferred and assigned hereunder shall remain in full force and effect for the
benefit of the transferee or assignee in accordance with its terms, notwithstanding any provision in such
executory contract or unexpired lease (including, without limitation, those of the type set forth in section
365(b)(2) of the Bankruptcy Code) that prohibits, restricts, or conditions such transfer or assignment. To
the extent provided under the Bankruptcy Code or other applicable law, any provision that prohibits,
restricts, or conditions the assignment or transfer of any such executory contract or unexpired lease or that
terminates or modifies such executory contract or unexpired lease or allows the counterparty to such
executory contract or unexpired lease to terminate, modify, recapture, impose any penalty, condition
renewal or extension, or modify any term or condition upon any such transfer and assignment, constitutes
an unenforceable anti-assignment provision and is void and of no force or effect.

                    8.10.        Modifications, Amendments, Supplements, Restatements, or Other
              Agreements.

                Unless otherwise provided herein or by separate order of the Bankruptcy Court, each
executory contract and unexpired lease that is assumed shall include any and all modifications,
amendments, supplements, restatements, or other agreements made directly or indirectly by any agreement,
instrument, or other document that in any manner affects such executory contract or unexpired lease,
without regard to whether such agreement, instrument, or other document is listed in the notice of assumed
contracts.

                       8.11.     Reservation of Rights.

                 (a)      Neither the exclusion nor inclusion of any contract or lease by the Debtors on any
     exhibit, schedule, or other annex to the Plan or in the Plan Supplement, nor anything contained in the
     Plan, will constitute an admission by the Debtors that any such contract or lease is or is not in fact an
     executory contract or unexpired lease or that the Debtors or the Reorganized Debtors or their
     respective Affiliates has any liability thereunder.

                 (b)      Except as otherwise provided in the Plan, nothing in the Plan will waive, excuse,
     limit, diminish, or otherwise alter any of the defenses, Claims, Causes of Action, Class 6B Causes of
     Action, or other rights of the Debtors and the Reorganized Debtors and the Class 6B Trust under any
     executory or non-executory contract or any unexpired or expired lease.

                (c)       Nothing in the Plan will increase, augment, or add to any of the duties, obligations,
     responsibilities, or liabilities of the Debtors or the Reorganized Debtors under any executory or non-
     executory contract or any unexpired or expired lease.

                 (d)     If there is a Cure Dispute or a dispute regarding whether a contract or lease is or
     was executory or unexpired at the time of assumption or rejection under the Plan, the Debtors or
     Reorganized Debtors, as applicable, shall have sixty (60) days following entry of a Final Order
     resolving such Cure Dispute to alter their treatment of such contract or lease by filing a notice
     indicating such altered treatment.




                                                      49
     Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 55 of 72



ARTICLE IX.  CONDITIONS PRECEDENT TO CONFIRMATION OF PLAN AND
EFFECTIVE DATE.

                     9.1.      Conditions Precedent to the Effective Date.

              The following are conditions precedent to the Effective Date of the Plan:

              (a)      each document or agreement constituting the applicable Definitive Documents
   shall have been executed and/or effectuated and remain in full force and effect, shall be in form and
   substance acceptable or reasonably acceptable (as applicable, as set forth in the Restructuring Support
   Agreement) to the Debtors and the Requisite Consenting Creditors and consistent with the
   Restructuring Support Agreement, and any conditions precedent related thereto or contained therein
   shall have been satisfied prior to or contemporaneously with the occurrence of the Effective Date or
   otherwise waived;

              (b)      the Class 6B Trust Agreement shall have been executed in substantially the form
   submitted as part of the Plan Supplement;

              (c)     all conditions precedent to the effectiveness of the Exit ABL Facility Credit
   Agreement shall have been satisfied or waived in accordance with the terms thereof, and the Exit ABL
   Facility Credit Agreement shall be in full force and effect and binding on all parties thereto;

            (d)      all conditions precedent to the effectiveness of the New Term Loan Credit Facility
   Agreement shall have been satisfied or waived in accordance with the terms thereof, and the New
   Term Loan Credit Facility Agreement shall be in full force and effect and binding on all parties thereto;

              (e)      the New Common Interests shall have been issued by the Reorganized Parent;

              (f)    the Bankruptcy Court shall have entered an order granting the relief sought by the
   Debtors in the Adversary Proceeding;

              (g)      the Professional Fee Escrow shall have been established and funded in Cash;

               (h)    the Bankruptcy Court shall have entered the Confirmation Order in form and
   substance acceptable to the Requisite Consenting Creditors, and such order shall not have been
   reversed, stayed, amended, modified, dismissed, vacated or reconsidered;

               (i)     no court of competent jurisdiction (including the Bankruptcy Court) or other
   competent governmental or regulatory authority shall have issued a final and non-appealable order
   making illegal or otherwise restricting, limiting, preventing, prohibiting, or materially affecting the
   consummation of any of the Restructuring Transactions, including, without limitation, any order,
   judgment, ruling, finding or other determination denying, dismissing, or otherwise adverse to the relief
   sought in the Adversary Proceeding or adverse to the defendants in the Prepetition Adversary Actions;

              (j)     the Restructuring Support Agreement shall be in full force and effect, no
   termination event or event that would give rise to a termination event under the Restructuring Support
   Agreement upon the expiration of the applicable grace period shall have occurred, and the
   Restructuring Support Agreement shall not have been validly terminated prior to the Effective Date;

              (k)      the Restructuring Fees and Expenses shall have been paid in full;




                                                   50
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 56 of 72



                 (l)      the Debtors shall have implemented the Restructuring Transactions in a manner
     consistent in all respects with the Plan and the Restructuring Support Agreement;

                 (m)     all governmental and third-party approvals and consents necessary, if any, in
     connection with the transactions contemplated by the Plan shall have been obtained, not be subject to
     unfulfilled conditions, and be in full force and effect, and all applicable waiting periods shall have
     expired without any action being taken or threatened by any competent authority that would restrain,
     prevent, or otherwise impose materially adverse conditions on such transactions; and

                (n)      the Bankruptcy Court shall have approved the Creditors’ Committee Global
     Settlement.

                       9.2.      Timing of Conditions Precedent.

                Notwithstanding when a condition precedent to the Effective Date occurs, unless otherwise
specified in the Plan or any Plan Supplement document, for the purposes of the Plan, such condition
precedent shall be deemed to have occurred simultaneously upon the completion of the applicable
conditions precedent to the Effective Date; provided that to the extent a condition precedent
(the “Prerequisite Condition”) may be required to occur prior to another condition precedent
(a “Subsequent Condition”) then, for purposes of the Plan, the Prerequisite Condition shall be deemed to
have occurred immediately prior to the applicable Subsequent Condition regardless of when such
Prerequisite Condition or Subsequent Condition shall have occurred.

                       9.3.      Waiver of Conditions Precedent.

                (a)      Except as otherwise provided herein, all actions required to be taken on the
     Effective Date shall take place and shall be deemed to have occurred simultaneously and no such
     action shall be deemed to have occurred prior to the taking of any other such action. Each of the
     conditions precedent of the Plan may be waived in writing by the Debtors with the prior written
     consent of (i) the Requisite Consenting Creditors, (ii) solely with respect to the condition set forth in
     Sections 9.1(b) and 9.1(n), the Creditors’ Committee, and (iii) solely with respect to the condition set
     forth in Section 9.1(c), the DIP Agent. If the Plan is confirmed for fewer than all of the Debtors as
     provided for in Section 5.19 of the Plan, only the conditions applicable to the Debtor or Debtors for
     which the Plan is confirmed must be satisfied or waived for the Effective Date to occur.

                 (b)    The stay of the Confirmation Order pursuant to Bankruptcy Rule 3020(e) shall be
     deemed waived by and upon the entry of the Confirmation Order, and the Confirmation Order shall
     take effect immediately upon its entry.

                       9.4.      Effect of Failure of a Condition.

                 If the conditions listed in Section 9.1 of the Plan are not satisfied or waived in accordance
with Section 9.2 of the Plan on or before the first Business Day that is more than sixty (60) days after the
date on which the Confirmation Order is entered or by such later date as set forth by the Debtors in a notice
filed with the Bankruptcy Court prior to the expiration of such period, the Plan shall be null and void in all
respects and nothing contained in the Plan or the Disclosure Statement shall (a) constitute a waiver or
release of any Claims by or against or any Interests in the Debtors, (b) prejudice in any manner the rights
of any Entity, or (c) constitute an admission, acknowledgement, offer, or undertaking by the Debtors, any
of the Consenting Creditors, the PTL Agent, or any other Entity.




                                                     51
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 57 of 72



ARTICLE X.           EFFECT OF CONFIRMATION OF PLAN.

                       10.1.      Vesting of Assets in the Reorganized Debtors.

                 Except as otherwise provided herein, including, without limitation with regards to the Class
6B Trust Assets, which shall not vest in the Reorganized Debtors, or in any agreement, instrument, or other
documents incorporated into the Plan (including with respect to the transactions contemplated by the
Restructuring Transactions Exhibit), on the Effective Date, pursuant to section 1141(b) and (c) of the
Bankruptcy Code, all property in each Debtor’s Estate, all Causes of Action, and any property acquired by
any of the Debtors under the Plan shall vest in each respective Reorganized Debtor, free and clear of all
Liens, Claims, charges, or other encumbrances unless expressly provided otherwise by the Plan or
Confirmation Order. In addition, all rights, benefits, and protections provided to any of the Creditors’
Committee, Debtors or their Estates pursuant to the Plan, the Plan Supplement, or the Confirmation Order
including, but not limited to, the release, exculpation, and injunction provisions provided in Article X of
the Plan, shall vest in each respective Reorganized Debtor unless expressly provided otherwise by the Plan
or the Confirmation Order. On and after the Effective Date, except as otherwise provided herein, each
Reorganized Debtor may operate its business and may use, acquire, or dispose of property and pursue,
compromise or settle any Claims, Interests, Causes of Action (except for Class 6B Causes of Action)
without supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy
Code or Bankruptcy Rules. Without limiting the foregoing, the Reorganized Debtors may pay the charges
that they incur on or after the Effective Date for professional fees, disbursements, expenses, or related
support services without application to the Bankruptcy Court.

                       10.2.      Binding Effect.

                  As of the Effective Date, the Plan shall bind all holders of Claims against and Interests in
the Debtors and their respective successors and assigns, notwithstanding whether any such holders were
(a) Impaired or Unimpaired under the Plan, (b) deemed to accept or reject the Plan, (c) failed to vote to
accept or reject the Plan, or (d) voted to reject the Plan.

                       10.3.      Discharge of Claims and Termination of Interests.

                  Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in the Definitive Documents, the Plan or in a contract, instrument, or other agreement or document
executed pursuant to the Plan, the distributions, rights, and treatment that are provided in the Plan shall be
in complete satisfaction, discharge, and release, effective as of the Effective Date, of Claims, Interests, and
Causes of Action of any nature whatsoever, including any interest accrued on Claims or Interests from and
after the Petition Date, whether known or unknown, against, liabilities of, Liens on, obligations of, rights
against, and interests in, the Debtors or any of their assets or properties, regardless of whether any property
shall have been distributed or retained pursuant to the Plan on account of such Claims and Interests,
including demands, liabilities, and Causes of Action that arose before the Effective Date, any contingent or
non-contingent liability on account of representations or warranties issued on or before the Effective Date,
and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each
case whether or not (i) a Proof of Claim based upon such debt or right is filed or deemed filed pursuant to
section 501 of the Bankruptcy Code; (ii) a Claim or Interest based upon such debt, right, or Interest is
Allowed pursuant to section 502 of the Bankruptcy Code; or (iii) the holder of such a Claim or Interest has
voted to accept the Plan. Any default or “event of default” by the Debtors with respect to any Claim or
Interest that existed immediately before or on account of the filing of the Chapter 11 Cases shall be deemed
cured (and no longer continuing) as of the Effective Date with respect to a Claim that is Unimpaired by the
Plan. The Confirmation Order shall be a judicial determination of the discharge of all Claims and Interests
subject to the Effective Date occurring.




                                                      52
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 58 of 72



                       10.4.     Term of Injunctions or Stays.

                  Unless otherwise provided herein or in a Final Order of the Bankruptcy Court, all
injunctions or stays arising under or entered during the Chapter 11 Cases under section 105 or 362 of the
Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain in full force and
effect until the later of the Effective Date and the date indicated in the order providing for such injunction
or stay. For the avoidance of doubt, the Trading Order shall remain enforceable beyond the Effective Date.
The Trading Order has no applicability or effect with respect to the trading of New Common Interests.

                       10.5.     Injunction.

                  Except as otherwise expressly provided in the Plan or for distributions required to be
paid or delivered pursuant to the Plan or the Confirmation Order, all Entities that have held, hold,
or may hold Claims or Interests that have been released pursuant to Section 10.6(a) or Section
10.6(b), shall be discharged pursuant to Section 10.3 of the Plan, or are subject to exculpation
pursuant to Section 10.7, and all other parties in interest are permanently enjoined, from and after
the Effective Date, from taking any of the following actions against, as applicable, the Debtors, the
Released Parties, and/or the Exculpated Parties (to the extent of the exculpation provided pursuant
to Section 10.7 with respect to the Exculpated Parties): (i) commencing or continuing in any manner
any action or other proceeding of any kind on account of or in connection with or with respect to any
such Claims or Interests; (ii) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order against such Entities on account of or in connection with or
with respect to any such Claims or Interests; (iii) creating, perfecting, or enforcing any Lien or
encumbrance of any kind against such Entities or the property or the estates of such Entities on
account of or in connection with or with respect to any such Claims or Interests; (iv) asserting any
right of setoff, subrogation, or recoupment of any kind against any obligation due from such Entities
or against the property of such Entities on account of or in connection with or with respect to any
such Claims or Interests unless (x) such Entity has timely asserted such setoff right either in a filed
Proof of Claim, or in another document filed with the Bankruptcy Court explicitly preserving such
setoff or that otherwise indicates that such entity asserts, has, or intends to preserve any right of
setoff pursuant to applicable law or otherwise or (y) such right to setoff arises under a postpetition
agreement with the Debtors or (i) an executory contract or (ii) an unexpired lease, in the case of (i)
and (ii), that has been assumed by the Debtors as of the Effective Date; and (v) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection
with or with respect to any such Claims or Interests released, settled, and/or treated, entitled to a
distribution, or cancelled pursuant to the Plan; provided that such persons who have held, hold, or
may hold Claims against, or Interests in, a Debtor, a Reorganized Debtor, or an Estate shall not be
precluded from exercising their rights and remedies, or obtaining the benefits, solely pursuant to and
consistent with the terms of the Plan.

                Subject in all respects to Section 11.1, no entity or person may commence or pursue
a Claim or Cause of Action of any kind against any Released Party or Exculpated Party that arose
or arises from, in whole or in part, the Chapter 11 Cases, the Debtors, the governance, management,
transactions, ownership, or operation of the Debtors, the purchase, sale or rescission of any security
of the Debtors or the Reorganized Debtors, the DIP Facility, the Restructuring Support Agreement,
the Definitive Documents, the Non-PTL Term Loan Agreement, the PTL Credit Agreement, the
Intercreditor Agreements, the Exchange Agreement, the 2020 Transaction, and any and all related
agreements, instruments, and/or other documents (including, without limitation, any and all related
agreements, instruments, and/or other documents to the 2020 Transaction), the formulation,
preparation, dissemination, solicitation, negotiation, entry into, or filing of the Plan (including the
Plan Supplement), the Disclosure Statement, the Restructuring Support Agreement, the Adversary




                                                     53
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 59 of 72



Proceeding, the Prepetition Adversary Actions, or any Restructuring Transaction, Credtiors’
Committee Global Settlement, contract, instrument, release, or other agreement or document
(including any legal opinion requested by any Entity regarding any transaction, contract instrument,
document, or other agreement contemplated by the Plan or the reliance by any Released Party on
the Plan or Confirmation Order in lieu of such legal opinion) created or entered into in connection
with the Restructuring Support Agreement, the Plan, the Plan Supplement, the Disclosure Statement,
the Exit ABL Facility, the New Term Loan, Creditors’ Committee Global Settlement, the Chapter 11
Cases, the pursuit of confirmation and consummation of the Plan, the administration and
implementation of the Plan or Confirmation Order, including the issuance or distribution of
securities pursuant to the Plan, or the distribution of property under the Plan, or any other
agreement, act or omission, transaction, event, or other occurrence taking place on or before the
Effective Date related or relating to the foregoing without the Bankruptcy Court (i) first determining,
after notice and a hearing, that such Claim or Cause of Action represents a claim of willful
misconduct, fraud or gross negligence against a Released Party or Exculpated Party and
(ii) specifically authorizing such Entity or Person to bring such Claim or Cause of Action against any
such Released Party or Exculpated Party. The Bankruptcy Court shall have sole and exclusive
jurisdiction to determine whether a Claim or Cause of Action is colorable and, only to the extent
legally permissible and as provided for in Section 11.1, shall have jurisdiction to adjudicate the
underlying colorable Claim or Cause of Action.

                     10.6.     Releases.

               (a)     Releases by the Debtors.

                Notwithstanding anything contained in the Plan to the contrary, as of the Effective
Date, pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, the
adequacy of which is hereby confirmed, including the obligations of the Debtors under the Plan and
the contributions of the Released Parties to facilitate and implement the Plan, except (i) for the right
to enforce the Plan or any right or obligation arising under the Definitive Documents that remain in
effect or become effective after the Effective Date or (ii) as otherwise provided in the Plan or in the
Confirmation Order, on and after the Effective Date, the Released Parties are deemed conclusively,
absolutely, unconditionally and irrevocably, released and discharged by the Debtors, the
Reorganized Debtors, and the Estates from any and all Claims, obligations, rights, suits, damages,
Causes of Action, remedies, and liabilities whatsoever, including any derivative claims, asserted or
assertable on behalf of the Debtors, whether known or unknown, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, or otherwise, that the Debtors, the Reorganized Debtors, the
Estates, or their Affiliates would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the holder of any Claim or Interest or other Person, based
on or relating to, or in any manner arising from, in whole or in part, the Chapter 11 Cases, the
Debtors, the governance, management, transactions, ownership, or operation of the Debtors, the
purchase, sale or rescission of any security of the Debtors or the Reorganized Debtors, the DIP
Facility, the Restructuring Support Agreement, the Definitive Documents, the Non-PTL Term Loan
Agreement, the PTL Credit Agreement, the Intercreditor Agreements, the Exchange Agreement, the
2020 Transaction, and any and all related agreements, instruments, and/or other documents
(including, without limitation, any and all related agreements, instruments, and/or other documents
to the 2020 Transaction), the formulation, preparation, dissemination, solicitation, negotiation, entry
into, or filing of the Plan (including the Plan Supplement), the Disclosure Statement, the
Restructuring Support Agreement, the Adversary Proceeding, the Prepetition Adversary Actions, or
any Restructuring Transaction, contract, instrument, release, or other agreement or document
(including any legal opinion requested by any Entity regarding any transaction, contract instrument,
document, or other agreement contemplated by the Plan or the reliance by any Released Party on




                                                  54
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 60 of 72



the Plan or Confirmation Order in lieu of such legal opinion) created or entered into in connection
with the Restructuring Support Agreement, the Plan, the Plan Supplement, the Disclosure Statement,
the Exit ABL Facility, the New Term Loan, the Chapter 11 Cases, the pursuit of confirmation and
consummation of the Plan, the administration and implementation of the Plan or Confirmation
Order, including the issuance or distribution of securities pursuant to the Plan, or the distribution of
property under the Plan, or any other agreement, act or omission, transaction, event, or other
occurrence taking place on or before the Effective Date. Notwithstanding anything to the contrary
in the foregoing, the releases set forth in this Section 10.6(a) (i) shall only be applicable to the
maximum extent permitted by law; (ii) shall not be construed as (a) releasing any Released Party
from Claims or Causes of Action arising from an act or omission that is judicially determined by a
Final Order to have constituted actual fraud (provided that actual fraud shall not exempt from the
scope of these Debtor releases any Claims or Causes of Action arising under sections 544 or 548 of
the Bankruptcy Code or state laws governing fraudulent or otherwise avoidable transfers or
conveyances), willful misconduct, or gross negligence, or (b) releasing any post-Effective Date
obligations of any party or Entity under the Plan, the Confirmation Order, any Restructuring
Transaction, any Definitive Document, or any document, instrument, or agreement (including those
set forth in the Plan Supplement) executed to implement the Plan.

               (b)     Releases by Holders of Claims and Interests.

                 Notwithstanding anything contained in the Plan to the contrary, as of the Effective
Date, for good and valuable consideration, the adequacy of which is hereby confirmed, except (i) for
the right to enforce the Plan or any right or obligation arising under the Definitive Documents that
remain in effect or become effective after the Effective Date or (ii) as otherwise provided in the Plan
or in the Confirmation Order, to the fullest extent permissible under applicable law, as such law may
be extended or integrated after the Effective Date, each Releasing Party, shall be deemed to have
conclusively, absolutely, unconditionally, irrevocably, and forever, released, and discharged the
Debtors, the Reorganized Debtors, and the Released Parties from any and all Claims, obligations,
rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever, including any
derivative Claims or Causes of Action asserted or that may be asserted on behalf of the Debtors or
their Estates, that such Entity would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the holder of any Claim or Interest, whether known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, based
on or relating to, or in any manner arising from, in whole or in part, any act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date, including any
Claims or Causes of Action based on or relating to, or in any manner arising from, in whole or in
part, the Chapter 11 Cases, the Debtors, the governance, management, transactions, ownership, or
operation of the Debtors, the purchase, sale or rescission of any security of the Debtors or the
Reorganized Debtors, the DIP Facility, the Restructuring Support Agreement, the Definitive
Documents, the Non-PTL Term Loan Agreement, the PTL Credit Agreement, the Intercreditor
Agreements, the Exchange Agreement, the 2020 Transaction, and any and all related agreements,
instruments, and/or other documents (including, without limitation, any and all related agreements,
instruments, and/or other documents to the 2020 Transaction), the formulation, preparation,
dissemination, solicitation, negotiation, entry into, or filing of the Plan (including the Plan
Supplement), the Disclosure Statement, the Restructuring Support Agreement, the Adversary
Proceeding, the Prepetition Adversary Actions, or any Restructuring Transaction, contract,
instrument, release, or other agreement or document (including any legal opinion requested by any
Entity regarding any transaction, contract instrument, document, or other agreement contemplated
by the Plan or the reliance by any Released Party on the Plan or Confirmation Order in lieu of such
legal opinion) created or entered into in connection with the Restructuring Support Agreement, the
Plan, the Plan Supplement, the Disclosure Statement, the Exit ABL Facility, the New Term Loan, the



                                                  55
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 61 of 72



Chapter 11 Cases, the pursuit of confirmation and consummation of the Plan, the administration and
implementation of the Plan or Confirmation Order, including the issuance or distribution of
securities pursuant to the Plan, or the distribution of property under the Plan, or any other
agreement, act or omission, transaction, event, or other occurrence taking place on or before the
Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set forth in
this Section 10.6(b) (i) shall only be applicable to the maximum extent permitted by law; (ii) shall not
be construed as (a) releasing any Released Party from Claims or Causes of Action arising from an
act or omission that is judicially determined by a Final Order to have constituted actual fraud
(provided that actual fraud shall not exempt from the scope of these third-party releases any Claims
or Causes of Action arising under sections 544 or 548 of the Bankruptcy Code or state laws governing
fraudulent or otherwise avoidable transfers or conveyances), willful misconduct, or gross negligence,
or (b) releasing any post-Effective Date obligations of any party or Entity under the Plan, any
Restructuring Transaction, any Definitive Document, or any document, instrument, or agreement
(including those set forth in the Plan Supplement) executed to implement the Plan.

                      10.7.     Exculpation.

                 Except as otherwise specifically provided in the Plan, no Exculpated Party shall have
or incur liability for, and each Exculpated Party is hereby released and exculpated from, any Cause
of Action for any claim related to any act or omission in connection with, relating to, or arising out,
in whole or in part, from the Petition Date through the Effective Date, of the Chapter 11 Cases, the
Debtors, the governance, management, transactions, ownership, or operation of the Debtors, the
purchase, sale or rescission of any security of the Debtors or the Reorganized Debtors, the DIP
Facility, the Restructuring Support Agreement, the Definitive Documents, and related agreements,
instruments, or other documents, the formulation, preparation, dissemination, solicitation,
negotiation, entry into, or filing of the Plan (including the Plan Supplement), the Disclosure
Statement, the Restructuring Support Agreement, the Adversary Proceeding, the Prepetition
Adversary Actions, or any Restructuring Transaction, contract, instrument, release, or other
agreement or document (including any legal opinion requested by any Entity regarding any
transaction, contract instrument, document, or other agreement contemplated by the Plan or the
reliance by any Released Party on the Plan or Confirmation Order in lieu of such legal opinion)
created or entered into in connection with the Restructuring Support Agreement, the Plan, the Plan
Supplement, the Disclosure Statement, the Exit ABL Facility, the New Term Loan, the Chapter 11
Cases, the pursuit of confirmation and consummation of the Plan, the administration and
implementation of the Plan or Confirmation Order, including the issuance or distribution of
securities pursuant to the Plan, or the distribution of property under the Plan, or any other related
agreement, except for Claims or Causes of Action arising from an act or omission that is judicially
determined in a Final Order to have constituted actual fraud, willful misconduct, or gross negligence,
but in all respects, such Exculpated Parties shall be entitled to reasonably rely upon the advice of
counsel with respect to their duties and responsibilities. The Exculpated Parties have, and upon
completion of the Plan, shall be deemed to have, participated in good faith and in compliance with
all applicable laws with regard to the solicitation and distribution of, consideration pursuant to the
Plan and, therefore, are not, and on account of such distributions shall not be, liable at any time for
the violation of any applicable law, rule, or regulation governing the solicitation of acceptances or
rejections of the Plan or such distributions made pursuant to the Plan. Notwithstanding anything to
the contrary in the foregoing, the exculpations set forth in this Section 10.7 (i) shall only be applicable
to the maximum extent permitted by law; and (ii) shall not be construed as (a) exculpating any
Exculpated Party from Claims or Causes of Action arising from an act or omission that is judicially
determined by a Final Order to have constituted actual fraud (provided that actual fraud shall not
exempt from the scope of these exculpations any Claims or Causes of Action arising under sections
544 or 548 of the Bankruptcy Code or state laws governing fraudulent or otherwise avoidable



                                                    56
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 62 of 72



transfers or conveyances), willful misconduct, or gross negligence, or (b) exculpating any post-
Effective Date obligations of any party or Entity under the Plan, any Restructuring Transaction, any
Definitive Document, or any document, instrument, or agreement (including those set forth in the
Plan Supplement) executed to implement the Plan.

                       10.8.      Retention of Causes of Action/Transfer of Causes of Action and
                                  Reservation of Rights.

                  In accordance with section 1123(b) of the Bankruptcy Code, but subject in all respects to
this Article X, the Reorganized Debtors or the Class 6B Trust (in connection with the pursuit of Class 6B
Causes of Action transferred to the Class 6B Trust pursuant to this Plan or objections to Other General
Unsecured Claims), as applicable, shall have, retain, reserve and be entitled to assert, and may enforce all
rights to commence and pursue, as appropriate, any and all claims or Causes of Action, whether arising
before or after the Petition Date, including any actions specifically enumerated in the Schedule of Retained
Causes of Action, and such rights to commence, prosecute, or settle such Causes of Action shall be
preserved notwithstanding the occurrence of the Effective Date. The Debtors, the Reorganized Debtors
or the Class 6B Trust, as applicable, expressly reserve all rights to prosecute any and all Causes of
Action against any Entity not released pursuant to the Plan.

                       10.9.      Ipso Facto and Similar Provisions Ineffective.

                  Any term of any prepetition policy, prepetition contract, or other prepetition obligation
applicable to a Debtor shall be void and of no further force or effect with respect to any Debtor to the extent
that such policy, contract, or other obligation is conditioned on, creates an obligation of the Debtor as a
result of, or gives rise to a right of any entity based on any of the following: (a) the insolvency or financial
condition of a Debtor; (b) the commencement of the Chapter 11 Cases; (c) the confirmation or
consummation of the Plan, including any change of control that shall occur as a result of such
consummation; or (d) the restructuring.

                       10.10.     Solicitation of Plan.

                 As of and subject to the occurrence of the Confirmation Date: (a) the Debtors shall be
deemed to have solicited acceptances of the Plan in good faith and in compliance with the applicable
provisions of the Bankruptcy Code, including without limitation, sections 1125(a) and (e) of the Bankruptcy
Code, and any applicable non-bankruptcy law, rule, or regulation governing the adequacy of disclosure in
connection with such solicitation and (b) the Debtors and each of their respective directors, officers,
employees, Affiliates, agents, financial advisors, investment bankers, professionals, accountants, and
attorneys shall be deemed to have participated in good faith and in compliance with the applicable
provisions of the Bankruptcy Code in the offer and issuance of any securities under the Plan, and therefore
are not, and on account of such offer, issuance, and solicitation will not be, liable at any time for any
violation of any applicable law, rule, or regulation governing the solicitation of acceptances or rejections
of the Plan or the offer and issuance of any securities under the Plan.

                       10.11.     Corporate and Limited Liability Company Action.

                  Upon the Effective Date, all actions contemplated by the Plan, subject to the applicable
Consenting Creditor Consent Rights, shall be deemed authorized and approved in all respects, including (a)
the assumption of all employee compensation and Employee Arrangements of the Debtors as provided
herein, (b) the selection of the managers, directors, and officers for the Reorganized Debtors, (c) the
distribution of the New Common Interests, (d) the entry into the Exit ABL Facility Credit Agreement, Class
6B Trust Agreement, and the New Term Loan Credit Facility Agreement, (e) the approval of the




                                                      57
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 63 of 72



Restructuring Support Agreement, and (f) all other actions contemplated by the Plan (whether to occur
before, on, or after the Effective Date), in each case in accordance with and subject to the terms hereof and
the Restructuring Support Agreement. All matters provided for in the Plan involving the corporate or
limited liability company structure of the Debtors or the Reorganized Debtors, and any corporate or limited
liability company action required by the Debtors or the Reorganized Debtors in connection with the Plan
shall be deemed to have occurred and shall be in effect, without any requirement of further action by the
Security holders, directors, managers, or officers of the Debtors or the Reorganized Debtors. On or (as
applicable) before the Effective Date, the appropriate officers of the Debtors or the Reorganized Debtors,
as applicable, shall be authorized and directed to issue, execute, and deliver the agreements, documents,
securities, and instruments contemplated by the Plan (or necessary or desirable to effect the transactions
contemplated by the Plan) in the name of and on behalf of the Reorganized Debtors, including, but not
limited to, (w) the New Corporate Governance Documents, (x) the Exit ABL Facility Credit Agreement,
(y) the New Term Loan Credit Facility Agreement, and (z) any and all other agreements, documents,
securities, and instruments relating to the foregoing. The authorizations and approvals contemplated by
this Section 10.11 shall be effective notwithstanding any requirements under non-bankruptcy law.

ARTICLE XI.         RETENTION OF JURISDICTION.

                       11.1.     Retention of Jurisdiction.

                 On and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over all
matters arising in, arising under, and related to the Chapter 11 Cases for, among other things, the following
purposes:

                (a)     to hear and determine motions and/or applications for the assumption, assumption
     and assignment, or rejection of executory contracts or unexpired leases, including Cure Disputes, and
     the allowance, classification, priority, compromise, estimation, or payment of Claims resulting
     therefrom;

                  (b)     to determine any motion, adversary proceeding (including, without limitation, in
     connection with or related to the Adversary Proceeding and/or the Prepetition Adversary Actions),
     proceeding, application, contested matter, and/or other litigated matter pending on or commenced after
     the Confirmation Date, including, without limitation, any proceeding, application, contested matter,
     and/or other litigated matter related to or in connection with the Adversary Proceeding, the Prepetition
     Adversary Actions, the PTL Credit Agreement, the Exchange Agreement, the Intercreditor
     Agreements, and/or the 2020 Transaction or the res judicata, estoppel, preclusive, or other similar
     effect on any claims of any nature in connection with or related to the Adversary Proceeding, the
     Prepetition Adversary Actions, the PTL Credit Agreement, the Exchange Agreement, the Intercreditor
     Agreements, and/or the 2020 Transaction, including, without limitation, any action intended to provide
     declaratory or other relief as to the application (including as an affirmative defense) of res judicata,
     estoppel, any preclusion doctrine, or any other similar doctrine as to any matters in connection with
     or related to the Adversary Proceeding, the Prepetition Adversary Actions, the PTL Credit Agreement,
     the Exchange Agreement, the Intercreditor Agreements, and/or the 2020 Transaction;

                 (c)       to ensure that distributions to holders of Allowed Claims are accomplished as
     provided for in the Plan and Confirmation Order and to adjudicate any and all disputes arising from
     or relating to distributions under the Plan;

               (d)     to consider the allowance, classification, priority, compromise, estimation, or
     payment of any Claim;




                                                     58
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 64 of 72



               (e)    to enter, implement or enforce such orders as may be appropriate in the event the
     Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

               (f)     to issue injunctions, enter and implement other orders, and take such other actions
     as may be necessary or appropriate to restrain interference by any Entity with the consummation,
     implementation, or enforcement of the Plan, the Confirmation Order, or any other order of the
     Bankruptcy Court;

                 (g)      to hear and determine any application to modify the Plan in accordance with
     section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any inconsistency
     in the Plan, or any order of the Bankruptcy Court, including the Confirmation Order, in such a manner
     as may be necessary to carry out the purposes and effects thereof;

                 (h)     to hear and determine all Professional Fee Claims;

               (i)     to hear and determine disputes arising in connection with the interpretation,
     implementation, or enforcement of the Plan, the Plan Supplement, or the Confirmation Order or any
     agreement, instrument, or other document governing or relating to any of the foregoing;

                (j)    to take any action and issue such orders as may be necessary to construe, interpret,
     enforce, implement, execute, and consummate the Plan;

                (k)    to determine such other matters and for such other purposes as may be provided in
     the Confirmation Order;

                (l)    to hear and determine matters concerning state, local, and federal taxes in
     accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for
     expedited determinations under section 505(b) of the Bankruptcy Code);

                 (m)    to hear, adjudicate, decide, or resolve any and all matters related to Article X of
     the Plan, including, without limitation, the releases, discharge, exculpations, and injunctions issued
     thereunder;

                 (n)     to resolve disputes concerning Disputed Claims or the administration thereof;

               (o)    to hear and determine any other matters related hereto and not inconsistent with
     the Bankruptcy Code and title 28 of the United States Code;

                 (p)     to enter a final decree closing the Chapter 11 Cases;

                (q)      to recover all assets of the Debtors and property of the Debtors’ Estates, wherever
     located; and

                 (r)    to hear and determine any rights, Claims, or Causes of Action held by or accruing
     to the Debtors or Class 6B Trust pursuant to the Bankruptcy Code or pursuant to any federal statute
     or legal theory.

                       11.2.      Courts of Competent Jurisdiction.

               If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising out of the Plan, such abstention, refusal, or failure of




                                                      59
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 65 of 72



jurisdiction shall have no effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by
any other court having competent jurisdiction with respect to such matter.

ARTICLE XII.         MISCELLANEOUS PROVISIONS.

                       12.1.      Payment of Statutory Fees.

                 All fees due and payable pursuant to 28 U.S.C. § 1930(a) prior to the Effective Date shall
be paid by the Debtors in full in Cash on the Effective Date, which shall include any fees payable on account
of the transfer of the Class 6B Trust Assets to the Class 6B Trust. The Debtors shall file all monthly
operating reports through the Effective Date. On and after the Effective Date, the Reorganized Debtors or
any Disbursing Agent shall pay any and all such fees in full in Cash when due and payable, and shall file
with the Bankruptcy Court quarterly reports in a form reasonably acceptable to the U.S. Trustee. Each
Debtor shall remain obligated to pay quarterly fees to the U.S. Trustee until the earliest of that particular
Debtor’s case being closed, dismissed, or converted to a case under chapter 7 of the Bankruptcy Code.
Notwithstanding anything to the contrary herein, the U.S. Trustee shall not be required to file a Proof of
Claim or any other request for payment of quarterly fees.

                       12.2.      Substantial Consummation of the Plan.

                On the Effective Date, the Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

                       12.3.      Request for Expedited Determination of Taxes.

                 The Debtors and the Reorganized Debtors shall have the right to request an expedited
determination under section 505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed,
for any and all taxable periods ending after the Petition Date through the Effective Date.

                       12.4.      Exemption from Certain Transfer Taxes.

                  Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer or exchange of
any securities, instruments or documents, (b) the creation, filing or recording of any Lien, mortgage, deed
of trust, or other security interest, (c) the making, assignment, filing or recording of any lease or sublease
or the making or delivery of any deed, bill of sale, assignment or other instrument of transfer under, pursuant
to, in furtherance of, or in connection with the Plan, including, without limitation, any deeds, bills of sale,
or assignments executed in connection with any of the transactions contemplated under the Plan or the
reinvesting, transfer, or sale of any real or personal property of the Debtors pursuant to, in implementation
of or as contemplated in the Plan and Restructuring Transactions Exhibit (whether to one or more of the
Reorganized Debtors or otherwise), (d) the grant of collateral under the New Term Loan Credit Facility
Agreement, and (e) the issuance, renewal, modification, or securing of indebtedness by such means, and
the making, delivery or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with, the Plan, including, without limitation, the Confirmation Order, shall constitute a “transfer
under a plan” within the purview of section 1146 of the Bankruptcy Code and shall not be subject to or
taxed under any law imposing any document recording tax, stamp tax, conveyance fee, or other similar tax,
mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or
recording fee, regulatory filing or recording fee, sales tax, use tax, or other similar tax or governmental
assessment. Consistent with the foregoing, each recorder of deeds or similar official for any county, city,
or governmental unit in which any instrument hereunder is to be recorded shall, pursuant to the
Confirmation Order, be ordered and directed to accept such instrument without requiring the payment of
any filing fees, documentary stamp tax, deed stamps, stamp tax, transfer tax, intangible tax, or similar tax.




                                                      60
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 66 of 72



                       12.5.      Amendments.

                (a)      Plan Modifications. Subject to the applicable consent rights of the Requisite
     Consenting Creditors and the Consenting Equity Holders as set forth in the Restructuring Support
     Agreement, and in consultation with the Creditors’ Committee, the Plan may be amended, modified,
     or supplemented by the Debtors in the manner provided for by section 1127 of the Bankruptcy Code
     or as otherwise permitted by law without additional disclosure pursuant to section 1125 of the
     Bankruptcy Code; provided, that any modifications or amendments to this Plan that materially
     adversely affect the treatment of the DIP Agent, DIP Lenders, Exit ABL Facility Agent, and/or Exit
     ABL Facility Lenders shall require the consent of the DIP Agent, DIP Lenders, Exit ABL Facility
     Agent, and/or Exit ABL Facility Lenders, as applicable.

                (b)     Other Amendments. Subject to the consent rights of the Requisite Consenting
     Creditors and the Consenting Equity Holders as set forth in the Restructuring Support Agreement, and
     in consultation with the Creditors’ Committee, before the Effective Date, the Debtors may make
     appropriate technical adjustments and modifications to the Plan and the documents contained in the
     Plan Supplement without further order or approval of the Bankruptcy Court.

                       12.6.      Effectuating Documents and Further Transactions.

                Each of the officers of the Reorganized Debtors is authorized, in accordance with his or
her authority under the resolutions of the applicable board of directors or managers, to execute, deliver, file,
or record such contracts, instruments, releases, indentures, and other agreements or documents and take
such actions as may be necessary or appropriate to effectuate and further evidence the terms and conditions
of the Plan.

                       12.7.      Revocation or Withdrawal of the Plan.

                  The Debtors reserve the right to revoke or withdraw the Plan prior to the Effective Date as
to any or all of the Debtors with the consent of the Requisite Consenting Creditors; provided, however, that
the Debtors may revoke or withdraw the Plan without such consent in the exercise of the Debtors’ fiduciary
duty or as otherwise permitted under the Restructuring Support Agreement. If, with respect to a Debtor,
the Plan has been revoked or withdrawn prior to the Effective Date, or if confirmation or the occurrence of
the Effective Date as to such Debtor does not occur on the Effective Date, then, with respect to such Debtor:
(a) the Plan shall be null and void in all respects; (b) any settlement or compromise embodied in the Plan
(including the fixing or limiting to an amount any Claim or Interest or Class of Claims or Interests),
assumption of executory contracts or unexpired leases affected by the Plan, and any document or agreement
executed pursuant to the Plan shall be deemed null and void; and (c) nothing contained in the Plan shall
(i) constitute a waiver or release of any Claim by or against, or any Interest in, such Debtor or any other
Entity; (ii) prejudice in any manner the rights of such Debtor or any other Entity; or (iii) constitute an
admission of any sort by any Debtor, any of the Consenting Creditors, the PTL Agent, or any other Entity.

                       12.8.      Severability of Plan Provisions.

                  If, before the entry of the Confirmation Order, any term or provision of the Plan is held by
the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request of the
Debtors, shall have the power to alter and interpret such term or provision to make it valid or enforceable
to the maximum extent practicable, consistent with the original purpose of the term or provision held to be
invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
of the Plan will remain in full force and effect and will in no way be affected, impaired or invalidated by




                                                      61
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 67 of 72



such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial determination
and shall provide that each term and provision of the Plan, as it may have been altered or interpreted in
accordance with the foregoing, is (a) valid and enforceable pursuant to its terms, (b) integral to the Plan and
may not be deleted or modified without the consent of the Debtors or the Reorganized Debtors (as the case
may be), and (c) nonseverable and mutually dependent.

                       12.9.      Governing Law.

                  Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement or a Definitive Document provides otherwise,
the rights, duties, and obligations arising under the Plan shall be governed by, and construed and enforced
in accordance with, the laws of the State of New York, without giving effect to the principles of conflict of
laws thereof.

                       12.10.     Time.

                 In computing any period of time prescribed or allowed by the Plan, unless otherwise set
forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006 shall apply.

                       12.11.     Dates of Actions to Implement the Plan.

                  In the event that any payment or act under the Plan is required to be made or performed on
a date that is on a Business Day, then the making of such payment or the performance of such act may be
completed on or as soon as reasonably practicable after the next succeeding Business Day, but shall be
deemed to have been completed as of the required date.

                       12.12.     Immediate Binding Effect.

                 Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
occurrence of the Effective Date, the terms of the Plan and Plan Supplement shall be immediately effective
and enforceable and deemed binding upon and inure to the benefit of the Debtors, the holders of Claims
and Interests, the Released Parties, and each of their respective successors and assigns, including, without
limitation, the Reorganized Debtors.

                       12.13.     Deemed Acts.

                 Subject to and conditioned on the occurrence of the Effective Date, whenever an act or
event is expressed under the Plan to have been deemed done or to have occurred, it shall be deemed to have
been done or to have occurred without any further act by any party, by virtue of the Plan and the
Confirmation Order.

                       12.14.     Successor and Assigns.

                 The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor, or permitted assign,
if any, of each Entity.

                       12.15.     Entire Agreement.

              On the Effective Date, the Plan, the Plan Supplement, and the Confirmation Order shall
supersede all previous and contemporaneous negotiations, promises, covenants, agreements,




                                                      62
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 68 of 72



understandings, and representations on such subjects, all of which have become merged and integrated into
the Plan.

                       12.16.    Exhibits to Plan.

               All exhibits, schedules, supplements, and appendices to the Plan (including the Plan
Supplement) are incorporated into and are a part of the Plan as if set forth in full herein.

                       12.17.    Dissolution of Creditors’ Committee.

                  On the Effective Date, any official committees appointed in the Chapter 11 Cases,
including the Creditors’ Committee, shall dissolve; provided that following the Effective Date, any such
committees, including the Creditors’ Committee, shall continue in existence solely for the purposes of
(i) filing and prosecuting applications for allowance of Professional Fee Claims and (ii) seeking removal of
the committee as a party in interest in any proceeding on appeal. Upon the dissolution of any official
committees appointed in the Chapter 11 Cases, including the Creditors’ Committee, such committee
members and their respective Professionals shall cease to have any duty, obligation, or role arising from or
related to the Chapter 11 Cases and shall be released and discharged from all rights and duties from or
related to the Chapter 11 Cases; provided, that for the avoidance of doubt, any Claims or Causes of Action
asserted by the Creditors’ Committee, whether direct or derivative (including any Claims seeking
declaratory judgments) shall be withdrawn with prejudice and/or vest in the Debtors’ Estates, to be
immediately fully and indefensibly released in accordance with Section 10.6 of the Plan.

                       12.18.    Notices.

                All notices, requests, and demands to or upon the Debtors to be effective shall be in writing
(including by electronic transmission) and, unless otherwise expressly provided herein, shall be deemed to
have been duly given or made when actually delivered or addressed as follows:

                (a)      if to the Debtors or the Reorganized Debtors:

                         Dawn Intermediate, LLC
                         2451 Industry Avenue
                         Doraville, GA 30360
                         Attn: Kristen McGuffey
                         Email: SSBLegalDept@sertasimmons.com

                                 - and -

                         Weil, Gotshal & Manges LLP
                         767 Fifth Avenue
                         New York, NY 10153
                         Attn: Ray C. Schrock
                                 Alexander W. Welch
                         Telephone: (212) 310-8000
                         Email: ray.schrock@weil.com
                                 alexander.welch@weil.com

                                 - and -




                                                     63
Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 69 of 72



            700 Louisiana Street, Suite 1700
            Houston, Texas 77002
            Attn: Gabriel A. Morgan
                   Stephanie N. Morrison
            Telephone: (713) 546-5000
            Email: gabriel.morgan@weil.com
                   stephanie.morrison@weil.com

      (b)   if to the Consenting Creditors:

            Gibson, Dunn & Crutcher LLP
            200 Park Avenue
            New York, NY 10166
            Attn: Scott J. Greenberg, Esq.
                    Michael Cohen, Esq.
                    Jason Zachary Goldstein, Esq.
            Telephone: (212) 403-1000
            Email: SGreenberg@gibsondunn.com
                    MCohen@gibsondunn.com
                    JGoldstein@gibsondunn.com

      (c)   if to the Consenting Equity Holders:

            Advent International Corporation
            Prudential Tower
            800 Boylston Street, Suite 3300
            Boston, MA 02199
            Attn: Jefferson Case
                  Amanda McGrady Morrison

                    - and -

            Ropes & Gray LLP
            1211 Avenue of the Americas
            New York, NY 10036
            Attn: Gregg M. Galardi
                   Jeramy D. Webb
                   Amanda C. Glaubach
            Email: Gregg.Galardi@ropesgray.com
                   Jeramy.Webb@ropesgray.com
                   Amanda.Glaubach@ropesgray.com

      (d)   if to the Creditors’ Committee

            Kelley Drye & Warren LLP
            3 World Trade Center
            175 Greenwich Street
            New York, New York 10007
            Attn: Eric R. Wilson
                   Jason R. Adams
                   Connie Choe




                                       64
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 70 of 72



                        Email: ewilson@kelleydrye.com
                               jadams@kelleydrye.com
                               cchoe@kelleydrye.com

                (e)     if to the Class 6B Trust

                        Kelley Drye & Warren LLP
                        3 World Trade Center
                        175 Greenwich Street
                        New York, New York 10007
                        Attn: Eric R. Wilson
                               Jason R. Adams
                               Philip A. Weintraub
                        Email: ewilson@kelleydrye.com
                               jadams@kelleydrye.com
                               pweintraub@kelleydrye.com

                (f)     if to the DIP Agent:

                         Eclipse Business Capital LLC
                         333 W. Wacker Drive, Suite 950
                         Chicago, Illinois 60606
                         Attn: Jim Gurgone
                         Email: jgurgone@eclipsebuscap.com

                                 - and -

                         Choate, Hall & Stewart LLP
                         Two International Place, 34th Floor
                         Boston, Massachusetts 02110
                         Attn: Kevin Simard
                               Seth Mennillo
                         Email: ksimard@choate.com
                                 smennillo@choate.com

                 After the Effective Date, the Debtors have authority to send a notice to Entities providing
that, to continue to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed request
to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors are
authorized to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those
Entities who have filed such renewed requests.


                               [Remainder of page intentionally left blank]




                                                    65
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 71 of 72



Dated: May 23, 2023
       Houston, Texas

                                                     Respectfully submitted,


                                                     By:      /s/    John Linker
                                                              Name: John Linker
                                                              Title: Chief Financial Officer, Treasurer and
                                                                     Assistant Secretary


                                                     On behalf of Serta Simmons Bedding, LLC
                                                     and each of its Debtor affiliates




 [Signature Page for Second Amended Joint Chapter 11 Plan of Serta Simmons Bedding, LLC and Its Affiliated Debtors]
       Case 23-90020 Document 977 Filed in TXSB on 05/23/23 Page 72 of 72



                                               EXHIBIT A

                                     GUC Recovery Allocation Table

The following is a preliminary allocation of value amongst Debtor entities, as determined by the Debtors
in consultation with the Requisite Consenting Creditors and the Creditors’ Committee, with respect to the
Class 6B Cash Contribution and is set forth for purposes of disbursements to holders of Allowed Other
General Unsecured Claims against the Debtors in accordance with Section 4.7(b) of the Plan and the terms
of the Creditors’ Committee Global Settlement; provided that, such recoveries may be reallocated by the
Debtors, in their reasonable business judgement, in consultation with the Requisite Consenting Creditors
and the Creditors’ Committee, to recalibrate for, among other things, the Claims asserted against the
Debtors’ Estates after the occurrence of the General Bar Date (as defined in Docket No. 104) and changes
to Claim amounts through the Claims reconciliation process pursuant to Section 8.2 of the Plan. This
allocation may be reallocated by the Class 6B Trust, acting by and through the Class 6B Trustee, with the
consent of the Reorganized Debtors, in their reasonable business judgment, and the reasonable consent of
the Requisite Consenting Creditors (if such reallocation occurs prior to the Effective Date), or upon further
order of the Bankruptcy Court, to recalibrate for, among other things, (i) the amount of Allowed Other
General Unsecured Claims against each Debtor as determined in accordance with the reconciliation and
objection process provided for in the Plan, (ii) the amount and purpose of Class 6B Trust Expenses, and
(iii) any recoveries by the Class 6B Trust on account of Class 6B Causes of Action.

                            Debtor                            Class 6B Cash Contribution Allocation
    Dawn Intermediate, LLC (6123)                                                 $0

    Serta Simmons Bedding, LLC (1874)                                        $3,104,959

    Serta International Holdco, LLC (6101)                                        $0

    National Bedding Company L.L.C. (0695)                                   $1,978,080

    SSB Manufacturing Company (5743)                                          $492,157

    The Simmons Manufacturing Co., LLC (0960)                                   $8,309

    Dreamwell, Ltd. (2419)                                                        $0

    SSB Hospitality, LLC (2016)                                                   $0

    SSB Logistics, LLC (6691)                                                   $1,017

    Simmons Bedding Company, LLC (2552)                                        $20,306

    Tuft & Needle, LLC (6215)                                                 $145,172

    Tomorrow Sleep LLC (0678)                                                     $0

    SSB Retail, LLC (9245)                                                        $0

    World of Sleep Outlets, LLC (0957)                                            $0

                                                                             $5,750,000
    Total
